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4.3296-cv

United States Cowt of Appeals

for the

Second Circuit

SANDRA YOUSEFZADEH, et al.,

Plaintiffs-Appellants,

(For Continuation of Caption See Inside Cover)

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

JOINT APPENDIX
Volume | of 4 (Pages A-1 to A-291)

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TARGET CORPORATION, BAYER HEALTHCARE, LLC, a Delaware limited
liability corporation, WALMART INC., a Delaware corporation, CVS
PHARMACY, INC., a Delaware corporation, WALGREEN CO., an Illinois
corporation, THE PROCTER & GAMBLE COMPANY, HALEON US
HOLDINGS LLC, PUBLIX SUPER MARKETS, INC., AMAZON.COM, INC.,
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Plaintiffs... eee eeesceessecsecssesesssssssesecssesseess A-256

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November 12, 2024

(Reproduced herein at pp. SPA-18-SPA-20)

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(Reproduced herein at pp. SPA-1-SPA-17)
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Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 8 of 298
A-1

APPEAL,MDL3089

US. District Court
Eastern District of New York (Brooklyn)
CIVIL DOCKET FOR CASE #: 1:23-md-03089-BMC

In Re: Oral Phenylephrine Marketing and Sales Practices Litigation Date Filed: 12/06/2023

Assigned to: Judge Brian M. Cogan Date Terminated: 11/12/2024

Cause: 28:1332 Diversity-Fraud Jury Demand: Plaintiff
Nature of Suit: 370 Fraud or Truth-In-Lending
Jurisdiction: Diversity

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In Re: Oral Phenylephrine Marketing and
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Plaintiff
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Plaintiff
Christine Ann Waters

Plaintiff
Eduardo Flores

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Plaintiff

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Plaintiff

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Plaintiff
William Mitchell

Plaintiff
Bethany Childers

Plaintiff

Rose Riccio

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Plaintiff
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Plaintiff

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Defendant

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Defendant

Kenvue, Inc

Defendant

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Defendant
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Defendant
RB Health (US) LLC

Defendant

Glaxosmithkline Consumer Health and
Holdings

Defendant

Target Corporation

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Defendant

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Defendant

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Defendant

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Defendant

Sanofi- Aventis U.S. LLC

a Delaware limited liability cor poration
Defendant

Church & Dwight Co. Inc.
a Delaware corporation

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a Delaware corporation

Defendant

Walgreen Co
an Illinois corporation

Defendant

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Rite Aid Corporation
a Delaware corporation

Defendant

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Defendant
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Defendant
Haleon PLC

Defendant

Pfizer Inc.

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Amazon.com Services LLC

Defendant
DOES 1-200

Defendant
Perrigo Company PLC

Defendant

GlaxoSmithKline Consumer Healthcare
Holdings (US) LLC

Defendant
Procter & Gamble Co.

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Defendant
Wal-Mart Inc.

Defendant

Walgreens Boots Alliance Inc.

Defendant
Helen of Troy Limited

Defendant

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Procter & Gamble Distributing, LLC, The

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Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 110 of 298

Defendant
Haleon US Holdings LLC

Defendant

Bayer Corporation

Defendant

Reckitt Benckiser Pharmaceuticals Inc.

TERMINATED: 06/04/2024

Defendant
The Kroger Co.

Defendant
Harris Teeter, LLC

A-103

(312) 443-1712

Fax: Active

Email: rperdew@lockelord.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

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Email: lflahivewu@cov.com
ATTORNEY TO BE NOTICED

represented by Jay P. Lefkowitz

(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

Robyn E. Bladow
(See above for address)
ATTORNEY TO BE NOTICED

represented by Colleen Gulliver

(See above for address)
ATTORNEY TO BE NOTICED

represented by Lauren Schultz Colton

(See above for address)
LEAD ATTORNEY
ATTORNEY TO BE NOTICED

represented by Richard Fama

Cozen O'Connor

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represented by Karl Riley

Cozen O'Connor

Florida

200 South Biscayne Blvd., Suite 3000
Miami

Miami, FL 33131
Defendant

Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 111 of 298
A-104

305-358-0816
Email: koriley@cozen.com
ATTORNEY TO BE NOTICED

Richard Fama
(See above for address)
ATTORNEY TO BE NOTICED

Harris Teeter Supermarkets, Inc. represented by Karl Riley

Defendant

The Kroger Co.

Defendant

Dolgencorp, Inc.

Defendant

Family Dollar, LLC

| Date Filed
12/06/2023
|

(See above for address)
ATTORNEY TO BE NOTICED

Richard Fama
(See above for address)
ATTORNEY TO BE NOTICED

represented by Karl Riley
(See above for address)
ATTORNEY TO BE NOTICED

Docket Text

JPMDL TRANSFER ORDER, In Re: Oral Phenylephrine Marketing and Sales Practices Litigation,
The actions listed on Schedule A and pending outside the Eastern District of New York are
transferred to the Eastern District of New York and, with the consent of that court, assigned to the
Honorable Brian M. Cogan for coordinated or consolidated pretrial proceedings. IT IS FURTHER
ORDERED that transfer of the "Maximum Strength” 7uominem action listed on Schedule B is
denied. (TLH) (Entered: 12/07/2023)

| 12/11/2023
|

IN

JPMDL Conditional Transfer Order (Schedule A): The actions listed on Schedule A and pending
outside the Eastern District of New York are transferred to the Eastern District of New York and, with
the consent of that court, assigned to the Honorable Brian M. Cogan for coordinated or consolidated
pretrial proceedings. (AF) (Entered: 12/11/2023)

| 12/12/2023

Jo

NOTICE of Appearance by Philip J. Furia on behalf of Kamonica McWhite (aty to be noticed)
(Furia, Philip) (Entered: 12/12/2023)

| 12/19/2023
|

1

JPMDL Conditional Transfer Order (CTO-1): Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation,the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned tothe Honorable Brian M.
Cogan. (AF) Assigned case numbers updated. (Main Document 4 replaced on 1/11/2024) (AF).
Modified on 1/11/2024 (AF). (Entered: 12/19/2023)

| 12/21/2023

In

ORDER. The parties are directed to review the attached proposed Case Management Order, which
outlines the Court's preliminary rules for the process of this case. By 2/29/2024, the parties are
directed to complete and file the attached proposed CMO. The parties shall meet and confer in
advance of that date and jointly file only one proposed CMO that is agreed upon by all parties. With

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respect to the Initial Status Conference, please provide three dates and times at which all relevant
parties are available, and the Court will determine the conference date upon filing. The proposed
dates should fall between 3/15/2024 and 4/15/2024. Ordered by Judge Brian M. Cogan on
12/21/2023. (PW) (Entered: 12/21/2023)

12/28/2023

In

MOTION to Appear Pro Hac Vice - Motion for Admission Pro Hac Vice cf Stuart A, Davidson -
Filing fee $ 150, receipt number NYEDC-17413795 by Erin Barton, Tatiana Benjamin, Kimberly
Buscaglia, Francis W. Catanese, Christine Contreras, Hannah De Priest, Natasha Freeman, Samuel
Gallo, Robin Glauser, Frizell Johnson, Anthony Rogers, Ruben Varela. (Attachments: # 1 Affidavit of
S. Davidson, # . Exhibit A, #3 HC 12d. Order) Associated Cases: 1:23-md-03089- BMC, 1:23-cv-

12/28/2023

Mm

NOTICE. of Appearance by Melanie H. Muhlstock on behalf of Chioma Ozuzu (aty to be noticed)
Associated Cases: 1:23-md-03089-BMC, 1:23-cv-07395-BMC (Muhlstock, Melanie) (Entered:
12/28/2023)

12/28/2023

joo

12/28/2023

12/28/2023

No

NOTICE of Appearance by Melanie H. Muhlstock on behalf of Ro Robyn Cronin ( (aty to be noticed)
Associated Cases: 1:23-md-03089-BMC, 2:23-cv-06870-BMC (Muhlstock, Melanie) (Entered:
12/28/2023)

NOTICE of Appearance by. Jason Scott Goldstein on behalf of Robyn Cronin (aty to be noticed)
Associated Cases: 1:23-md-03089-BMC, 2:23-cv-06870-BMC (Goldstein, Jason) (Entered:
12/28/2023)

NOTICE of Appearance by Jason Scott Goldstein on behalf of Chioma Ozuzu (aty to be noticed)
Associated Cases: 1:23-md-03089-BMC, 1:23-cv-07395-BMC (Goldstein, Jason) (Entered:
12/28/2023)

12/30/2023

noticed) (Reese, Michael) (Entered: 12/30/2023)

01/03/2024

JPMDL Conditional Transfer Order (CTO-2): Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation,the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of NewYork for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned tothe Honorable Brian M.
Cogan. (AF) (Entered: 01/03/2024)

01/03/2024

MOTION to Appear Pro Hac Vice MOTION TO ADMIT CARI CAMPEN LAUFENBERG PRO HAC
VICE Filing fee $ 150, receipt number NYEDC-17426336 by Martha A. Page, Rebecca Lynn Reyes.
(Attachments: # 1 Affidavit of Cari Laufenberg, # 2 Exhibit A - Certificate of Good Standing, # 3
Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09290-BMC, 1:23-cv-09308-
BMC (Laufenberg, Cari) (Entered: 01/03/2024)

01/04/2024

NOTICE of Appearance by Jonathan David Lindenfeld on behalf of Anthony DeRosa (aty to be
noticed) (Lindenfeld, Jonathan) (Entered: 01/04/2024)

01/04/2024

NOTICE of Appearance by Christopher G. Campbell on behalf of Bayer Corporation, Bayer
Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health Care, LLC, Bayer
Corporation (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Campbell,
Christopher) (Entered: 01/04/2024)

01/04/2024

01/05/2024

NOTICE of Appearance by Cara Edwards on behalf of of Bayer Corporation, Bayer Healthcare L.L.C.,
Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health Care, LLC, Bayer Corporation (aty to
be noticed) Associated Cases: 1:23-md-03089- BMC et al. (Edwards, Cara) (Entered: 01/04/2024)

MOTION to Appear Pro Hac Vice Motion to Admit Laura S. Dunning Pro Hac Vice Filing fee $ 150,
receipt number ANYEDC-17433640 by Joy Taylor, Darrell Wayne Grimsley, Jr.. (Attachments: # 1
Affidavit of Laura Dunning, # 2 Exhibit A - Certificate of Good Standing, # 3 Proposed Order)
(Dunning, Laura) (Entered: 01/05/2024)

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01/08/2024

JPMDL Conditional Transfer Order (CTO-3): Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the

order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.
Cogan. (AF) (Entered: 01/08/2024)

01/08/2024

ORDER granting 6 13 17 Motions for Leave to Appear Pro Hac Vice. The attorneys shall register for
ECF, registration is available online at www.pacer.gov. Once registered, the attorneys shall file a
notice of appearance and ensure that they receive electronic notification of activity in this case. Also,
each attorney shall ensure the $150 admission fee be submitted to the Clerks Office via filing the
event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 1/8/2024. (PW) (Entered:
01/08/2024)

01/08/2024

NOTICE of Appearance by Cari Campen Laufenberg on behalf of Martha A. Page, Rebecca Lynn
Reyes (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-
09290-BMC, 1:23-cv-09308-BMC (Laufenberg, Cari) (Entered: 01/08/2024)

01/09/2024

NOTICE of Appearance by Stuart A. Davidson on behalf of Erin Barton, Tatiana Benjamin,
Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Hannah De Priest, Natasha Freeman,
Samuel Gallo, Robin Glauser, Frizell Johnson, Anthony Rogers, Ruben Varela (aty to be noticed)
Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09063-BMC, 1:23-cv-09272-BMC, 1:23-cv-
09313-BMC (Davidson, Stuart) (Entered: 01/09/2024)

01/09/2024

NOTICE of Appearance by Rand Patrick Nolen on behalf of Andrew Gutierrez, Emily Hansen,
Sommer Milous (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
1:23-cv-09259-BMC (Nolen, Rand) (Entered: 01/09/2024)

01/09/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17444202 by Anthony
DeRosa. (Attachments: # 1 Affidavit in Support and Certificate of Good Standing) (Fegan, Elizabeth)
(Entered: 01/09/2024)

01/10/2024

MOTION to Appear Pro Hac Vice Motion to Admit Peter J. Mougey Pro Hac Vice Filing fee $ 150,
receipt number NYEDC-17448412 by Anthony Coleman, Darrell Wayne Grimsley, Jr., Joy Taylor.
(Attachments: # 1 Affidavit of Peter J. Mougey, # 2 Exhibit A - Certificate of Good Standing, #3
Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09265-BMC (Mougey, Peter)
(Entered: 01/10/2024)

01/10/2024

01/12/2024

NOTICE of Appearance by Ethan Price Davis on behalf of Walmart Inc,, Walmart Inc,, Wal-Mart
Inc., Wal-Mart Stores East 1, LP, Wal-Mart Stores East, LP (aty to be noticed) Associated Cases:
1: 23- md-0. 03089- BMC et al. (Davis, Ethan) (Entered: Ol 10/2024)

JPMDL Conditional Transfer Order (CTO-4):Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are

transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.

Cogan. (AF) (Entered: 01/12/2024)

01/16/2024

MOTION to Appear Pro Hac Vice by Christcpher Young Filing fee $ 150, receipt number NYEDC-
17465148 by Bayer Corporation, Bayer Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer
Healthcare LLC, Bayer Health Care, LLC, Bayer Corporation. (Attachments: # 1 Affidavit of
Christopher Young, # 2 Certificate of Good Standing, # 3 Proposed Order) Associated Cases: 1:23-
md-03089-BMC et al. (Young, Christopher) (Entered: 01/16/2024)

01/16/2024

NOTICE of Appearance by Laura Flahive Wu on behalf of The Procter & Gamble Company (aty to
be noticed) Associated Cases: 1 23- md-03089-BMC et al. (Flahive Wu, Laura) (Entered: 01/16/2024)

01/17/2024

MOTION to Appear Pro Hac Vice for Rose J. Jones Filing fee $ 150, receipt number NYEDC-
17468353 by Walmart Inc,, Walmart Inc,, Wal-Mart Inc., Wal-Mart Stores East 1, LP, Wal-Mart
Stores East, LP. (Attachments: # 1 Affidavit in Support, dH 2 Exhibit A - Certificate of Good Standing

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(GA), #3 Proposed Order, # 4 Certificate of Service) Associated Cases: 1:23-md-03089-BMC et al.
(Jones, Rose) (Entered: 01/17/2024)

01/17/2024

MOTION to Appear Pro Hac Vice cf Robert W. Sparkes, il Filing fee $ 150, receipt number
NYEDC-17470064 by Amazon.com Services LLC, Amazon.com, Inc, Amazon.com, Inc,
Amazon.com, Inc.. (Attachments: # 1 Affidavit in Support of Robert W. Sparkes, IIL, # 2 Exhibit
Certificate of Good Standing (Massachusetts), # 3 Proposed Order) Associated Cases: 1:23-md-
03089-BMC et al. (Sparkes, Robert) (Entered: 01/17/2024)

01/17/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17470274 by Eduardo
Flores, Jordan Nelson, Regina Peralta, Natasha Hernandez. (Attachments: # 1 Affidavit of Sarah N.
Westcot, # 2 Exhibit A, # 3 Exhibit B, # 4 Proposed Order) Associated Cases: 1:23-md-03089-BMC,
1:23-cv-09257-BMC, 1:23-cv-09261-BMC, 1:23-cv-09263-BMC (Westcot, Sarah) (Entered:
01/17/2024)

01/17/2024

MOTION to Appear Pro Hac Vice for Ber jamin S. McIntosh Filing fee $ 150, receipt number
ANYEDC-17470256 by Daniel Heaghney, Daryl Means. (Attachments: # 1 Exhibit, #2 Affidavit, #
3 Proposed Order, # 4 Certificate of Service) (McIntosh, Benjamin) (Entered: 01/17/2024)

01/17/2024

MOTION to Appear Pro Hac Vice by Michael Resch Filing fee $ 150, receipt number NYEDC-
17471345 by Walmart Inc,, Walmart Inc,, Wal-Mart Inc., Wal-Mart Stores East 1, LP, Wal-Mart
Stores East, LP. (Attachments: # 1 Declaration in Support by Michael Resch, # 2 Exhibit A -
Certificate of Good Standing (D.C.), # 3 Exhibit B - Certificate of Good Standing (Cal.), # 4
Proposed Order, #5 Certificate of Service) Associated Cases: 1:23-md-03089-BMC et al. (Resch,
Michael) (Entered: 01/17/2024)

01/18/2024

NOTICE of Appearance by Mark Lesko on behalf of Albertsons Companies, Inc. (aty to be noticed)
(Lesko, Mark) (Entered: 01/18/2024)

01/18/2024

NOTICE of Appearance by Nilda Maria Isidro on behalf of Albertsons Companies, Inc. (aty to be
noticed) (Isidro, Nilda) (Entered: | O1/ 18/2024)

01/18/2024

NOTICE of Appearance by Dale Goldstein on behalf of Al Albertsons Companies, Inc. (aty to be
noticed) (Goldstein, Dale) (Entered: 01/18/2024)

01/22/2024

MOTION to Appear Pro Hac Vice cf Diana Cole Surprenant Filing fee $ 150, receipt number
ANYEDC-17483871 by Associated Wholesale Grocers Inc, Valu Merchandisers Co.. (Attachments:
# 1 Affidavit in Support Affidavit in support of Motion for PHV admission, #2 Appendix Certificate
of Good Standing for Diana Surprenant) (Surprenant, Diana) (Entered: 0 01/22/2024)

01/22/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17484931 by Andrew
Gutierrez, Emily Hansen, Sommer Milous. (Attachments: # 1 Affidavit, #2 Certificate of Good
Standing, # 3 Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09259-BMC
(Kershaw, William) (Entered: 01/22/2024)

01/22/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17485079 by Andrew
Gutierrez, Emily Hansen, Sommer Milous. (Attachments: # 1 Affidavit, #2 Certificate of Good
Standing, # 3 Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09259-BMC
(Barlow, Tan) ( (Entered: 01/22/2024)

01/22/2024

attorney shall register for ECF, registration is available online at www.pacer.gov. Once registered, the
attorney shall file a notice of appearance and ensure that s/he receives electronic notification of

activity in this case. Also, the attorney shall ensure the $150 admission fee be submitted to the Clerks
Office via filing the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 1/22/2024.
(PW) (Entered: 01/22/2024)

01/23/2024

NOTICE of Appearance by Robert W. Sparkes, III on behalf of Amazon.com Services LLC,
Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc. (notification declined or already on case)
Associated Cases: 1:23-md-03089-BMC et al. (Sparkes, Robert) (Entered: 01/23/2024)

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01/23/2024

NOTICE of Appearance by Jason P. Sultzer on behalf of Pamela Joyner, Cathy Kleiman, Kristin
Lawrence, Kamonica McWhite, Sharon Rourk, Annette Striegel (aty to be noticed) (Sultzer, Jason)
(Entered: 01/23/2024)

01/23/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17490570 by Wal-
Mart Inc.. (Attachments: # 1 Affidavit Ethan Davis Declaration ISO Motion, # 2 Exhibit Exhibit A -
DC Cert of GS, #3 Exhibit Exhibit B - CA Cert of GS, # 4 Exhibit Exhibit C - NY Cert of GS, #5
Proposed Order Proposed Order, # 6 Certificate of Service Certificate of Service) (Davis, Ethan)
(Entered: 01/23/2024)

01/23/2024

MOTION to Appear Pro Hac Vice for Bryan F: Aylstock Filing fee $ 150, receipt number NYEDC-
17491332 by Kaycie Coppock, Steve Audelo. (Attachments: # 1 Affidavit in Support by Bryan F.
Aylstock, #2 Ex. A-Certificates of Good Standing, # 3 [Proposed} Order) Associated Cases: 1:23-
md-03089-BMC, 1:23-cv-09059-BMC, 1:23-cv-09062-BMC (Aylstock, Bryan) (Entered:
01/23/2024)

01/23/2024

MOTION to Appear Pro Hac Vice cf Ruby Nagamine Filing fee $ 150, receipt number NYEDC-
17491293 by Amazon.com Services LLC, Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc..
(Attachments: # 1 Affidavit, # 2 Admission Information Certificate of Good Standing, # 3 Proposed
Order) Associated Cases: 1:23-md-03089-BMC et al. (Nagamine, Ruby) (Entered: 01/23/2024)

01/23/2024

NOTICE of Appearance by William A. Kershaw on behalf of Andrew Gutierrez, Emily Hansen,
Sommer Milous (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
1:23-cv-09259-BMC (Kershaw, William) (Entered: 01/23/2024)

01/23/2024

NOTICE of Appearance by Ian Barlow on behalf of Andrew Gutierrez, Emily Hansen, Sommer
Milous (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-
09259-BMC (Barlow, Ian) (Entered: 01/23/2024)

01/24/2024

NOTICE of Appearance by Elizabeth A. Fegan on behalf of Anthony DeRosa (notification declined
or already on case) (Fegan, Elizabeth) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Diana Cole Surprenant on behalf of Associated Wholesale Grocers Inc,
Valu Merchandisers Co. (notification declined or already on case) Associated Cases: 1:23-md-03089-
BMC, 1:23 23-cv-09061-BMC (Surprenant, Diana) (Entered: : 01/24/2024)

01/24/2024

NOTICE 0 of Appearance by Mark Lesko on behalf of CVS Pharmacy Inc. (aty to be noticed) (Lesko,
Mark) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Mark Lesko on behalf of Target Corporation (aty to be noticed) (Lesko,
Mark) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Mark Lesko on behalf of Rite Aid Corporation (aty to be noticed) (Lesko, |
Mark) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Mark Lesko on behalf of Costco Wholesale. Corp. (aty to be noticed)
(Lesko, Mark) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Mark Lesko on behalf of Walgreen Co (aty to be noticed) (Lesko, Mark)
(Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Dale Goldstein on behalf of CVS Pharmacy Inc. (aty to be noticed)
(Goldstein, Dale) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Dale Goldstein on behalf of Target Corporation (aty to be noticed)
(Goldstein, Dale) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Dale Goldstein on behalf of Rite Aid Corporation (aty to be noticed)
(Goldstein, Dale) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Dale Goldstein on behalf of Costco Wholesale Corp. (aty to be noticed)
(Goldstein, Dale) (Entered: 01/24/2024)

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01/24/2024

NOTICE of Appearance by Dale Goldstein on behalf of Walgreen Co (aty to be noticed) (Goldstein,
Dale) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Nilda Maria Isidro on behalf of CVS Pharmacy Inc. (aty to be noticed)
(Isidro, Nilda) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Nilda Maria Isidro on behalf of Target Corporation (aty to be noticed)
(Isidro, Nilda) (Entered: 01/24/2024)

01/24/2024

01/24/2024

NOTICE of Appearance by Nilda Maria Isidro on behalf of Rite Aid Corporation (aty to be noticed)
(Isidro, Nilda) (Entered: 01/24/2024)

NOTICE of Appearance by Nilda Maria Isidro on behalf of Costco Wholesale Corp. (aty to be
noticed) (Isidro, Nilda) (Entered: 01/24/2024)

01/24/2024

NOTICE of Appearance by Nilda Maria Isidro on behalf of Walgreen Co (aty to be noticed) (Isidro,
Nilda) (Entered: 01/24/2024)

01/24/2024

MOTION to Appear Pro Hac Vice NOTICE OF MOTION TO ADMIT DEREK W. LOESER PRO
AAC VICE Filing fee $ 150, receipt number NYEDC-17497499 by Martha A. Page, Rebecca Lynn
Reyes. (Attachments: # 1 Affidavit of Derek Loeser, # 2 Exhibit A - Certificates of Good Standing, #
3 Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09290-BMC, 1:23-cv-09308-
BMC (Loeser, Derek) (Entered: 01/24/2024)

01/24/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17497548 by Shawn
L. Thomas, Charles Geoffrey Woods. (Attachments: # 1 Affidavit, # 2 Exhibit A - Certificate of Good
Standing (PA), # 3 Exhibit B - Certificate of Good Standing (NY), # 4 Exhibit C - Certificate of
Good Standing (DE), # 5 Proposed Order) (Yeates, Melissa) (Entered: 01/24/2024)

01/24/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17497589 by Shawn
L. Thomas, Charles Geoffrey Woods. (Attachments: # 1 Affidavit, # 2 Exhibit A - Certificate of Good
Standing (PA), # 3 Exhibit A - Certificate of Good Standing (CA), # 4 Exhibit A - Certificate of Good
Standing (VA)) (Jacobson, Jordan) (Entered: 01/24/2024)

01/25/2024

ORDER granting 63 in case 1:23-md-03089 Motion for Leave to Appear Pro Hac Vice. The attorney
shall register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney
shall file a notice of appearance and ensure that s/he receives electronic notification of activity in this
case. Also, the attorney shall ensure the $150 admission fee be submitted to the Clerks Office via
filing the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 1/25/2024.
Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09290-BMC, 1:23-cv-09308-BMC (PW) (Entered:

01/25/2024

(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09276-
BMC, 1:23-cv-09282-BMC (McIntosh, Benjamin) (Entered: 01/25/2024)

01/25/2024

NOTICE of Appearance by Derek W. Loeser on behalf of Martha A. Page, Rebecca Lynn Reyes
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09290-
BMC, 1:23-cv-09308-BMC (Loeser, Derek) (Entered: 01/25/2024)

01/26/2024

NOTICE of Appearance by Peter J Mougey on behalf of Anthony Coleman, Joy Taylor, Darrell
Wayne Grimsley, Jr. (notification declined or already on case) Associated Cases: 1:23-md-03089-
BMC, 1:23-cv-09258-BMC, 1:23-cv-09265-BMC (Mougey, Peter) (Entered: 01/26/2024)

01/26/2024

NOTICE of Appearance by Laura S Dunning on behalf of Anthony Coleman, Darrell Wayne
Grimsley, Jr., Joy Taylor (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09258-
BMC, 1:23-cv-09265-BMC (Dunning, Laura) (Entered: 01/26/2024)

01/29/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17508216 by Daniel
Flick, Claudette Sanes, Janis Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Regina
Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica,

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Michael Lee, Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz, Randall Sygal, |
Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman, Jonathan Brandman, Cece Davenport,
Michelle Garza, Toni Heuchan, Michael Lee, Dena Fichot, Thomas Lewis. (Attachments: # 1
Declaration, # 2 Exhibit A: Certificate of Good Standing, # 3 Proposed Order) Associated Cases:
1:23-md-03089-BMC et al. (Braden, Scott) (Entered: 01/29/2024)

01/29/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17509934 by Kristin
Depaola. (Attachments: # 1 Affidavit, #2 Exhibit, # 3 Exhibit) (Goldenberg, Marlene) (Entered:
01/29/2024)

01/29/2024

MOTION to Appear Pro Hac Vice cf Daniel B. Rogers Filing fee $ 150, receipt number ANYEDC-
17511688 by Publix Super Markets, Inc.. (Attachments: # 1 Affidavit of Daniel B. Rogers, # 2
Proposed Order) (Rogers, Daniel) (Entered: 01/29/2024)

01/29/2024

ORDER granting 70 71 72 Motions for Leave to Appear Pro Hac Vice. The attorney shall register for
ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall file a
notice of appearance and ensure that s/he receives electronic notification of activity in this case. Also,
the attorney shall ensure the $150 admission fee be submitted to the Clerks Office via filing the event
Pro Hac Vice Filing Fee, Ordered by Judge Brian M. Cogan on 1/29/2024. (PW) (Entered:
01/29/2024)

01/29/2024

NOTICE of Appearance by Scott G. Braden on behalf of Daniel Flick, Claudette Sanes, Janis
Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Regina Brookshier, Cece Davenport,
Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica, Michael Lee, Thomas Lewis,
Allison Sammarco, Claudette Sanes, Karen Schwartz, Randall Sygal, Ruta Taito, Hollie Verdi, John
Jeffrey Ward, Janis Zimmerman, Jonathan Brandman, Cece Davenport, Michelle Garza, Toni
Heuchan, Michael Lee, Dena Fichot, Thomas Lewis (notification declined or already on case)
Associated Cases: 1:23-md-03089-BMC et al. (Braden, Scott) (Entered: 01/29/2024)

01/30/2024

NOTICE of Appearance by Marlene Jaye Goldenberg on behalf of Kristin Depaola (notification
declined or already on case) (Goldenberg, Marlene) (Entered: 01/30/2024)

01/30/2024

register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall
file a notice of appearance and ensure that s/he receives electronic notification of activity in this case.
Also, the attorney shall ensure the $150 admission fee be submitted to the Clerks Office via filing the
event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 1/30/2024. (PW) (Entered:
01/30/2024)

01/30/2024

MOTION to Appear Pro Hac Vice cf Michael Klebanov Filing fee $ 150, receipt number ANYEDC-
17516604 by Dierbergs Markets, Inc.. (Attachments: # 1 Affidavit, # 2 Admission Information
Certificates of Good Standing, # 3 Proposed Order) (Klebanov, Michael) (Entered: 01/30/2024)

01/30/2024

MOTION to Appear Pro Hac Vice Tanner Cook Filing fee $ 150, receipt number ANYEDC-
17516779 by Dierbergs Markets, Inc.. (Attachments: # 1 Affidavit, # 2 Admission Information
Certificate of Good Standing, # 3 Proposed Order) (Cook, Tanner) (Entered: 01/30/2024)

01/30/2024

MOTION to Appear Pro Hac Vice for Livia M. Kiser Filing fee $ 150, receipt number NYEDC-
17516314 by Walmart Inc,, Walmart Inc,, Wal-Mart Inc., Wal-Mart Stores East 1, LP, Wal-Mart
Stores East, LP, Walmart Inc,. (Attachments: # 1 Declaration of Livia M. Kiser, # 2 Exhibit A -
Certificate of Good Standing (Cal.), #3 Exhibit B - Certificate of Good Standing (II1.), # 4 Proposed
Order, # 5 Certificate of Service) Associated Cases: 1:23-md-03089-BMC et al. (Kiser, Livia)
(Entered: 01/30/2024)

01/30/2024

MOTION to Appear Pro Hac Vice for David P. Milian Filing fee $ 150, receipt number ANYEDC-
17517081 by Jay Valinsky. (Attachments: # 1 Exhibit) (Milian, David) (Entered: 01/30/2024)

01/30/2024

NOTICE of Appearance by Michael L. Resch on behalf of Walmart Inc,, Walmart Inc,, Wal-Mart
Inc., Wal-Mart Stores East 1, LP, Wal-Mart Stores East, LP, Walmart Inc, (aty to be noticed)

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(Attachments: # 1 Certificate of Service) Associated Cases: 1:23-md-03089-BMC et al. (Resch,
Michael) (Entered: 01/30/2024)

01/30/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17517426 by Publix
Super Markets, Inc.. (Attachments: # 1 Declaration of Michael Healy ISO Admission Pro Hac Vice, #
2 Proposed Order for Admission Pro Hac Vice of Michael Healy) (Healy, Michael) (Entered:
01/30/2024)

01/31/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17520702 by Robert
Fichera, Natalie Juneau, Harold Nyanjom, Archanatep Boonparn, Kristin Depaola, Mari Jones,
Natalie Juneau, Harold Nyanjom, Rachel Parker, Richard Scoffier, Richard Scoffier, Kristin Depaola,
Rachel Parker. (Attachments: # 1 Affidavit, #2 Exhibit Certificates of Good Standing) Associated
Cases: 1:23-md-03089-BMC et al. (Stanoch, David) (Entered: 01/31/2024)

01/31/2024

01/31/2024

MOTION to Appear Pro Hac Vice Tyler S. Graden Filing fee $ 150, receipt number NYEDC-
17521409 by Shawn L. Thomas, Charles Geoffrey Woods. (Attachments: # 1 Affidavit, #2 Exhibit A
- Certificate of Good Standing (PA), # 3 Exhibit B - Certificate of Good Standing (NJ), # 4 Proposed
Order) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09303-BMC (Graden, Tyler) (Entered:

01/3 1/2024)

NOTICE of Appearance by Sarah Westcot on 1 behalf 0 of Eduardo Flores, Jordan Nelson, Regina
Peralta, Natasha Hernandez (notification declined or already on case) Associated Cases: 1:23-md-
03089-BMC, 1:23-cv-09257-BMC, 1:23-cv-09261-BMC, 1:23-cv-09263-BMC (Westcot, Sarah)
(Entered: 01/31/2024)

01/31/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NY EDC-17521882 by Associated
Wholesale Grocers Inc, Valu Merchandisers Co.. (Attachments: # 1 Affidavit, # 2 Certificate of Good
Standing) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09061-BMC (Sensenbrenner, Paige)
(Entered: 01/31/2024)

01/31/2024

NOTICE of Appearance by Daniel Brandon Rogers on behalf of Publix Super Market, Inc., Publix
Super Markets, Inc. (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09264-
BMC, 1:23-cv-09272-BMC, 1:24-cv-00124-BMC (Rogers, Daniel) (Entered: 01/31/2024)

02/01/2024

NOTICE of Appearance by Bryan F. Aylstock on behalf of Kaycie Coppock, Steve Audelo
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09059-
BMC, 1:23-cv-09062-BMC (Aylstock, Bryan) (Entered: 02/01/2024)

02/01/2024

02/01/2024

NOTICE of Appearance by James Lawrence Bernard on behalf of Reckitt Benckiser LLC, RB Health
(US) LLC, RB Health (US) LLC, Reckitt Benckiser Pharmaceuticals Inc., RB Health LLC, Reckitt
Benckiser LLC, Reckitt & Benckiser LLC, Reckitt Benckiser, LLC (aty to be noticed) Associated
Cases: 1:23-md-03089-BMC et al. (Bernard, James) (Entered: 02/01/2024)

MOTION to Appear Pro Hac Vice cf Jenn fer Nagle Filing fee $ 150, receipt number NYEDC-
17525785 by Amazon.com Services LLC, Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc..
(Attachments: # 1 Affidavit In Support of Jennifer Nagle, # 2 Exhibit Certificate of Good Standing
(Massachusetts), # 3 Exhibit Certificate of Good Standing (New Jersey), # 4 Proposed Order)
Associated C Cases: 1:23-md-03089-BMC et al. (Nagle, Jennifer) (Entered: 02/01/2024)

02/02/2024

MOTION to to Appear Pro Hac Vice cf R. Jason Richards Filing fee $ 150, receipt number NYEDC-
17531125 by Kaycie Coppock, Steve Audelo. (Attachments: # 1 Affidavit in Support by R. Jason
Richards, # 2 Exhibit Ex. A-Certificates of Good Standing, # 3 Proposed Order) Associated Cases:
1:23-md-03089-BMC, 1:23-cv-09059-BMC, 1:23-cv-09062-BMC (Richards, R.) (Entered:
02/02/2024)

02/05/2024

register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall
file a notice of appearance and ensure that s/he receives electronic notification of activity in this case.
Also, the attorney shall ensure the $150 admission fee be submitted to the Clerks Office via filing the

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event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 2/5/2024. (PW) (Entered:
02/05/2024)

02/05/2024

ORDER granting 81 82 84 Motions for Leave to Appear Pro Hac Vice. The attorney shall register for

ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall file a
notice of appearance and ensure that s/he receives electronic notification of activity in this case. Also,
the attorney shall ensure the $150 admission fee be submitted to the Clerks Office via filing the event
Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 2/5/2024. (PW) (Entered:
02/05/2024) _

02/05/2024

NOTICE of Appearance t by Zarrina Ozari on behalf of Layne Barter, Jaedon Daniels, Lauren
Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri Lamdon, Robert
Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Amy Weinberg, Mychael Willon (aty to be
noticed) (Ozari, Zarrina) (Entered: 02/05/2024)

02/05/2024

02/ 06/2024

NOTICE of Appearance by Ryan Clarkson on behalf of Layne Barter, Jaedon Daniels, Lauren
Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri Lamdon, Robert
Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Olivia Rodesta, Amy Weinberg, Mychael
Willon (aty to be noticed) (Clarkson, Ryan) (Entered: 02/05/2024)

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC- 17542415 by Andrew
Gutierrez, Emily Hansen, Sommer Milous. (Attachments: # 1 Exhibit 1 - Certificate in Good
Standing, # 2 Exhibit 2 - Affidavit in Support of Motion to Appear, # 3 Proposed Order) Associated
Cases: 1:23- 3-md- 03089- BMC, 1:23-cv-09259-BMC (Stokes, Kelsey) (Entered: 0 02/06/2024)

02/06/2024

NOTICE of / Appearance t by ‘Melissa L Yeates on behalf of Shawn L. Thomas, Charles Geoffrey
Woods (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09303-BMC (Yeates,
Melissa) (Entered: 02/06/2024)

02/06/2024

NOTICE of Appearance by Tyler Graden on behalf of Shawn L. Thomas, Charles Geoffrey Woods
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09303-
BMC (Graden, Tyler) (Entered: 02/06/2024)

02/06/2024

NOTICE of Appearance by Jordan Jacobson on behalf of Shawn L. Thomas, Charles Geoffrey
Woods (aty to be noticed) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09303-BMC (Jacobson,
Jordan) (Entered: 02/06/2024)

02/06/2024

02/07/2024

NOTICE of Appearance by Hannah Y Shay Chanoine on behalf of Johnson & Johnson Consumer
Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson &
Johnson Consumer Inc., Johnson & Johnson Consumer, Inc. (aty to be noticed) Associated Cases:
1:23- 3-md- 03089-BMC et al. (Chanoine, Hannah Y) (Entered: 02/06/2024)

MOTION to Appear Pro Hac Vice ¢f F: rederick Longer Filing fee $ 150, receipt number ANYEDC-
17546616 by Millard Adkins, Rosalyn Anderson. (Attachments: # 1 Affidavit of Frederick S. Longer,
# 2 Exhibit Certificate of Good Standing, # 3 Exhibit Certificate of Good Standing, # 4 Proposed
Order, # 5 Certificate of Service) (Longer, Frederick) (Entered: 02/07/2024)

02/07/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17548035 by Layne
Barter, Jaedon Daniels, Lauren Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney,
Dimitri Lamdon, Gwen Lewi, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai,
Olivia Rodesta, Amy Weinberg, Mychael Willon. (Attachments: # 1 Affidavit in Support of Glenn
Danas, # 2 Exhibit A- Certificate of Good Standing, # 3 Proposed Order) Associated Cases: 1:23-md-
03089-BMC, 1:23-cv-09279-BMC (Danas, Glenn) (Entered: 02/07/2024)

02/07/2024

MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number NYEDC-17548142 by Layne
Barter, Jaedon Daniels, Lauren Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney,
Dimitri Lamdon, Gwen Lewi, Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai,
Olivia Rodesta, Amy Weinberg, Mychael Willon. (Attachments: # 1 Affidavit in Support of Shireen

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M. Clarkson, # 2 Exhibit A- Certificate of Good Standing, # 3 Proposed Order) Associated Cases:
1:23-md-03089-BMC, 1:23-cv-09279-BMC (Clarkson, Shireen) (Entered: 02/07/2024)

02/08/2024 100 | NOTICE of Appearance by Christopher Munro Young on behalf of Bayer Corporation, Bayer
Healthcare L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health Care, LLC, Bayer
Corporation (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC et al.
(Young, Christopher) (Entered: 02/08/2024)

02/08/2024 ORDER granting 88 89 92 97 98 99 Motions for Leave to Appear Pro Hac Vice. The attorney shall
register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall
file a notice of appearance and ensure that s/he receives electronic notification of activity in this case.
Also, the attorney shall ensure the $150 admission fee be submitted to the Clerks Office via filing the
event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 2/8/2024. (PW) (Entered:

02/08/2024)

02/08/2024 101 | NOTICE of Appearance by Frederick S. Longer on behalf of Millard Adkins, Frank Anderson,
Rosalyn Anderson, Donna Bailey, Eli Erlick, Tina Haluszka, Rosalie Jackson, Recoa Russell (aty to
be noticed) (Attachments: # 1 Certificate of Service) (Longer, Frederick) (Entered: 02/08/2024)

MOTION to Appear Pro Hac Vice re: Amy Laurendeau Filing fee $ 150, receipt number NYEDC-
17551372 by Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson &
Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc.,
Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
Consumer, Inc.. (Attachments: # 1 Affidavit Affidavit of Amy J. Laurendeau, # 2 Exhibit A - COGS,
# 3 Proposed Order) Associated Cases: 1:23-md-03089-BMC et al. (Laurendeau, Amy) (Entered:
02/08/2024)

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MOTION to Appear Pro Hac Vice of Lauren S. ‘Colton Filing fee $ 150, receipt number NYEDC-
17551506 by Reckitt Benckiser LLC, Reckitt Benckiser Pharmaceuticals Inc., RB Health (US) LLC,
RB Health (US) LLC, RB Health LLC, Reckitt Benckiser LLC, Reckitt & Benckiser LLC, Reckitt
Benckiser, LLC. (Attachments: # 1 Affidavit of Lauren S. Colton, #2 Exhibit A - Cerificate of Good
Standing, # 3 Proposed Order) Associated Cases: 1:23-md-03089-BMC et al. (Colton, Lauren)
(Entered: 02/08/2024)

02/08/2024 104 | NOTICE of Appearance by Michael Klebanov on behalf of Dierbergs Markets, Inc. (notification
declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09282-BMC
(Klebanov, Michael) (Entered: 02/ 08/2024)

02/08/2024 105 | NOTICE of Appearance by Tanner Cook on behalf of Dierbergs | Markets, Inc. (notification declined
or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09282-BMC (Cook, Tanner)
(Entered: 02/08/2024)

NOTICE of Appearance by Glenn Danas, I on behalf of Layne Barter, Jaedon Daniels, Lauren
Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri Lamdon, Gwen Lewi,
Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Olivia Rodesta, Amy Weinberg,

Mychael Willon (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
1:23-cv-09279-BMC (Danas, Glenn) (Entered: 02/08/2024) —

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NOTICE of Appearance by Shireen M. Clarkson on behalf of Layne Barter, J Jaedon | Daniels, Lauren
Debeliso, Tatyana Dekhtyar, Jose Cortez Hernandez, Lorette Kenney, Dimitri Lamdon, Gwen Lewi,
Robert Lundin, Lateef Murdock, Marcel Perez Pirio, Elie El Rai, Olivia Rodesta, Amy Weinberg,
Mychael Willon (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC,
1:23-cv-09279-BMC (Clarkson, Shireen) (Entered: 02/08/2024)

02/09/2024 108 | NOTICE of Appearance by Jennifer Janeira Nagle on behalf of Amazon.com Services LLC,
Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc. (notification declined or already on case)
Associated Cases: 1:23-md-03089-BMC et al. (Nagle, Jennifer) (Entered: 02/09/2024)

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NOTICE of Appearance by Kelsey Stokes on behalf of Andrew Gutierrez, Emily Hansen, Sommer
Milous (notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-

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09259-BMC (Stokes, Kelsey) (Entered: 02/09/2024)

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MOTION to Appear Pro Hac Vice Filing fee $ 150, receipt number ANYEDC-17556526 by Procter
& Gamble Co.. (Attachments: # 1 Declaration, # 2 Exhibit A. Certificate of Good Standing DC, #3
Exhibit B. Certificate of Good Standing IIL., # 4 Proposed Order) (Soukup, Andrew) (Entered:
02/09/2024)

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MOTION to Appear Pro Hac Vice OF CORTLIN H. LANNIN Filing fee $ 150, receipt number
ANYEDC-17556764 by Procter & Gamble Co.. (Attachments: # 1 Declaration, # 2 Exhibit A.
Certificate of Good Standing | Cal., # 3 Proposed Order) (Soukup, Andrew) (Entered: 02/09/2024)

“NOTICE of Appearance by Jay y P. Lefkowitz on behalf of GlaxoSmithKline Consumer Healthcare
Holdings (US) LLC, GlaxoSmithKline LLC, Haleon PLC, Haleon Us Capital LLC, Pfizer Inc. (aty to
be noticed) Associated Cases: | 23- md-03089-BMC et al. (Lefkowitz, Jay) (Entered: 02/09/2024)

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NOTICE of Appearance by Jacob R Rae on behalf of GlaxoSmithKline Consumer Healthcare Holdings
(US) LLC, GlaxoSmithKline LLC, Haleon PLC, Haleon Us Capital LLC, Pfizer Inc. (aty to be
noticed) Associated Cases: 1:23-md-03089- BMC et al. (Rae, Jacob) (Entered: 02/09/2024) —

MOTION to Appear Pro Hac Vice cf Robyn E. -Bladow Filing fee $ 150, receipt number ANYEDC-
17557933 by GlaxoSmithKline Consumer Healthcare Holdings (US) LLC, GlaxoSmithKline LLC,
Haleon PLC, Haleon Us Capital LLC, Pfizer Inc.. (Attachments: # 1 Declaration in Support, # 2
Exhibit - Certificate of Good Standing (CA), # 3 Certificate of Service, # 4 Proposed Order) (Bladow,

02/09/2024

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Robyn) (Entered: 02/09/2024)

MOTION to Appoint Counsel by Plaintiffs. (Attachments: # 1 Memorandum in Support, # 2
Proposed Order, # 3 Exhibit B. List of Firms Supporting Slate, # 4 Exhibit C. Declaration of Michael
A. London, # 5 Exhibit D. Declaration of Bryan A. Aylstock, # 6 Exhibit E. Declaration of James E.
Cecchi, # 7 Exhibit F. Declaration of Kiley L. Grombacher, # 8 Exhibit G. Declaration of Adam J.
Levitt, # 9 Exhibit H. Declaration of Elizabeth A. Fegan, # 10 Exhibit I. Declaration of Jonathan D.
Selbin, # 11 Exhibit J. Declaration of Christopher A. Seeger, # 12 Exhibit K. Declaration of Jason P.
Sultzer, # 13 Exhibit L. Declaration of Lindsey N. Scarcello, # 14 Exhibit M. Declaration of Sarah N.
Wescot, # 15 Exhibit N. Declaration of Michael A. Sacchet, # 16 Exhibit O. Declaration of Shireen
M. Clarkson, # 17 Exhibit P. Declaration of Alexander E. Barnett, # 18 Exhibit Q. Declaration of
Kelsey L. Stokes, # 19 Exhibit R. Declaration of Darren E. Kaplan, # 20 Exhibit 8. Declaration of
Jordan E. Jacobson, # 21 Exhibit T. Declaration of Laura S. Dunning, # 22 Exhibit U. Declaration of
Fred S. Longer, # 23 Exhibit V. Declaration of Marlene J. Goldenberg, # 24 Exhibit W. Declaration of
Stuart A. Davidson, # 25 Exhibit X. Declaration of Melanie H. Muhlstock) (London, Michael)
(Entered: 02/09/2024)

NOTICE of Appearance by Ruby A. Nagamine o1 on behalf of Amazon. com Services LLC,
Amazon.com, Inc, Amazon.com, Inc, Amazon.com, Inc. (notification declined or already on case)
Associated Cases: 1:23-md-03089-BMC et al. (Nagamine, Ruby) (Entered: 02/ 12/2024)

NOTICE ot of Appearance by YuQing Emily Min on behalf o: of All Plaintiffs (aty to be noticed)
Associated Cases: 1:23-md-03089-BMC et al. (Min, YuQing) (Entered: 02/12/2024)

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MOTION to Appear Pro Hac Vice YuQing Min Filing fee $ 200, receipt number NYEDC-17561420
by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena-
Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert
Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea
Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez.
(Attachments: # 1 Exhibit Certificate of Standing, # 2 Proposed Order) Associated Cases: 1:23-md-
03089-BMC et al. (Min, YuQing) (Entered: 02/12/2024)

02/12/2024

NOTICE « of Appearance by Andrew Daniel Bluth on behalf o of Robert Haid, Rethea Morris, William
Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena- Venegas, Beverly Ward, Min Ji Jung,
Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky,

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| Archi Hipkins, Abby Jergins, Richard Chavez (aty to be noticed) Associated Cases: 1:23-md-03089- |
BMC et al. (Bluth, Andrew) (Entered: 02/12/2024)

MOTION to Appear Pro Hac Vice Andrew D. Bluth Filing fee $ 200, receipt number NYEDC-
17562848 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy Welharticky,
Izabel Pena- Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard
Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher
McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
Chavez. (Attachments: # 1 Exhibit Certificate of Standing, #2 Proposed Order) Associated Cases:
1:23-md-03089-BMC et al. (Bluth, Andrew) (Entered: 02/12/2024)

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NOTICE of Appearance by Christopher Ross Rodriguez on behalf of Robert Haid, Rethea Morris,
William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji
Jung, Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi
Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy
Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez (aty to be noticed) Associated Cases:
1:23-md-03089-BMC et al. (Rodriguez, Christopher) (Entered: 02/ 12/2024)

MOTION tc to Appear Pro Hac Vice Christopher R. Rodriguez Filing fee $ 200, receipt number
NYEDC-17562985 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan,
Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins,
Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins,
Richard Chavez. (Attachments: # 1 Exhibit Certificate of Standing, #2 Proposed Order) Associated
Cases: 1:23-md-03089-BMC et al. (Rodriguez, Christopher) (Entered: 02/12/2024)

02/12/2024

NOTICE of Appearance by Kevin 8. Hannon on behalf of Robert Haid, Rethea Morris, William
Bryan, Jack Hinsberger, Nancy Welharticky, Izabel Pena- Venegas, Beverly Ward, Min Ji Jung,
Kenneth Levi Pack, William Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins,
Abby Jergins, Bill Jergins, Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky,
Archi Hipkins, Abby Jergins, Richard Chavez (aty to be noticed) Associated Cases: 1:23-md-03089-
BMC et al. (Hannon, Kevin) (Entered: 02/12/2024)

02/12/2024

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MOTION to Appear Pro Hac Vice Kevin S. Hannon Filing fee $ 200, receipt number NYEDC-
17563285 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy Welharticky,
Izabel Pena- Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard
Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher
McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard
Chavez. (Attachments: # 1 Exhibit Certificate of Standing, # 2 Proposed Order) Associated Cases:
1:23-md-03089-BMC et al. (Hannon, Kevin) (Entered: 02/12/2024)

02/13/2024

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JPMDL Conditional Transfer Order (CTO-5): Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.
Cogan. (AF) (Entered: 02/13/2024)

02/13/2024

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NOTICE of Appearance by Trent James Nelson on behalf of Robert Haid, Rethea Morris, William
Bryan, Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins,
Min Ji Jung, Christopher McPhee, Rethea Morris, Kenneth Levi Pack, Izabel Pena- Venegas, Justin
Vorise, Beverly Ward, Nancy Welharticky (aty to be noticed) Associated Cases: 1:23-md-03089-
BMC, 1:24-cv-00269-BMC (Nelson, Trent) (Entered: 02/13/2024)

02/13/2024

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MOTION to Appear Pro Hac Vice Trent J. Nelson Filing fee $ 200, receipt number NYEDC-
17565496 by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy Welharticky,
Izabel Pena- Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan, Richard
Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher

| McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard

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Chavez. (Attachments: # 1 Exhibit Certificate of Standing, #2 Proposed Order) Associated Cases: |
1:23-md-03089-BMC et al. (Nelson, Trent) (Entered: 02/ 13/2024)

JPMDL Conditional Transfer Order (CTO-6): Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.
Cogan. (AF) (Entered: 02/13/2024)

ORDER denying Motions for Leave to Appear Pro Hac Vice as to 118 YuQing Min; 120 Andrew D.
Bluth; 122 Christopher R. Rodriguez; 124 Kevin 8. Hannon; 127 Trent J. Nelson, without prejudice
to renewal upon compliance with Local Civil Rule 1.3(c) (1) and (2) which requires that in order to
be admitted pro hac vice, the applicant must file an affidavit stating whether he/she has been the

subject of a criminal conviction and/or disciplinary sanction. Ordered by Judge Brian M. Cogan on
2/ 13/2024. (PW) (Entered: 02/ 13/2024)

register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall
file a notice of appearance to ensure electronic notification of activity in this case. Also, the attorney
shall ensure the $200 admission fee be submitted to the Clerks Office via filing the event Pro Hac
Vice Filing Fee. Ordered by Judge Brian M. Cogan on 2/13/2024. (PW) (Entered: 02/13/2024)

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DECLARATION re (121 in 1:23-md-03089-BMC) Notice of Appearance,, re 122 Motion to Admit
Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan,
Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins,
Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins,
Richard Chavez Associated Cases: 1:23-md-03089-BMC et al. (Rodriguez, Christopher) (Entered:
02/ 13/2024)

DECLARATION re (119 in 1:23-md-03089-BMC) Notice of Appearance,, 120 Motion to Admit
Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan,
Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins,
Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins,
Richard Chavez Associated Cases: 1:23-md-03089-BMC et al. (Bluth, Andrew) (Entered:
02/13/2024)

DECLARATION re (123 in 1:23-md- 03089- BMC) Notice of Appearance, 124 Motion to Admit
Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan,
Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins,
Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins,
Richard Chavez Associated Cases: 1:23-md-03089-BMC et al. (Hannon, Kevin) (Entered:
02/13/2024)

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DECLARATION re (126 in 1:23-md-03089-BMC) Notice eof Appearance, 1/27 Motion to » Admit
Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan,
Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins, Christopher McPhee,
Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins, Richard Chavez
Associated Cases: 1:23-md-03089-BMC et al. (Nelson, Trent) (Entered: 02/13/2024)

02/13/2024

DECLARATION re (117 in 1:23-md-03089-BMC) Notice of Appearance //8 Motion to Admit
Counsel Pro Hac Vice by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy
Welharticky, Izabel Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, William Bryan,
Richard Chavez, Robert Haid, Jack Hinsberger, Archi Hipkins, Abby Jergins, Bill Jergins,
Christopher McPhee, Rethea Morris, Justin Vorise, Nancy Welharticky, Archi Hipkins, Abby Jergins,
Richard Chavez Associated Cases: 1:23-md-03089-BMC et al. (Min, YuQing) (Entered: 02/13/2024)

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02/14/2024

NOTICE of Appearance by R. Jason Richards on behalf of Kaycie Coppock, Steve Audelo
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09059-
BMC, 1:23-cv-09062-BMC (Richards, R.) (Entered: 02/14/2024)

02/14/2024

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Amended MOTION to Appoint Counsel by Plaintiffs. (Attachments: # 1 Memorandum in Support
Amended, # 2 Proposed Order Amended, # 3 Exhibit Exhibit B. List of Firms Supporting Slate, # 4
Exhibit Exhibit C. Declaration of Michael A. London, # 5 Exhibit Exhibit D. Declaration of Bryan A.
Aylstock, # 6 Exhibit Exhibit E. Declaration of James E. Cecchi, # 7 Exhibit Exhibit F. Declaration of
Kiley L. Grombacher, # 8 Exhibit Exhibit G. Declaration of Adam J. Levitt, # 9 Exhibit Exhibit H.
Declaration of Elizabeth A. Fegan, # 10 Exhibit Exhibit I. Declaration of Jonathan D. Selbin, # 11
Exhibit Exhibit J. Declaration of Christopher A. Seeger, # 12 Exhibit Exhibit K. Declaration of Jason
P. Sultzer, # 13 Exhibit Exhibit L. Declaration of Lindsey N. Scarcello, # 14 Exhibit Exhibit M.
Declaration of Sarah N. Wescot, # 15 Exhibit Exhibit N. Declaration of Michael A. Sacchet, # 16
Exhibit Exhibit O. Declaration of Shireen M. Clarkson, # 17 Exhibit Exhibit P. Declaration of
Alexander E. Barnett, # 18 Exhibit Exhibit Q. Declaration of Kelsey L. Stokes, # 19 Exhibit Exhibit
R. Declaration of Darren E. Kaplan, # 20 Exhibit Exhibit S. Declaration of Cari Laufenberg, # 21
Exhibit Exhibit T. Declaration of Jordan E. Jacobson, # 22 Exhibit Exhibit U. Declaration of Laura S.
Dunning, # 23 Exhibit Exhibit V. Declaration of Fred S. Longer, # 24 Exhibit Exhibit W. Declaration
of Marlene J. Goldenberg, # 25 Exhibit Exhibit X. Declaration of Melanie H. Muhlstock, # 26
Exhibit Exhibit ¥ Y. Declaration of Stuart A. Davidson) (London, Michael) (Entered: 02/14/2024)

02/14/2024

ORDER. The Court h has reviewed Declarations of YuQing Min 133 , Trent J. Nelson 132 , Kevin S.
Hannon 131, Andrew D. Bluth 130 , Christopher R. Rodriguez 129, and finds that they have
complied with Local Rule 1.3(c). Counsels' motions to appear pro hac are therefore granted. The
attorney shall register for ECF, registration is available online at www.pacer.gov. Once registered, the
attorney shall file a notice of appearance to ensure electronic notification of activity in this case.
Also, each attorney shall ensure the $200 admission fee be submitted to the Clerk's Office via filing
the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 2/14/2024. (PW) (Entered:
02/14/2024)

02/15/2024

ORDER terminating 115 Motion to Appoint Counsel as superseded by 135 Amended Motion to
Appoint Counsel. Ordered by Judge Brian M. Cogan on 2/15/2024. (PW) (Entered: 02/15/2024)

02/15/2024

NOTICE of Appearance by Cortlin Hall Lannin on behalf of Procter & Gamble Co. (aty to be
noticed) (Lannin, Cortlin) (Entered: 02/15/2024)

02/15/2024

NOTICE of Appearance by Demet Basar on behalf of Haley Hadden, Bonnie Van Noy (aty to be
noticed) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-BMC (Basar, Demet) (Entered:
02/15/2024)

02/15/2024

NOTICE of Appearance by Andrew Soukup on behalf of Procter & Gamble Co. (notification
declined or already on on case) (Soukup, Andrew) (I (Entered: 02/15/2024)

02/15/2024

MOTION to Appear Pro Hac Vice cf Rebecca Gilliland Filing fee $ 200, receipt number NYEDC-
17575621 by Haley Hadden, Bonnie Van Noy. (Attachments: # 1 Declaration Declaration in Support
of Pro Hac, # 2 Exhibit Certificate of Good Standing, # 3 Proposed Order) Associated Cases: 1:23-
md-03089-BMC, 1:24-cv-01104-BMC (Basar, Demet) (Entered: 02/15/2024)

02/16/2024

02/16/2024

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NOTICE of Appearance by Robyn E. Bladow on behalf of GlaxoSmithKline Consumer Healthcare
Holdings (US) LLC, GlaxoSmithKline LLC, Haleon US Holdings LLC, Haleon Us Capital LLC,
Pfizer Inc. (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Bladow, Robyn)
(Entered: 02/16/2024)

NOTICE of Appearance by Lauren Schultz Colton on behalf of Reckitt Benckiser LLC, RB Health
(US) LLC, RB Health (US) LLC, Reckitt Benckiser Pharmaceuticals Inc., RB Health LLC, Reckitt &
Benckiser LLC, Reckitt Benckiser, LLC (aty to be noticed) Associated Cases: 1:23-md-03089-BMC
et al. (Colton, I Lauren) (Entered: 02/16/2024)

02/16/2024 -

“MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-17578754 by Jamieka
| Holmes, Pamela Joyner, Cathy Kleiman, Kristin Lawrence, Kamonica McWhite, Krystal Rampalli,

Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 125 of 298
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Sharon Rourk, Annette Striegel, Sierra Vent. (Attachments: # 1 Affidavit In support of Motion Pro
Has Vice, #2 Proposed Order, # 3 Exhibit Certificate of Good Standing SC) (Doolittle, Paul)
(Entered: 02/16/2024)

02/16/2024

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MOTION to Appoint Counsel as to Leadership by Haley Hadden, Bonnie Van Noy. (Attachments: #
1 Exhibit Resume of Gilliland, # 2 Exhibit Firm Bio, # 3 Exhibit Order) (Basar, Demet) (Entered:
02/16/2024)

02/20/2024

NOTICE of Appearance by Daniel Brandon Rogers on behalf of Publix Supermarkets, Inc. (aty to be
noticed) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01099-BMC (Rogers, Daniel) (Entered:
02/20/2024)

02/20/2024

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NOTICE of Appearance by Emilie W. Hamilton on behalf of Johnson & Johnson Consumer Inc.,
Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson
Consumer Inc., Johnson & Johnson Consumer Inc., Johnson & Johnson Consumer Inc., Johnson &
Johnson Consumer Inc., Johnson & Johnson Consumer, Inc. (aty to be noticed) Associated Cases:
1:23-md- 03089- BMC eta al. (Hamilton, Emilie) (Entered: 02/20/2024)

02/20/2024

NOTICE of A Appearance b by David Philip Milian on behalf of Jay Valinsky (notification declined or
already on case) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-00124-BMC (Milian, David)
(Entered: 02/20/2024)

02/21/2024

NOTICE of Appearance by Colleen Gulliver on behalf of Bayer Corporation, Bayer Healthcare
L.L.C., Bayer Healthcare L.L.C., Bayer Healthcare LLC, Bayer Health Care, LLC, Bayer
Corporation (aty to be noticed) Associated Cases: 1:23-md-03089-BMC et al. (Gulliver, Colleen)
(Entered: 02/21/2024)

02/22/2024

MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17593061 by Haley
Hadden, Bonnie Van Noy. (Attachments: # 1 Declaration Declaration in Support of Motion for Pro
Hac, # 2 Exhibit Certificate of Good Standing, # 3 Proposed Order Pro Hac Order for Jessica
Haynes) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-BMC (Haynes, Jessica) (Entered:
02/22/2024)

02/27/2024

02/28/2024

Proposed Scheduling Order Case Management Order #/ by Plaintiffs (Attachments: # 1 Proposed
| Order) (London, Michael) (Entered: 02/27/2024)

NOTICE by Haley Hadden, Bonnie Van Noy re 143 MOTION to Appoint Counsel as to Leadership
withdrawal (Basar, Demet) (Entered: 02/28/2024)

02/28/2024

ORDER terminating 143 Motion to Appoint Counsel as withdrawn. Ordered by Judge Brian M.
Cogan on 2/28/2024. (PW) (Entered: 02/28/2024)

02/28/2024

RESPONSE to Motion re 135 Amended MOTION to Appoint Counsel / De fendants’ Joint Response
to Plaint,, fs' Amended Motion for an Order Appointing Plainti,fs' Prcposed Leadership Structure and
Appointing Interim Class Counsel filed by Albertsons Companies, Inc., Amazon.com Services LLC,
Amazon.com, Inc, Associated Wholesale Grocers Inc, Bayer Healthcare L.L.C., CVS Pharmacy Inc.,
Costco Wholesale Corp., Dierbergs Markets, Inc., Haleon US Holdings LLC, Johnson & Johnson
Consumer Inc., Procter & Gamble Co., Publix Super Markets, Inc., RB Health (US) LLC, Rite Aid
Corporation, Target Corporation, Valu Merchandisers Co., Wal-Mart Inc., Wal-Mart Stores East 1,
LP, Walgreen Co. (Lefkowitz, Jay) (Entered: 02/28/2024)

02/28/2024

ORDER granting 139 142 148 Motions for Leave to Appear Pro Hac Vice. The attorney shall register
for ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall file a
notice of appearance to ensure electronic notification of activity in this case. Also, each attorney shall
ensure the $200 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
Filing Fee. Ordered by Judge Brian M. Cogan on 2/28/2024. (PW) (Entered: 02/28/2024)

02/28/2024

NOTICE of Appearance by Rebecca D Gilliland on behalf of Haley Hadden, Bonnie Van Noy
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-
BMC (Gilliland, Rebecca) (Entered: 02/28/2024)

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NOTICE of Appearance by Rebecca D Gilliland on behalf of Haley Hadden, Bonnie Van Noy
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-
BMC (Gilliland, Rebecca) (Entered: 02/28/2024)

02/28/2024 154 | MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17616324 by Daniel
Flick, Claudette Sanes, Janis Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Regina
Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica,
Michael Lee, Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz, Randall Sygal,
Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman, Jonathan Brandman, Cece Davenport,
Michelle Garza, Toni Heuchan, Michael Lee, Dena Fichot, Thomas Lewis. (Attachments: # 1
Declaration, # 2 Exhibit A: Certificate of Good Standing, # 3 Proposed Order) Associated Cases:
1:23-md-03089-BMC et al. (French, Jenn) (Entered: 02/28/2024)

02/28/2024 155 | NOTICE of Appearance by Richard Fama on behalf of The Kroger Co., Harris Teeter, LLC, Harris
| Teeter Supermarkets, Inc. (aty to be noticed) (Fama, Richard) (Entered: 02/28/2024)

02/28/2024 1

02/28/2024 156 “MOTION to Appear Pro Hac Vice (also filed by The Kroger Co.) Filing fee $ 200, receipt number
ANYEDC-17616685 by Harris Teeter Supermarkets, Inc., Harris Teeter, LLC. (Attachments: # 1
| Affidavit, #2 Proposed Order) (Fama, Richard) (Entered: "02/28/2024)

02/28/2024 157 NOTICE of Appearance by Michael Fitzgerald Healy on behalf of Publix Super Ma Markets, Inc.
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09264-
_|BM BMC, 1:23-cv- v-09272- BMC, 1:24-cv-00124-BMC (Healy, Michael) (Entered: 02/28/2024)

02/28/2024 158 RESPONSE to Motion re 135 Amended MOTION to Appoint Counsel filed by Regina Brookshier,
Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica, Michael
Lee, Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz, Randall Sygal, Ruta Taito,
Hollie Verdi, John Jeffrey Ward, Janis Zimmerman, Jonathan Brandman. (Attachments: # 1
Declaration of Jennifer M. French) (Braden, Scott) (Entered: 02/28/2024)

02/29/2024

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MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17617701 by Haley
Hadden, Bonnie Van Noy. (Attachments: # 1 Declaration Declaration in Support of Pro Hac Vice, # 2
Exhibit Certificate of Good Standing- Alabama, # 3 Exhibit Certificate of Good Standing- Georgia, #
4 Proposed Order) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-BMC (Hawthorne,
Alison) (Entered: 02/29/2024)

02/29/2024 160 | Letter Letter to Judge Cogan and Amended Proposed Order on Pro Hac Vice cf Karl O. Riley by
Harris Teeter Supermarkets, Inc., Harris Teeter, LLC, The Kroger Co. (Attachments: # 1 Proposed
Order) (Fama, Richard) (Entered: 02/29/2024)

02/29/2024 161 | MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17619250 by Haley
Hadden, Bonnie Van Noy. (Attachments: # 1 Declaration Declaration in Support of Pro Hac Vice, # 2
Exhibit Certificate of Good Standing- Alabama, # 3 Proposed Order) Associated Cases: 1:23-md-

| 03089- BMC, 1:24-cv-01104-BMC C (Miles, Wilson) (f (Entered: 02/29/2024)

02/29/2024 162 CASE MANAGEMENT ORDER; SCHEDULING ORDER. First, the Court hereby adopts the
parties’ proposed Case Management Order No. | with minor revisions, which is attached. Second, an
initial status conference is set for 4/2/2024 at 6:00 pm EST. A ZoomGov link will be emailed to
counsel of record. The parties are directed to review Section V for instructions regarding who shall
attend the initial status conference. The parties are reminded that, if they wish to propose agenda
items for the initial conference, they must do so by 3/29/2024. Third, the parties are directed to
review the revisions to the pro hac vice application process in Section IV.

Finally, regarding the appointment of lead plaintiffs’ counsel, the Consensus Plaintiffs are ordered to
meet and confer with the LC Plaintiffs. By 3/8/2024, the LC Plaintiffs are ordered to either (1) notify
the Court of their intent to join the Consensus Plaintiffs' motion 135 , or (2) file their own motion to

appoint lead plaintiffs' counsel. Ordered by Judge Brian M. Cogan on 2/29/2024. (PW) (Entered:

| 02/29/2024)

02/29/2024 Email Notification Test - DO NOT REPLY (AM) (Entered: 02/29/2024)

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03/01/2024

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NOTICE of Appearance by Alison D Hawthorne on behalf of Haley Hadden, Bonnie Van Noy
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-
BMC (Hawthorne, Alison) (Entered: 03/01/2024)

03/05/2024

ORDER granting 154 156 159 161 Motions for Leave to Appear Pro Hac Vice. The attorney shall
register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall
file a notice of appearance to ensure electronic notification of activity in this case. Also, the attorney
shall ensure the $200 admission fee be submitted to the Clerks Office via filing the event Pro Hac
Vice Filing Fee. Ordered by Judge Brian M. Cogan on 3/5/2024. (PW) (Entered: 03/05/2024)

03/05/2024

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NOTICE of Appearance by Wilson D. Miles on behalf of Haley Hadden, Bonnie Van Noy
(notification declined or already on case) Associated Cases: 1:23-md-03089-BMC, 1:24-cv-01104-
BMC (Miles, Wilson) (Entered: 03/05/2024)

03/05/2024

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NOTICE of Appearance by Jenn French on behalf of Daniel Flick, Claudette Sanes, Janis
Zimmerman, Karen Schwartz, Ruta Taito, John Jeffrey Ward, Jonathan Brandman, Regina
Brookshier, Cece Davenport, Dena Fichot, Daniel Flick, Michelle Garza, Toni Heuchan, Erzen Krica,
Michael Lee, Thomas Lewis, Allison Sammarco, Claudette Sanes, Karen Schwartz, Randall Sygal,
Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman, Jonathan Brandman, Cece Davenport,
Michelle Garza, Toni Heuchan, Michael Lee, Dena Fichot, Thomas Lewis (aty to be noticed)
Associated Cases: 1:23-md-03089-BMC et al. (French, Jenn) (Entered: 03/05/2024)

03/06/2024

NOTICE of Appearance by Karl Riley on behalf of Harris Teeter Supermarkets, Inc., Harris Teeter,
LLC, The Kroger Co. (aty to be noticed) (Riley, Karl) (Entered: 03/06/2024)

03/08/2024

First MOTION to Appear Pro Hac Vice for Scphie A. Zavaglia Filing fee $ 200, receipt number
ANYEDC-17647053 by Daniel Heaghney, Daryl Means. (Attachments: # 1 Exhibit, #2 Affidavit, #
3 Proposed Order, # 4 Certificate of Service) (Zavaglia, Sophie) (Entered: 03/08/2024)

03/08/2024

NOTICE by Jonathan Brandman, Regina Brookshier, Cece Davenport, Dena Fichot, Daniel Flick,
Michelle Garza, Toni Heuchan, Erzen Krica, Michael Lee, Thomas Lewis, Allison Sammarco,
Claudette Sanes, Karen Schwartz, Ruta Taito, Hollie Verdi, John Jeffrey Ward, Janis Zimmerman re
Order,, 162 Scheduling Order,,,, LC Plaint,) fs' Response to Case Management Order No. I and
Notice cf Intent to Join Consensus Plaint.fs' Motion for A-pointment (Braden, Scott) (Entered:
03/08/2024)

03/11/2024

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NO

by Plaintiffs. - (London, Michael) (Entered: 03/11/2024)

REPLY in Support re 135 Amended MOTION to Appoint Counsel , 151 Response to Motion,, filed

03/11/2024

ORDER granting 167 Sophie A. Zavaglia Motion's for Leave te to Appear Pro Hac Vice. The attorney
shall register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney
shall file a notice of appearance to ensure electronic notification of activity in this case. Also, the
attorney shall ensure the $200 admission fee be submitted to the Clerks Office via filing the event
Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 3/11/2024. (PW) (Entered:
03/11/2024)

03/11/2024

ORDER deferring ruling on 135 Amended Motion to Appoint Counsel. Because the deadline for the
parties to file a motion to appoint counsel passed on 3/8/2024, the Court will not consider any further
motions. However, the Court defers ruling on 135 pending discussion at the Initial Status Conference.
Ordered by Judge Brian M. Cogan on 3/11/2024. (PW) (Entered: 03/11/2024)

03/14/2024

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MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number NYEDC-17668153 by Cody
Morgan. (Attachments: # 1 Affidavit of Michael A. Sacchet with Exhibit 1) Associated Cases: 1:23-
md-03089- BMC, 1:23-cv-09266-BMC (Sacchet, Michael) (Entered: 03/ 14/2024)

03/22/2024

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NOTICE of A Appearance by Scott Alan George on behalf of Erin Barton, Tatiana Benjamin, Kimberly
Buscaglia, Francis W. Catanese, Christine Contreras, Natasha Freeman, Samuel Gallo, Robin
Glauser, Anthony Rogers (aty to be noticed) (George, Scott) (Entered: 03/22/2024)

Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 128 of 298
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03/22/2024

NOTICE of Appearance by Christopher A. Seeger on behalf of Erin Barton, Tatiana Benjamin,
Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha Freeman, Samuel Gallo,
Robin Glauser, Anthony Rogers (aty to be noticed) (Seeger, Christopher) (Entered: 03/22/2024)

03/22/2024

NOTICE of Appearance by David R. Buchanan on behalf of Erin Barton, Tatiana Benjamin,
Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha Freeman, Samuel Gallo,
Robin Glauser, Anthony Rogers (aty to be noticed) (Buchanan, David) (Entered: 03/22/2024)

03/22/2024

NOTICE of Appearance by Diogenes P. Kekatos on behalf of Erin Barton, Tatiana Benjamin,
Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha Freeman, Samuel Gallo,
Robin Glauser, Anthony Rogers (aty to be noticed) (Kekatos, Diogenes) (Entered: 03/22/2024)

03/25/2024

NOTICE of Appearance by Lindsey Scarcello on behalf of Heather Fong, Michael Walker, Krista
Wright (aty to be noticed) (Scarcello, Lindsey) (Entered: 03/25/2024)

03/26/2024

Consent MOTION to Substitute Attorney by Wal-Mart Inc., Wal-Mart Stores East 1, LP, Walmart
Inc,. (Goldstein, Dale) (Entered: 03/26/2024)

03/26/2024

Consent MOTION to Substitute Attorney by Wal-Mart Inc., Wal-Mart Stores East 1, LP, Walmart
Inc,. (Lesko, Mark) (Entered: 03/26/2024)

03/26/2024

Consent MOTION to Substitute Attorney by Wal-Mart Inc., Wal-Mart Stores East 1, LP, Walmart
Inc,. (Isidro, Nilda) (Entered: 03/26/2024)

03/26/2024

JPMDL Conditional Transfer Order (CTO-7):Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.
Cogan. (AF) (Entered: 03/28/2024)

03/27/2024

ORDER granting 176 177 178 Motions to Substitute Attorney. Attorneys Livia M. Kiser; Michael L.
Resch; Ethan Price Davis and Rose J Jones terminated as attorneys for defendant Walmart Inc.

Attorneys Dale Rose Goldstein; Mark J Lesko; Nilda M Isidro shall file their Notices of Appearance
on behalf defendant Walmart Inc. to ensure they receive electronic notification of activity in this case.
Ordered by Judge Brian M. Cogan on 3/27/2024. (PW) (Entered: 03/27/2024)

03/27/2024

ORDER granting 170 Michael A. Sacchet's Motion for Leave to Appear Pro Hac Vice. The attorney
shall register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney
shall file a notice of appearance to ensure electronic notification of activity in this case. Also, the
attorney shall ensure the $200 admission fee be submitted to the Clerks Office via filing the event
Pro Hac Vice Filing Fee, Ordered by Judge Brian M. Cogan on 3/27/2024. (PW) (Entered:
03/27/2024)

03/28/2024

MOTION to Withdraw Reference , MOTION to Withdraw as Attorney Motion for Leave to Withdraw
Nia Barberousse Binns as Counsel by Joey Cohen, Viva Cohen. (Kanner, Steven) (Entered:
03/28/2024)

03/28/2024

“03/28/2024

NOTICE of Appearance by Dale Goldstein on behalf of Wal-Mart Inc., Wal-Mart Stores East 1, LP,

NOTICE of Appearance by Nilda Maria Isidro on behalf of Wal-Mart Inc., Wal-Mart Stores East 1,
LP, Walmart Inc, (notification declined or already on case) (Isidro, Nilda) (Entered: 03/28/2024)

03/28/2024

NOTICE of Appearance by Mark Lesko on behalf of Wal-Mart Inc., Wal-Mart Stores East 1, LP,
Walmart Inc, (notification declined or already on case) (Lesko, Mark) (Entered: 03/28/2024)

03/28/2024

ORDER granting 180 Motion to Withdraw as Attorney. Attorney Nia-imara Atu Barberousse Binns
terminated. Ordered by Judge Brian M. Cogan on 3/28/2024. (PW) (Entered: 03/28/2024)

03/28/2024

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STATUS REPORT Prcposed Agenda by Plaintiffs (London, Michael) (Entered: 03/28/2024)

Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 129 of 298
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03/28/2024

03/28/2024

MOTION to Appear Pro Hac Vice Vice Filing fee $ 200, receipt number ANYEDC-17715615 by
Heather Fong. (Attachments: # 1 Affidavit, # 2 Exhibit Certificate of Good Standing, # 3 Exhibit
Certificate of Good Standing) Associated Cases: 1:23-md-03089-BMC et al. (TLH) (Entered:
04/04/2024)

MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-17715729 by Michael
Walker. (Attachments: # 1 Affidavit, # 2 Exhibit Certificate of Good Standing, # 3 Exhibit Certificate
of G Good Standing) (TLH) (Entered: 04/04/2024)

03/28/2024

03/29/2024

MOTION to Appear Pro Hac Vice Vice Filing fee $ 200, receipt number ANYEDC-17715642 by
Krista Wright. (Attachments: # 1 Affidavit, # 2 Exhibit Certificate of Good Standing, # 3 Exhibit
Certificate of Good Standing) (TLH) (Entered: 04/04/2024)

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STATUS REPORT Defendants’ Proposed Additional Agenda Items by Albertsons Companies, Inc.,
Amazon.com Services LLC, Amazon.com, Inc, Associated Wholesale Grocers Inc, Bayer Healthcare
L.L.C., CVS Pharmacy Inc., Costco Wholesale Corp., Dierbergs Markets, Inc., Haleon US Holdings
LLC, Harris Teeter Supermarkets, Inc., Harris Teeter, LLC, Johnson & Johnson Consumer Inc.,
Publix Super Markets, Inc., RB Health (US) LLC, Rite Aid Corporation, Target Corporation, The
Kroger Co., The Procter & Gamble Company, Valu Merchandisers Co., Wal-Mart Inc., Wal-Mart
Stores East 1, LP, Walgreen Co (Soukup, Andrew) (Entered: 03/29/2024)

04/01/2024

NOTICE of Appearance by Michael A. Sacchet on behalf of Cody Morgan (notification declined or
already on case) Associated Cases: 1:23-md-03089-BMC, 1:23-cv-09266-BMC (Sacchet, Michael)
(Entered: 04/01/2024)

04/01/2024

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MOTION to Appear Pro Hac Vice Daniel R. Schwartz Filing fee $ 200, receipt number ANYEDC-
17728548 by Erin Barton. (Attachments: # 1 Affidavit Affidavit in Support of Motion to Admit
Counsel Pro Hac Vice, # 2 Exhibit State of Illinois Certificate of Good Standing, # 3 Exhibit State of
New York Certificate of Good Standing, # 4 Proposed Order Proposed Order) (Schwartz, Daniel)
(Entered: 04/01/2024)

04/01/2024

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MOTION to Appear Pro Hac Vice for Sara K. Thompson Filing fee $ 200, receipt number ANYEDC-
17729690 by Albertsons Companies, Inc., CVS Pharmacy Inc., Costco Wholesale Corp., Rite Aid
Corporation, Target Corporation, Wal-Mart Inc., Wal-Mart Stores East 1, LP, Walgreen Co.
(Attachments: # 1 Affidavit, #2 Exhibit A - Certificates of Good Standing, # 3 Proposed Order, # 4
Certificate of Service) (Goldstein, Dale) (Entered: 04/01/2024)

04/02/2024

ORDER granting 187 188 Motions for Leave to Appear Pro Hac Vice. ‘The attorney shall register for
ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall file a
notice of appearance to ensure electronic notification of activity in this case. Also, each attorney shall
ensure the $200 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice
Filing Fee. Ordered by Judge Brian M. Cogan on 4/2/2024. (PW) (Entered: 04/02/2024)

04/02/2024

ORDER. Members of the public may join today's 6:00 pm conference in a listen-only mode by
calling 571-353-2301 and entering Meeting ID: 208955910#. Ordered by Judge Brian M. Cogan on
4/2/2024. (PW) (Entered: 04/02/2024)

04/03/2024

Minute Entry and Order for Initial Status Conference held before Judge Brian M. Cogan on 4/2/2024.
Counsel for Interim Class Counsel and defendants appeared via Zoom. First, plaintiffs' amended
motion to appoint counsel 135 is granted. Second, plaintiffs must file their bellwether complaint by
5/3/2024. Third, the parties shall exchange Rule 26(a) initial disclosures by 5/17/2024. Finally, the
Court will hold a status conference on 5/23/2024 at 10:00 am via Zoom. A ZoomGov link will be
emailed to counsel for defendants, members of the Plaintiffs’ Executive Committee, and members of
the Plaintiffs' Steering Committee. See transcript for details (Court Reporter: Rivka Teich). (PW)
(Entered: 04/03/2024)

04/04/2024

NOTICE of Appearance by Tyler Hudson on behalf of Heather Fong, Michael Walker, Krista Wright
(notification declined or already on case) (Hudson, Tyler) (Entered: 04/04/2024)

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04/04/2024

ORDER granting 190 in case 1:23-md-03089, Tyler Hudson's Motion for Leave to Appear Pro Hac
Vice. The attorney shall register for ECF, registration is available online at www.pacer.gov. Once
registered, the attorney shall file a notice of appearance to ensure electronic notification of activity in
this case. Also, the attorney shall ensure the $200 admission fee be submitted to the Clerks Office via
filing the event Pro Hac Vice Filing Fee. Ordered by Judge Brian M. Cogan on 4/4/2024. Associated
Cases: 1:23-md-03089-BMC et al. (PW) (Entered: 04/04/2024)

04/04/2024

NOTICE of Appearance by Daniel Schwartz on behalf of Erin Barton (notification declined or
already on case) (Schwartz, Daniel) (Entered: 04/04/2024)

04/05/2024

NOTICE of Appearance by Laura Flahive Wu on behalf of The Procter & Gamble Company (aty to
be noticed) Associated Cases: 1:23-md-03089-BMC, 2:23-cv-06870-BMC (Flahive Wu, Laura)
(Entered: 04/05/2024)

04/11/2024

JPMDL Conditional Transfer Order (Schedule A): Pursuant to Rule 7.1 of the Rules of Procedure of
the United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.
Cogan. (AF) (Entered: 04/15/2024)

04/16/2024

04/16/2024)

Letter MOTION to Amend/Correct/Supplement for Entry cf a Proposed Order Governing Complaint
and Dismissal Process by Plaintiffs. (Attachments: # 1 Proposed Order) (London, Michael) (Entered:

04/17/2024

ORDER granting re: 196 Governing Complaint and Dismissal Process. ( Ordered by Judge Brian M.
Cogan on 4/16/2024 ) (RG) (Entered: 04/17/2024)

04/18/2024

JPMDL Conditional Transfer Order (CTO-8):Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the
order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.
Cogan. (AF) (Entered: 04/18/2024)

04/26/2024

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JPMDL Conditional Transfer Order (CTO-9):Pursuant to Rule 7.1 of the Rules of Procedure of the
United States Judicial Panel on Multidistrict Litigation, the action(s) on the attached schedule are
transferred under 28 U.S.C. § 1407 to the Eastern District of New York for the reasons stated in the

order of December 6, 2023, and, with the consent of that court, assigned to the Honorable Brian M.
Cogan. (AF) (Entered: 04/26/2024)

05/02/2024

Email Notification Test - DO NOT REPLY (EF) (Entered: 05/02/2024)

05/03/2024

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AMENDED COMPLAINT against All Defendants, Supplemental COMPLAINT /NT/TIAL
STREAMLINED CONSOLIDATED NEW YORK BELLWETHER CLASS ACTION COMPLAINT,
filed by Plaintiffs. (Attachments: # 1 Exhibit A, # 2 Exhibit A (Contd.), #3 Exhibit A (Contd.), #4
Exhibit A (Contd.), # 5 Exhibit A (Contd.), # 6 Exhibit A (Contd.), #7 Exhibit A (Contd.), # 8 Exhibit
A (Contd.), # 9 Exhibit A (Contd.), # 10 Exhibit A (Contd.), # 11 Exhibit A (Contd.), #12 Exhibit A
(Contd.), # 13 Exhibit A (Contd.), # 14 Exhibit A (Contd.), #15 Exhibit A (Contd.), # 16 Exhibit A
(Contd.), # 17 Exhibit A (Contd.), # 18 Exhibit A (Contd.), #19 Exhibit A (Contd.), # 20 Exhibit A
(Contd.), #21 Exhibit A (Contd.), #22 Exhibit A (Contd.), #23 Exhibit A (Contd.), # 24 Exhibit A
(Contd.), #25 Exhibit A (Contd.)) (London, Michael) (Entered: 05/03/2024)

05/06/2024

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Proposed Summons. Re 200 Amended Complaint,,,, Supplemental Complaint,,, by Plaintiffs
(London, Michael) (Entered: 05/06/2024)

05/06/2024

ORDER granting 191 192 Tyler Hudson's Motions for Leave to Appear Pro Hac Vice as counsel for
plaintiffs Michael Walker and Krista Wright. Ordered by Judge Brian M. Cogan on 5/6/2024. (PW)
(Entered: 05/06/2024)

05/10/2024

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Summons Issued as to Perrigo Company PLC. (RG) (Entered: 05/10/2024)

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05/16/2024

Letter MOTION to Amend/Correct/Supplement 197 Order on Motion to Amend/Correct/Supplement
Order Governing Complaint and Dismissal Process by Albertsons Companies, Inc., Amazon.com
Services LLC, Amazon.com, Inc, Associated Wholesale Grocers Inc, Bayer Healthcare L.L.C., CVS
Pharmacy Inc., Costco Wholesale Corp., Dierbergs Markets, Inc., Haleon US Holdings LLC, Harris
Teeter Supermarkets, Inc., Harris Teeter, LLC, Johnson & Johnson Consumer Inc., Publix Super
Markets, Inc., RB Health (US) LLC, Rite Aid Corporation, Target Corporation, The Kroger Co., The
Procter & Gamble Company, Valu Merchandisers Co., Wal-Mart Stores East 1, LP, Walgreen Co,
Walmart Inc,. (Attachments: # 1 Exhibit A (Proposed Order)) (Soukup, Andrew) (Entered:
05/16/2024)

05/16/2024

ORDER granting 203 Motion to Amend/Correct/Supplement; AMENDED ORDER GOVERNING
INITIAL STREAMLINED CONSOLIDATED CLASS ACTION COMPLAINT AND
DEFENDANTS' MOTION TO DISMISS IN RESPONSE. ( Ordered by Judge Brian M. Cogan on
5/16/2024 ) (RG) (Entered: 05/16/2024)

05/16/2024

SCHEDULING ORDER: In lieu of the upcoming status conference, the Court directs the parties to
submit a joint discovery status report not to exceed 3 pages. The 5/23/2024 status conference is

adjourned. Upon review of the parties' status report, the Court will set a date for a further status
conference. Ordered by Judge Brian M. Cogan on 5/16/2024. (PW) (Entered: 05/16/2024)

05/17/2024

CORRECTED CASE MANAGEMENT ORDER NO. 1. The Court amends its prior order regarding
motions for admission pro hac vice. Ordered by Judge Brian M. Cogan on 5/17/2024. (PW) (Entered:
05/17/2024)

05/17/2024

SUMMONS Returned Executed by Plaintiffs. Perrigo Company PLC served on 3/15/2024, answer
due 6/5/2024. (London, Michael) (Entered: 05/17/2024)

05/17/2024

NOTICE of Appearance by Sara K. Thompson on behalf of Albertsons Companies, Inc., CVS
Pharmacy Inc., Costco Wholesale Corp., Rite Aid Corporation, Target Corporation, Wal-Mart Inc.,
Wal-Mart Stores East 1, LP, Walgreen Co (aty to be noticed) (Thompson, Sara) (Entered: 05/17/2024)

05/21/2024

NOTICE of Appearance by Melissa S. Weiner on behalf of Donald Krist, Paul Mateer, William
Mitchell, Rose Riccio, Mohamad Tlaib, Tina Tuominen (aty to be noticed) (Weiner, Melissa)
(Entered: 05/21/2024)

05/23/2024

STATUS REPORT Joint Discovery Status Report by Plaintiffs (London, Michael) (Entered:
05/23/2024)

06/03/2024

SCHEDULING ORDER re: 209 . The Court will hold a status conference to discuss the issues raised
in the parties’ joint letter on June 11, 2024 at 11:00 am. A ZoomGov link will be emailed to counsel
for defendants, members of the Plaintiffs' Executive Committee, and members of the Plaintiffs’
Steering Committee. By June 17, 2024, the parties are directed to submit the agreed-upon protective
and ESI orders, or if the parties cannot reach agreement, a joint submission that clearly indicates
areas of agreement and disagreement as to both orders and provides the parties' respective arguments
for the same. Ordered by Judge Brian M. Cogan on 6/3/2024. (PW) (Entered: 06/03/2024)

06/03/2024

NOTICE of Voluntary Dismissal by Plaintiffs cf Defendant Haleon US Capital LLC Only without
Prejudice in the Initial Streamlined Consolidated New York Bellwether Class Action Complaint
(London, Michael) (Entered: 06/03/2024)

06/03/2024

NOTICE of Voluntary Dismissal by Plaintiffs ¢f Defendants Reckitt Benckiser Pharmaceuticals Inc.,
and Reckitt Benckiser LLC Only without Prejudice in the Initial Streamlined Consolidated New York
Bellwether Class Action Complaint (London, Michael) (Entered: 06/03/2024)

06/03/2024

MOTION to Dismiss for Failure to State a Claim by Bayer Healthcare L.L.C., CVS Pharmacy Inc.,
Haleon US Holdings LLC, Johnson & Johnson Consumer Inc., RB Health (US) LLC, Target

Corporation, The Procter & Gamble Company, Wal-Mart Inc., Walgreen Co. (Soukup, Andrew)
(Entered: 06/03/2024)

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06/03/2024

06/06/2024

MEMORANDUM in Support re 212 MOTION to Dismiss for Failure to State a Claim filed by Bayer
Healthcare L.L.C., CVS Pharmacy Inc., Haleon US Holdings LLC, Johnson & Johnson Consumer
Inc., RB Health (US) LLC, Target Corporation, The Procter & Gamble Company, Wal-Mart Inc.,
Walgreen Co. - (Soukup, Andrew) (Entered: 06/ 03/2024)

NOTICE of Appearance by Sara Castronuova on behalf of Plaintiffs (aty to be noticed) (Castronuova,
Sara) (Entered: 06/06/2024)

06/06/2024

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 04/02/24, before Judge
COGAN. Court Reporter/Transcriber RIVKA TEICH, Telephone number (718)613-2268, Email
address: RIVKATEICH@GMAIL.COM. Transcript may be viewed at the court public terminal or
purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
Restriction. After that date it may be obtained through PACER.File redaction request using event
"Redaction Request - Transcript" located under "Other Filings - Other Documents". Redaction
Request due 6/27/2024. Redacted Transcript Deadline set for 7/8/2024. Release of Transcript
Restriction set for 9/4/2024. (Teich, Rivka) (Entered: 06/06/2024)

06/06/2024

NOTICE of Appearance by Debra Nicole Guntner on behalf of Cody Morgan (aty to be noticed)
Associated Cases: |:23-md-03089-BMC, 1:23-cv-09266-BMC (Guntner, Debra) (Entered:
06/06/2024)

06/07/2024

NOTICE of Appearance by Jeffrey Scott Grand on behalf of Erin Barton, Tatiana Benjamin,
Kimberly Buscaglia, Francis W. Catanese, Christine Contreras, Natasha Freeman, Samuel Gallo,
Robin Glauser, Anthony Rogers (aty to be noticed) (Grand, Jeffrey) (Entered: 06/07/2024)

06/07/2024

NOTICE of Appearance by Jennifer M. Hoekstra on behalf of Kaycie Coppock (notification declined
or already on case) (Hoekstra, Jennifer) (Entered: 06/07/2024)

06/10/2024

06/1 0/2024

ORDER. Members of the public may join the conference scheduled for June 11, 2024 at 11:00 am in
a listen-only mode by calling 571-353-2301 and entering Meeting ID: 208955910#. Ordered by
Judge Brian M. Cogan on 6/10/2024. (PW) (Entered: 06/ 10/2024)

NOTICE of Appearance by Jeffrey A. N. Kopezynski on on behalf of Johnson & Johnson Consumer Inc.
(aty to be noticed) (Kopezynski, Jeffrey) (Entered: 06/ 10/2024)

06/11/2024

Minute Entry and Order for Status Conference held before Judge Brian M. {. Cogan on 6/11/2024.
Counsel for the Interim Class and defendants appeared via Zoom. First, the parties may begin to hold
Rule 26(f) conferences. Second, the parties are permitted to serve discovery requests on one another,
but they are not obligated to produce discovery until the Court rules on defendants’ initial motion to
dismiss. Third, the Court will post as "Court's Exhibit 1" the list of plaintiffs’ attorneys identified by
Interim Class Counsel (attached to this Order). Finally, the Court sets a further conference on
8/20/2024 at 11:00 am. A ZoomGov link will be emailed to counsel of record. See transcript for
details (Court Reporter: Victoria Torres-Butler). (PW) (Entered: 06/11/2024)

06/11/2024

TRANSCRIPT REQUEST by Johnson & Johnson Consumer Companies, Inc, Johnson & Johnson
Consumer Inc. for proceedings held on 06/11/2024 before Judge Cogan. (Hamilton, Emilie) (Entered:
06/11/2024)

06/11/2024

06/12/2024

MOTION to Appear Pro Hac Vice NOTICE OF MOTION TO ADMIT ERIC LOMBARDO PRO HAC
VICE Filing fee $ 200, receipt number ANYEDC-17967197 by Martha A. Page, Rebecca Lynn
Reyes. (Attachments: # 1 Affidavit of Eric Lombardo, # 2 Exhibit A - Certificate of Good Standing, #
3 Proposed Order) (Lombardo, Eric) (Entered: 06/ 11/2024)

ORDER granting 222 Motion for Leave to Appear Pro Hac Vice. ‘The attorney shall register ‘for ECF,
registration is available online at www.pacer.gov. Once registered, the attorney shall file a notice of
appearance to ensure electronic notification of activity in this case. Also, the attorney shall ensure the
$200 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
Ordered by Judge Brian M. Cogan on 6/12/2024. (PW) (Entered: 06/12/2024)

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06/12/2024

06/14/2024

NOTICE of Appearance by Eric Lombardo on behalf of Martha A. Page, Rebecca Lynn Reyes
(notification declined or or already on on case) (Lombardo, , Eric) (Entered: | 06/12/2024)

Letter MOTION for Extension of Time to File Prcposed ESI Protocol and Protective Order until
August I, 2024 (Joint I Motion) by Plaintiffs. (London, Michael) (Entered: 06/14/2024)

06/17/2024

ORDER granting 224 . The parties will file their agreed-to or competing ESI and Protective Orders
by August 1, 2024. Ordered by Judge Brian M. Cogan on 6/17/2024. (PW) (Entered: 06/17/2024)

07/15/2024

07/16/2024

MEMORANDUM in Opposition re 212 MOTION to Dismiss for Failure to State a Claim filed by
All Plaintiffs. (Selbin, Jonathan) (Entered: 07/15/2024)

NOTICE by Robert Haid, Rethea Morris, William Bryan, Jack Hinsberger, Nancy Welharticky, Izabel
Pena-Venegas, Beverly Ward, Min Ji Jung, Kenneth Levi Pack, Mohanad Abdelkarim, Millard
Adkins, Frank Anderson, Rosalyn Anderson, Steve Audelo, John Jeffrey Bader, Donna Bailey, Layne
Barter, Erin Barton, Tatiana Benjamin, Archanatep Boonparn, John Boswell, Jonathan Brandman,
Regina Brookshier, William Bryan, Kimberly Buscaglia, Timothy Butler, James Carrigan, Francis W.
Catanese, Tamula Chamberlain, Richard Chavez, Steven Checchia, Bethany Childers, Emily Cohen,
Joey Cohen, Viva Cohen, Anthony Coleman, Scott Collier, Christine Contreras, Kaycie Coppock,
John Coyle, Robyn Cronin, Jaedon Daniels, Cece Davenport, Hannah De Priest, Anthony DeRosa,
Lauren Debeliso, Tatyana Dekhtyar, Kristin Depaola, Kathleen Emmons, Greg Enriquez, Eli Erlick,
Robert Fichera, Dena Fichot, Brian Lloyd Fireng, Daniel Flick, Eduardo Flores, Michael Folks,
Heather Fong, Natasha Freeman, Samuel Gallo, Michelle Garza, Robin Glauser, Darrell Wayne
Grimsley, Jr., Andrew Gutierrez, Haley Hadden, Robert Haid, Tina Haluszka, Emily Hansen,
Christine Harrison, Daniel Heaghney, Jose Cortez Hernandez, Natasha Hernandez, Toni Heuchan,
Jack Hinsberger, Archi Hipkins, Jamieka Holmes, Robert Housman, James Hsieh, Carrie Diane Huff,
Andrew Isom, Nathan Jackson, Rosalie Jackson, Kimberly James, Abby Jergins, Bill Jergins, Frizell
Johnson, Janet Jones, Mari Jones, Pamela Joyner, Natalie Juneau, Michele Kasparie, Lorette Kenney,
Cathy Kleiman, Erzen Krica, Donald Krist, Dimitri Lamdon, Kristin Lawrence, Michael Lee, Gwen
Lewi, Thomas Lewis, Robert Lundin, Sharon Manier, Paul Mateer, Christopher McPhee, Kamonica
McWhite, Daryl Means, Sommer Milous, William Mitchell, Cody Morgan, Rethea Morris, Lateef
Murdock, Jordan Nelson, Newton's Pharmacy, Inc., Rhonda Nitto, Shelby Noviskis, Bonnie Van Noy,
Harold Nyanjom, Chioma Ozuzu, Martha A. Page, Rachel Parker, Regina Peralta, Marcel Perez Pirio,
Plaintiffs, Elie El Rai, Krystal Rampalli, Stacy Rankin, Jacob Reinkraut, Rebecca Lynn Reyes, Rose
Riccio, Dominic Rio, Olivia Rodesta, Anthony Rogers, Sharon Rourk, Recoa Russell, Allison
Sammarco, Claudette Sanes, Marisol Scharon, Karen Schwartz, Richard Scoffier, Joanne Silva,
Joseph Samuel Sorge, Joshua Edward Sorge, Annette Striegel, Randall Sygal, Stan Szrajer, Ruta
Taito, Joy Taylor, Gwen Thomas, Shawn L. Thomas, Jessica Thompson, Amanda Thorns, Achorea
Tisdale, Mohamad Tlaib, Tiffany Travis, Tina Tuominen, Hector Valdes, Jay Valinsky, Ruben Varela,
Sierra Vent, Hollie Verdi, Justin Vorise, Michael Walker, John Jeffrey Ward, Christine Ann Waters,
Amy Weinberg, Nancy Welharticky, Mychael Willon, Andrea Wilson, Charles Geoffrey Woods,
Krista Wright, Sandra Yousefzadeh, Janis Zimmerman, Archi Hipkins, Abby Jergins, Richard Chavez
re (117 in 1:23-md-03089-BMC) Notice of Appearance Withdrawal cf Appearance Associated Cases:
1:23-md-03089-BMC et al. (Min, YuQing) (Entered: 07/16/2024)

07/19/2024

SUMMONS Returned Executed by Plaintiffs. Haleon PLC served on 7/3/2024, answer due
7/24/2024. (London, Michael) (Entered: 07/19/2024)

07/19/2024

08/01/2024

(London, Michael) (Entered: 08/01/2024)

SUMMONS Returned Executed by Plaintiffs. Perrigo Company PLC served on 6/20/2024, answer
due 7/1 1/2024. (London, Michael) (Entered: 07/19/2024)

‘Letter MOTION for Extension of Time to File proposed EST Order (Joint Motion) by Plaintiffs.

08/01/2024

Letter enclosing proposed Protective Order by Plaintiffs (Attachments: # 1 Proposed Order)
(London, Michael) (Entered: 08/ 01/2024)

08/02/2024

CASE MANAGEMENT ORDER NO. 2: Qualified Protective Order and Agreed Confidentiality
Order. ( Ordered by Judge Brian M. Cogan on 8/1/2024 ) (RG) (Entered: 08/02/2024)

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08/02/2024

ORDER granting 229 . The parties shall file their agreed-to or competing ESI Order by August 15,
2024, Ordered by Judge Brian M. Cogan on 8/2/2024. (PW) (Entered: 08/02/2024)

08/05/2024

REPLY in Support re 212 MOTION to Dismiss for Failure to State a Claim filed by Bayer Healthcare
L.L.C., CVS Pharmacy Inc., Haleon US Holdings LLC, Johnson & Johnson Consumer Inc., RB
Health (US) LLC, Target Corporation, The Procter & Gamble Company, Wal-Mart Inc., Walgreen
Co. (Soukup, Andrew) (Entered: 08/05/2024)

08/06/2024

SUMMONS Returned Executed by Sharon Rourk. (Furia, Philip) (Entered: 08/06/2024)

08/06/2024

MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-18150136 by Sandra
Yousefzadeh. (Attachments: # 1 Affidavit in Support of Motion to Admit Counsel Pro Hac Vice, # 2
Appendix Certificate of Good Standing (NY), #3 Appendix Certificate of Good Standing (TN), # 4
Appendix Certificate of Good Standing (WI)) (Kaufman, Andrew) (Entered: 08/06/2024)

08/07/2024

ORDER granting 234 Andrew Kaufman's Motion for Leave to Appear Pro Hac Vice. The attorney
shall register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney
shall file a notice of appearance to ensure electronic notification of activity in this case. Also, the
attorney shall ensure the $200 admission fee be submitted to the Clerks Office via filing the event
Pro Hac Vice Filing Fee, Ordered by Judge Brian M. Cogan on 8/7/2024. (PW) (Entered:
08/07/2024)

08/07/2024

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Letter to Judge Cogan to remove Kirkland & Ellis LLP and its attorneys Jay P. Lefkowitz, Jacob Rae,
and Robyn E. Bladow as counsel for Defendant Haleon pic. by Haleon US Holdings LLC (Bladow,
Robyn) (Entered: 08/07/2024)

08/07/2024

08/14/2024

08/15/2024

ORDER re: 235 . Attorneys Jacob Rae; - Robyn E. Bladow and Jay P. Lefkowitz terminated as counsel
for Haleon PLC. Ordered by Judge Brian M M. Cogan on 8/7/2024. (PW) (Entered: 08/07/2024)

ORDER. Members of t the public may join n the conference scheduled for August 20, 2024 at 11:00 am
in a listen-only mode by calling 571-353-2301 and entering Meeting ID: 208955910#. Ordered by
Judge Brian M. Cogan on 8/1 14/2024. (PW) (Entered: 08/ 14/2024)

Letter enclosing proposed ESI Protocol Order by Plaintiffs (Attachments: # 1 Proposed Order)
(London, Michael) (Entered: 08/15/2024)

08/15/2024

STATUS REPORT /Joint Proposed Agenda by Plaintiffs (London, Michael) (Entered: 08/15/2024)

08/19/2024

CASE MANAGEMENT ORDER NO. 3

ORDER REGARDING PROTOCOL FOR PRODUCTION OF HARD COPY DOCUMENTS AND
ELECTRONICALLY STORED INFORMATION. ( Ordered by Judge Brian M. Cogan on 8/19/2024
) (RG) (Entered: 08/ 38/19/2024)

08/20/2024

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Minute Entry and Order for Status Conference held before Judge Brian M. Cogan on 8/20/2024.
Counsel for the Interim Class and defendants appeared via Zoom. First, the Court scheduled Oral
Argument on Defendants' Motion to Dismiss Plaintiffs' Bellwether Complaint 212 , to be followed by
a status conference, for 9/23/2024 at 12pm. A ZoomGov link will be emailed to counsel of record.
Second, the Court will post as "Court's Exhibit 2" the list of plaintiffs' attorneys identified by Interim
Class Counsel (attached to this Order). See transcript for details. (Court Reporter: Andronikh Barna.)
(PW) (Entered: 08/20/2024)

08/20/2024

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TRANSCRIPT REQUEST by Johnson & Johnson Consumer Inc. for proceedings held on August 20,
2024 before Judge Brian M. Cogan. (Hamilton, Emilie) (Entered: 08/20/2024)

08/20/2024

ORDER re: 240 . Transcript requests should not be filed on the docket. They will not be acted on.
Ordered by Judge Brian M. Cogan on 8/20/2024. (PW) (Entered: 08/20/2024)

08/26/2024

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NOTICE of Appearance by Andrew Kaufman on behalf of Sandra Yousefzadeh (notification declined
or already on case) (Kaufman, Andrew) (Entered: 08/26/2024)

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MOTION to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC-18264653 by Sandra
Yousefzadeh. (Attachments: # 1 Affidavit in Support of Motion to Admit Counsel Pro Hac Vice, # 2
Appendix Certificate of Good Standing (CA)) (Lewis, Faith) (Entered: 09/10/2024)

09/11/2024

ORDER granting 242 Motion for Leave to Appear Pro Hac Vice. The attorney shall register for ECF,
registration is available online at www.pacer.gov. Once registered, the attorney shall file a notice of
appearance to ensure electronic notification of activity in this case. Also, the attorney shall ensure the
$200 admission fee be submitted to the Clerks Office via filing the event Pro Hac Vice Filing Fee.
Ordered by Judge Brian M. Cogan on 9/11/2024. (PW) (Entered: 09/11/2024)

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NOTICE of Appearance b by Faith E. A. Lewis on behalf of Sandra Yousefzadeh (notification declined
or already on n case) (Lewis, Faith) (Entered: 09/12/2024)

ORDER. Members of the public may join the hearing scheduled for September 23, 2024 at 12 noon
in a listen-only mode by calling 571-353-2301 and entering Meeting ID: 208955910#. Ordered by
Judge. Brian M. Cogan on 9/17/2024. (PW) (Entered: 09/17/2024)

MOTION tc to Appear Pro Hac Vice Filing fee $ 200, receipt number ANYEDC- 18310682 by
Albertsons Companies, Inc., CVS Pharmacy Inc., Costco Wholesale Corp., Rite Aid Corporation,
Target Corporation, Wal-Mart Stores East 1, LP, Walgreen Co, Walmart Inc,. (Attachments: # 1
Exhibit A, # 2 Declaration of Austin A. Evans in Support of Motion for Admission Pro Hac Vice, # 3
Certificate of Service, # 4 Proposed Order for Admission Pro Hac Vice of Austin A. Evans) (Evans,
Austin) (Entered: 09/23/2024)

ORDER granting 244 Austin A. Evans' Motion for Leave to Appear. Pro Hac Vice. The attorney shall |
register for ECF, registration is available online at www.pacer.gov. Once registered, the attorney shall
file a notice of appearance to ensure electronic notification of activity in this case. Also, the attorney
shall ensure the $200 admission fee be submitted to the Clerks Office via filing the event Pro Hac

09/26/2024

Vice Filing Fee. Ordered by Judge Brian M. Cogan on 9/24/2024. (PW) (Entered: 09/24/2024)

Minute Entry and Order for Oral Argument on Defendants’ Motion to Dismiss based on Preemption
212 and Status Conference held before Judge Brian M. Cogan on 9/24/2024. Counsel for the Interim
Class and defendants appeared via Zoom. The Court heard argument on the motion and reserved
decision. The Court deferred setting a further schedule until it issues decision on the pending motion.
See transcript for details (Court Reporter: Victoria Torres-Butler). (PW) (Entered: 09/26/2024)

09/27/2024

NOTICE by Rite Aid Corporation cf Notice cf Permanent Ir junction and Discharge (Attachments: #
1 Exhibit A - Confirmation Order and Plan, # 2 Exhibit B - 2024-09-03 Notice Doc# 4800)
(Goldstein, Dale) (Entered: 09/27/2024)

09/30/2024

NOTICE of Appearance by Austin Evans on behalf of Albertsons Companies, Inc., CVS Pharmacy
Inc., Costco Wholesale Corp., Rite Aid Corporation, Target Corporation, Wal-Mart Stores East 1, LP,
Walgreen Co, Walmart Inc, (notification declined or already on case) (Evans, Austin) (Entered:
09/30/2024)

10/02/2024

Letter to Judge Cogan by Sandra Yousefzadeh (Selbin, J onathan) (Entered: 10/ 02/2024)

10/03/2024

ORDER STRIKING 247 . This i is an ill-advised submission. The Court did not request this
commentary, and since it was present at the argument, it heard what everyone said. In addition,
counsel is advised that in the future, any letter filed in this action must include in the ECF entry line a
brief description of the subject matter of the letter, e.g., "Letter regarding Plaintiffs’ RICO claims" not
simply "Letter", so that the docket remains intelligible. Do not refile. Ordered by Judge Brian M.
Cogan on 10/3/2024. (PW) (Entered: 10/03/2024)

10/07/2024

ORDER te: 245. Rite Aid Corporation has filed a "notice" re requesting that this Court

"administratively terminate" these cases as to it and certain unnamed affiliates and subsidiaries based
on proceedings in the New Jersey Bankruptcy Court. The Court is unsure what Rite Aid means by
"administratively terminate", and the Court does not rule on claims based on "notices." Rite Aid has
been sued and there are pending claims against it before this Court. If its position is that those claims
have been discharged by the New Jersey Bankruptcy Court, as it appears to be, it needs to file a

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stipulation or motion to dismiss those claims without prejudice to their treatment under the
Bankruptcy Court's Orders. Dismissal, not "administrative termination,” is the appropriate disposition
of claims that have been discharged in bankruptcy. Ordered by Judge Brian M. Cogan on 10/7/2024.
(PW) (Entered: 10/07/2024)

10/08/2024

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Corporate Disclosure Statement by Bayer Healthcare L.L. Ci identifying Other Affiliate Bayer Essure
Inc., Other Affiliate Bayer Consumer Care Holdings LLC, Other Affiliate Bayer West Coast
Corporation, Other Affiliate NippoNex Inc., Other Affiliate Bayer Medical Care Inc., Other Affiliate
Bayer Healthcare US Funding LLC for Bayer Healthcare L.L.C.. (Campbell, Christopher) (Entered:
10/08/2024)

10/29/2024

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MEMORANDUM DECISION AND ORDER dated 10/29/24 re: that defendants’ motion to dismiss
the streamlined complaint is GRANTED. ( Ordered by Judge Brian M. Cogan on 10/29/2024 ) (RG)
(Entered: 10/29/2024)

10/29/2024

SCHEDULING ORDER: An in-person Status Conference will be held on 11/21/2024 at 1:00 PM in
Courtroom 10A South. Ordered by Judge Brian M. Cogan on 10/29/2024. (PW) (Entered:
10/29/2024)

11/06/2024

ORDER. The Court gives the parties the option to appear either in-person in Courtroom 10A South,
by audio, or by video at the Status Conference scheduled for 11/21/2024 at 1:00 pm. A ZoomGov
link will be emailed to all counsel of record. By 11/20/2024, the parties will email a list of speakers
to Tasha_townsend@nyed.uscourts.gov. Ordered by Judge Brian M. Cogan on 11/6/2024. (PW)
(Entered: 11/06/2024) _

11/06/2024

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Letter MOTION for Leave to File Document / Letter Motion t to Judge Cogan Re Regarding Entry cf
Judgment by Haleon US Holdings LLC. (Attachments: # 1 Proposed Judgment) (Lefkowitz, Jay)
(Entered: 11/06/2024)

11/08/2024

11/12/2024

11/12/2024

Letter (Joini) Regarding Recent FDA Announcement by Plaintiffs (London, Michael) (Entered:
11/08/2024)

ORDER granting 250 . The Court has considered plaintiffs’ subsequent request that the Court hold
entry of final judgment "in abeyance” pending further interparty and intraparty discussions and has
considered defendants’ opposition to delaying entry of judgment. The Court is going to enter
judgment now. The Court does not see how, even if the FDA amends the monograph at some
unknown point in the future (which it well may not do), it would have any impact on this Court's
decision. At all times relevant to the consolidated cases, the FDA's monograph for nasal
decongestants remained the same. If the FDA amends the monograph in the future, and defendants'
labels at that point have to be changed but are not, perhaps individuals who then buy defendants’
products containing phenylephrine will experience harm that creates the basis of a new claim against
defendants. But, as the Court explained in its opinion, defendants' labels conform to the current
federal regulations, and those regulations preempt plaintiffs’ state law claims. The fact that the FDA
might change the monograph in the future would not change this analysis. The Court therefore will
enter the parties proposed judgment. The status conference scheduled for 11/21/2024 is canceled. So
Ordered by Judge | Brian M. Cogan on 11/12/2024. (TLH) (Entered: 11/ 12/2024)

JU DGMENT, All claims in the complaints transferred into the above-captioned master docket are
dismissed with prejudice. The Clerk is instructed to enter JUDGMENT dismissing all claims in any
complaint in this multidistrict litigation. This is a final, appealable judgment that resolves all of the
claims in all of the cases in this multidistrict litigation. The in-person Status Conference currently
scheduled for 1:00 p.m. ET on November 21, 2024, is hereby adjourned. So Ordered by Judge Brian
M. Cogan on 11/12/2024. Associated Cases: 1:23-md-03089-BMC et al. (TLH) (Entered:
11/12/2024)

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| MOTION to Alter Judgment pursuant to Federal Rule cf Civil Procedure 60(t), for Partial Relief |
from the Order Entering Judgment entered by this Court on November 12, 2024, and for Remand cf
its individual lawsuit to the Federal District Court for the Southern District cf Ohio by Newton's
Pharmacy, Inc.. (Attachments: # 1 Memorandum in Support, # 2 Exhibit A - Complaint, # 3 Exhibit B
- Conditional Transfer Order) (Beridon, Alyson) (Entered: 11/15/2024)

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MOTION to Withdraw as Attorney by Johnson & Johnson Consumer Inc.. (Hamilton, Emilie)
(Entered: 11/18/2024)

11/18/2024 ORDER granting 254 Motion to Withdraw as Attorney. Attorney Emilie W. Hamilton terminated.
Ordered by Judge Brian M. Cogan on 11/18/2024. (PW) (Entered: 11/18/2024)

MEMORANDUM in Opposition re 253 MOTION to Alter Judgment pursuant to Federal Rule cf
Civil Procedure 60(t), for Partial Relief from the Order Entering Judgment entered by this Court on
November 12, 2024, and for Remand cfits individual lawsuit to the Federal District Court for t filed
by The Procter & Gamble Company, Haleon US Holdings LLC, Johnson & Johnson Consumer Inc.,
RB Health (US) LLC. (Soukup, Andrew) (Entered: 11/27/2024)

REPLY in Support re 253 MOTION to Alter Judgment pursuant to Federal Rule cf Civil Procedure
60(E), for Partial Relief from the Order Entering Judgment entered by this Court on November 12,
2024, and for Remand cf its individual lawsuit to the Federal District Court for t filed by Newton's
Pharmacy, Inc.. (Attachments: # 1 Exhibit I - April 2, 2024, Hearing Transcripi) (Beridon, Alyson)
(Entered: 12/04/2024)

NOTICE OF APPEAL as to 252 Judgment,, 249 Order on Motion to Dismiss for Failure to State a
Claim by Plaintiffs. Filing fee $ 605, receipt number ANYEDC-18563090. Appeal Record due by
12/23/2024. (Selbin, Jonathan) (Entered: 12/09/2024)

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12/09/2024 Electronic Index to Record on Appeal sent to US Court of Appeals. 257 Notice of Appeal Documents
are available via Pacer. For docket entries without a hyperlink or for documents under seal, contact

the court and we'll arrange for the document(s) to be made available to you. (VJ) (Entered:
12/09/2024)

NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on 8/20/2024, for hearing
type Status Conference, before Judge Brian M. Cogan. Court Reporter/Transcriber Andronikh Barna,
Telephone number 718-613-2178. Email address: ambarna.crr@gmail.com. Transcript may be
viewed at the court public terminal or purchased through the Court Reporter/Transcriber before the
deadline for Release of Transcript Restriction. After that date it may be obtained through PACER. File
redaction request using event "Redaction Request - Transcript" located under "Other Filings - Other
Documents”. Redaction Request due 1/2/2025. Redacted Transcript Deadline set for 1/13/2025.
Release of Transcript Restriction set for 3/11/2025. (Barna, Andronikh) (Entered: 12/11/2024)

MEMORANDUM DECISION AND ORDER dated 12/13/24 denying 253 Motion to Alter Judgment
re: Plaintiff Newton's Pharmacy, Inc., ("NPI") has moved for reconsideration of the Court's dismissal
of its Lanham Act claim. Reasoning that the Court's order dismissing the initial streamlined
complaint does not apply to federal false-advertising claims, NPI seeks a remand of its claim to the
Southern District of Ohio. The Motion is Denied. ( Ordered by Judge Brian M. Cogan on 12/13/2024
) (RG) (Entered: 12/16/2024)

NOTICE OF APPEAL as to 259 Order on Motion to Alter Judgment,,, Memorandum & Opinion,,
252 Judgment,, by Newton's Pharmacy, Inc.. Filing fee $ 605, receipt number ANYEDC-18654579.
(Beridon, Alyson) (Entered: 01/10/2025)

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01/13/2025 Electronic Index to Record on Appeal sent to US Court of Appeals. 260 Notice of Appeal Documents
are available via Pacer. For docket entries without a hyperlink or for documents under seal, contact

the court and we'll arrange for the document(s) to be made available to you. (VJ) (Entered:
01/13/2025)

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NEW YORK

In re: Oral Phenylephrine Marketing and

Sales Practices Litigation Case No. 1:23-md-03089-BMC

This document relates to: Hon. Brian M. Cogan

All actions.

fPFROPROSED] ORDER GOVERNING PLAINTIFFS’ INITIAL STREAMLINED
CONSOLIDATED COMPLAINT AND DEFENDANTS’ MOTION TO DISMISS IN
RESPONSE

1. By May 3, 2024, Interim Class Counsel will file an Initial Streamlined Consolidated
Complaint under New York law alleging representative examples of the conduct and claims they
allege to be at issue in this Multidistrict Litigation relating, among other things, to the marketing
and labeling of oral phenylephrine products.

2. By June 3, 2024, all named and served Defendants will file a single joint motion to
dismiss raising arguments solely on preemption and/or primary jurisdiction. Plaintiffs’ response
will be due July 15, 2024, and Defendants’ reply will be due August 5, 2024. For purposes of this
motion only, the parties are excused from complying with the Court's requirement to request a pre-
motion conference.

3. Regardless of when Plaintiffs file their Full Master Consolidated Complaint,
Defendants shall not be obligated to answer or otherwise respond to the Full Master Consolidated
Complaint until 45 days after the Court rules on Defendants’ motion to dismiss the Initial
Streamlined Consolidated Complaint. For the avoidance of doubt, Defendants shall not be
obligated to raise any arguments for dismissal of either the Initial Streamlined Complaint or a Full

Master Consolidated Complaint with respect to any issues other than preemption and/or primary
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jurisdiction until their deadline to answer or otherwise respond to the Full Master Consolidated
Complaint, a deadline that shall be set by the Court.

4, The Parties agree that to the extent the Court grants or denies Defendants’ motion
to dismiss based on preemption and/or primary jurisdiction, the order will apply to all cases in this
Multidistrict Litigation or otherwise subject to transfer into this Multidistrict Litigation.

Parties’ Reservation of Rights

5. Plaintiffs. In filing the Initial Streamlined Complaint, Plaintiffs will not be
prejudiced by failure to (1) allege every single instance of the conduct they allege to be wrongful
relating to the marketing and labeling of oral phenylephrine cold medicines, (2) identify all
products at issue, (3) file on behalf of every named plaintiff in this litigation, or (4) refer to the
laws of any state other than New York. Plaintiffs hereby commit to filing sufficient representative
examples of the conduct and claims that they allege to be wrongful that a motion to dismiss based
on preemption and/or primary jurisdiction will, if such arguments prevail, resolve this litigation in
its entirety, regardless of additional specific examples of wrongful conduct, additional products
named, additional Plaintiff-related allegations, or additional state-law claims that are pled or could
be pled in a future Full Master Consolidated Complaint.

6. Defendants. In moving to dismiss the Initial Streamlined Complaint based only
on preemption and/or primary jurisdiction, Defendants will not be prejudiced by failure to raise
additional arguments for dismissal under Federal Rule of Procedure 12 unrelated to preemption
and/or primary jurisdiction if, in the event the Court denies the motion to dismiss based on
preemption and/or primary jurisdiction, a subsequent Full Master Consolidated Complaint is filed.
Plaintiffs agree that, in the event the Court denies the motion to dismiss based on preemption

and/or primary jurisdiction, Defendants shall be permitted to move to dismiss any subsequent Full
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Master Consolidated Complaint based on any ground under Federal Rule of Civil Procedure 12(b)
other than those issues that shall have already been briefed and addressed by the Court in ruling
on the motion to dismiss the Initial Streamlined Complaint. Nothing about this stipulation, or the
filing of any motion to dismiss the Initial Streamlined Complaint, waives any Defendants’ personal

jurisdiction defense.

SO ORDERED.

Brooklyn, NY
April 16, 2024 Brian W. Cogan

Dated:

THE HONORABLE BRIAN M. COGAN
UNITED STATES DISTRICT JUDGE
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

IN RE: ORAL PHENYLEPHRINE

MARKETING AND SALES PRACTICES MDL No. 3089
LITIGATION Case No. 1:23-md-3089
INTITIAL STREAMLINED
CONSOLIDATED NEW YORK
THIS DOCUMENT APPLIES TO: BELLWETHER
CLASS ACTION COMPLAINT

All Cases

Plaintiffs! Sandra Yousefzadeh, Anntwanette Jones, Daniel Calzado, Eli Erlick, John
Sloughter, Keith Mortuiccio, Pedro Urena, Kimberly McNulty, and Tatyana Dekhtyar
(collectively, “Plaintiffs’”), individually and on behalf of all other similarly situated consumers (the
“Class,” as more fully defined herein), upon personal knowledge as to themselves and their own

acts, and as to all other matters upon information and belief, allege as follows:

L INTRODUCTION

1. Defendants know—and have long known—that the over-the-counter, orally
ingested phenylephrine-containing products (“PE Products”) that they manufactured, marketed,

represented, warranted, and sold to consumers for the purpose of relieving nasal and sinus

! Pursuant to the Court’s April 16, 2024 Order, this complaint is a bellwether complaint, filed under New
York law, “alleging representative examples of the conduct and claims [Plaintiffs] allege to be at issue in
this Multidistrict Litigation relating, among other things, to the marketing and labeling of oral
phenylephrine products.” ECF 197 at ¥ 1. It has further been ordered that “to the extent the Court grants or
denies Defendants’ motion to dismiss based on preemption and/or primary jurisdiction, the order will apply
to all cases in this Multidistrict Litigation or otherwise subject to transfer into this Multidistrict Litigation.”
Id. at 44.

? To be clear, all references to PE Products refer to products consumed orally and not those administered
non-orally, ¢.g., topical, nasal, or intravenous products. While no PE Products are effective at relieving
congestion, a collection of labels of PE Products at issue in this bellwether complaint is contained in Exhibit
A, attached hereto. An entirely comprehensive list of all PE products sold during the class period is in the
possession, custody, and control of Defendants.
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congestion, do not relieve nasal or sinus congestion. Those products include: Sudafed PE (Johnson
& Johnson Consumer Inc. (“Johnson & Johnson’’)); Mucinex Sinus Max (RB Health (USA) LLC
(“RB”)); Advil Sinus Congestion & Pain (Haleon U.S. Holdings L.L.C. (“Haleon”)); NyQuil
Severe Cold & Flu (Procter & Gamble Company (“P&G”); up & up Daytime Severe Cold & Flu
Softgel (Target Corporation (“Target”)); and hundreds of others.

2. Notwithstanding that knowledge, Defendants made a business decision to lie to
consumers and sell PE Products anyway. They affirmatively misrepresented and misbranded their
PE Products to consumers as effective decongestants on every box sold and in every marketing
representation they made, and never disclosed to consumers on any packaging, label, or in any
marketing representation, what they knew to be true: that their PE Products do not decongest.

3. The purportedly decongesting ingredient in the PE Products is no more effective at
decongesting than a placebo.

4, By at least 2016, that fact — that the PE Products are no more effective at
decongesting than a placebo — was unequivocally confirmed by science.

5. Even after an FDA advisory committee composed of leading experts in
pharmacological science in September 2023 voted unanimously, 16-0, that these products have no
efficacy, Defendants are still manufacturing, marketing, representing, warranting, and selling the
ineffective products to consumers based upon the same false and misleading information, and
without ever disclosing the truth.

6. As the FDA explained in a briefing document authored by FDA scientists for the
2023 meeting of the FDA’s Nonprescription Drug Advisory Committee, at least three studies were
published, completed, or terminated between 2015 and 2017 that represented “by far the largest

and most carefully constructed trials that have ever been performed to evaluate the decongestant
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effect of oral PE...and they confirm that orally administered PE is not ¢) fective at any dose that
can be developed and still provide a reasonable margin of safety.”?

7. Defendants knew about these studies because this issue was widely followed in the
industry. Nevertheless, Defendants sold over a billion dollars’ worth of PE products every year,
all while knowing that those products are no better than placebo at decongesting and even though
Defendants marketed and sold (and continue to market and seli) them to do exactly that.

8. Indeed, since the science solidified by 2016, Defendants actively conspired to
mislead American consumers, and conspired together—including, but not limited to, through the
industry’s national trade association, Consumer Health Products Association (“CHPA”)—to
mislead consumers regarding phenylephrine’s efficacy and the value of their PE Products.

9. Simply put, for purposes of inducing consumers to purchase their PE Products,
Defendants: (a) affirmatively misrepresented the most important and material facts directly to
consumers regarding the efficacy of their PE Products; and/or (b) misbranded their PE Products
directly to consumers; and/or (c) fraudulently concealed from and/or failed to disclose to
consumers material facts regarding the efficacy of their PE Products.

10. Defendants reaped a huge windfall as a result of their deception: current estimates
are approximately $1.8 billion of sales of PE Products in 2022 alone, and at least $12 billion in the
aggregate sales throughout the Class Period (defined below).

11. Defendants’ conduct violates New York consumer protection, fraud, and warranty

law, and federal law.

3 NCAC Briefing Document: Oral Phenylephrine in the CCABA Monograph, Nonprescription Drug
Advisory Committee Meeting, September 11 and 12, 2023 at 32 (emphasis added). As explained below,
the "NDAC Briefing Document” is a document prepared by FDA scientists for the Non-Prescription Drug
Advisory Committee and contains a comprehensive analysis of studies and available data regarding the
efficacy of oral phenylephrine.
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12. Federal law requires Defendants to ensure that their drug labels remain accurate,
and when new scientific information renders their labels inaccurate, federal law requires
Defendants to act. Failure to do so renders their products misbranded.

13. New York law requires the same. Companies are required to describe accurately
what they sell to consumers. Defendants, by manufacturing, marketing, representing, warranting,
and selling products as effective decongestants when they know that those products do not actually
decongest, violated—and continue to violate—New York law.

14. ‘In addition, Defendants that are CHPA members associated together and acted in
concert through an enterprise, including through CHPA, to conspire over the course of many years
to deceive and fraudulently suppress the truth regarding the efficacy of their products. That conduct
constituted a scheme to defraud and conspiracy prohibited by the Racketeer Influenced and
Corrupt Organizations Act (“RICO”).

15. Plaintiffs are all New York consumers who purchased PE Products during the Class
Period and who would not have bought them or would have paid less for them had Defendants
disclosed the truth. They filed this litigation on behalf of themselves and all New York consumers
who purchased the PE Products to hold Defendants to account for their fraud, to recover as
damages the money they spent as a result of that fraud, and to obtain an injunction ordering
Defendants to stop falsely marketing the PE Products.

II. JURISDICTION & VENUE

16. This Court has original jurisdiction over the subject matter of this action pursuant
to 28 U.S.C. § 1331, because Plaintiffs’ claims arise under RICO, 18 U.S.C. § 1962 (c) and (d).
The Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28 U.S.C.

§ 1367(a) because the state law claims arise out of the same case or controversy as the RICO
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claims. This Court also has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2),
because: (a) there are at least 100 class members; (b) the matter in controversy exceeds $5 million,
exclusive of interest and costs; and (c) at least one plaintiff is a citizen of a different state than at
least one defendant.

17. This Court has personal jurisdiction over Defendants pursuant to 18 U.S.C.
§ 1965(d) because Defendants maintain minimum contacts with New York State, and intentionally
avail themselves of the laws of the United States and New York State by conducting a substantial
amount of business in New York State. Defendants continuously and systematically place goods
into the stream of commerce for distribution in New York State, sell the PE Products to people in
New York State, and engage in wholesale of the PE Products to retailers they know will resell in
New York State. Because of Defendants’ conduct as alleged in this lawsuit, PE Products were sold
to and purchased by individuals in New York State. Alternatively, and for the same reasons, this
Court has specific personal jurisdiction over any non-domiciliary Defendants because jurisdiction
over such Defendants satisfies the requirements of both New York's long-arm statute (CPLR
§302(a)(1)) and of constitutional due process.

18. | Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2). A substantial
part of the events or omissions giving rise to the claims herein occurred in this judicial district.
Venue is also proper because the Judicial Panel on Multidistrict Litigation centralized proceedings
in the Eastern District of New York.

Tl. PARTIES
19. Plaintiff Sandra Yousefzadeh (““Yousefzadeh’’) is a citizen of the State of New York

who, within the last three years purchased in New York the PE Product Sudafed PE® Sinus
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Pressure + Pain Maximum Strength, manufactured and/or labeled by Defendant Johnson &
Johnson.

20. Plaintiff Anntwanette Jones (“Jones”) is a citizen of the State of New York who,
within the last three years, purchased the following PE Products in New York: “Vicks® Dayquil™
SEVERE Honey Cold & Flu,” manufactured and/or labeled by Defendant P&G; “Equate
Children's Multi-Symptom Cold Liquid, Very Berry,” manufactured and/or labeled by Defendant
Walmart; and “Delsym® Children’s Cough+ Cold Nighttime Berry Flavored Liquid,”
manufactured and/or labeled by Defendant RB Health (US) LLC.

21. Plaintiff Daniel Calzado (“Calzado”) is a citizen of the State of New York who in
the last three years purchased in New York the PE Product “Vicks NyQuil™ SEVERE Maximum
Strength Cold & Flu Berry Flavored Liquid Medicine,” manufactured and/or labeled by Defendant
P&G. Within the applicable class period, Calzado also purchased the following PE Products
manufactured and/or labeled by CVS Health: “CVS Health Non-Drowsy Nasal Decongestant PE
Maximum Strength” and “CVS Health Non-Drowsy Sinus PE Pressure, Pain + Cold.” Within the
class period, Calzado also purchased the PE Product “Advil Multi-Symptom Cold & Flu”
manufactured and/or labeled by Defendant Haleon.

22. Plaintiff Eli Erlick (“Erlick’”) is a citizen of the State of New York who, in the last
three years, purchased the following PE Products in New York: Acetaminophen Day/Night Time
Vapor Ice Cold and Flu Relief Caplets - 24ct - up & up™ manufactured and/or labeled by Target;
TYLENOL® Cold + Flu Severe For Day And Night, manufactured and/or labeled by Defendant
Johnson & Johnson; and “Vicks NyQuil Severe Cold & Flu, 24 Liquicaps, Maximum Strength,”

manufactured and/or labeled by Defendant P&G.
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23. Plaintiff John Sloughter (“Sloughter’’) is a citizen of the State of New York who, in
the last three years, purchased in New York the PE Product “Vicks DayQuil SEVERE Honey
Flavored Maximum Strength Cold & Flu Liquid,” manufactured and/or labeled by Defendant
P&G.

24, Plaintiff Keith Mortuiccio (“Mortuiccio”) is a citizen of the State of New York who,
in the last three years, purchased in New York the following PE Products: “Mucinex Maximum
Strength Sinus-Max® Day & Night” manufactured and/or labeled by Defendant RB and its parent
Reckitt Benckiser; “TYLENOL® Cold + Flu Severe” manufactured and/or labeled by Defendant
Johnson & Johnson; “Mucinex Maximum Strength Fast-Max Severe Congestion & Cough,”
manufactured and/or labeled by Defendant RB and its parent Reckitt Benckiser; “Vicks DayQuil™
and NyQuil™ VapoCOOL SEVERE Maximum Strength Cold & Flu + Congestion Relief Liquid
Co-Pack,” manufactured and/or labeled by Defendant P&G; Mucinex Maximum Strength Fast-
Max® Day Cold & Flu and Night Cold & Flu,” manufactured and/or labeled by Defendant RB and
its parent Reckitt Benckiser, Vicks DayQuil™ and NyQuil™ SEVERE Maximum Strength
Cough, Cold & Flu Relief LiquiCaps™ Co-Pack manufactured and/or labeled by Defendant P&G.

25. Plaintiff Pedro Urena (“Urena”) is a citizen of the State and City of New York who,
in the last three years, purchased the following PE Products in New York: “Alka-Seltzer Plus
Severe Cold & Flu” manufactured and/or labeled by Defendant Bayer HealthCare LLC;
“Thearaflu Daytime Severe Cold Relief Berry Burst Flavor Hot Liquid Powder” manufactured.
and/or labeled by Defendant Glaxo SmithKline; and “Vicks DayQuil™ SEVERE Maximum
Strength Cold & Flu Daytime Relief LiquiCaps” manufactured and/or labeled by Defendant P&G.

26. Plaintiff Kimberly McNulty (“McNulty”) is a citizen of the State of New York who,

in the last three years, purchased the PE Products “up & up Daytime Severe Cold & Flu Softgel”
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manufactured and/or labeled by Defendant Target; “Walgreens Multi-Symptom Children’s Cold
Liquid” manufactured and/or labeled by Defendant Walgreens; “Walgreens Daytime Severe Cold
& Flu Maximum Strength,” manufactured and/or labeled by Defendant Walgreens; CVS Health
Children’s Day + Nighttime Cold, Cough + Congestion Relief Liquid manufactured and/or labeled
by Defendant CVS; and “CVS Health Non-Drowsy Daytime Multi-Symptom Cold/Flu Relief
Softgels,” manufactured and/or labeled by Defendant CVS.

27. Plaintiff Tatyana Dekhtyar (“Dekhtyar’’) is a citizen of the State of New York who,
within the Class Period, purchased the following PE Product in New York: Advil Sinus Congestion
& Pain, manufactured and/or labeled by Haleon.

28. Defendant Bayer HealthCare LLC (“Bayer’’) is a Delaware limited liability
company with its principal place of business in Morristown, New Jersey. Bayer manufactures and
sells PE Products under the Alka-Seltzer Plus brand name.

29. Defendant CVS Pharmacy Inc. (“CVS”) is a Rhode Island corporation with its
principal place of business in Woonsocket, Rhode Island. CVS sells and on information and belief
manufactures PE products under the CVS brand name.

30. Defendant Haleon ple is an English corporation with its principal place of business
in Weybridge, England.

31. Defendant Haleon U.S. Capital LLC (f/k/a GlaxoSmithKline U.S. Capital LLC) is
a Delaware limited liability company with its principal place of business in Warren, New Jersey.
Haleon US Capital LLC is a subsidiary of Haleon plc.

32. Defendant Haleon US Holdings LLC (“Haleon”) (f/k/a GSK Consumer Healthcare

Holdings (US) LLC) is a Texas limited liability company with its principal place of business in
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Warren, New Jersey. Haleon manufactures and sells PE Products under the Advil, Robitussin, and
Theraflu brand names.

33. Defendant Johnson & Johnson Consumer Inc. (“Johnson & Johnson”) is a New
Jersey corporation with its principal place of business in Skillman, New Jersey. Johnson &
Johnson manufactures and sells PE Products under the Sudafed and TYLENOL® brand names.

34. Defendant Kenvue Inc. (““Kenvue”) is a Delaware corporation with its principal
place of business in Skillman, New Jersey. Kenvue, Inc. is the corporate parent of Johnson &
Johnson.

35. Defendant Perrigo Company ple (“Perrigo”) is an Insh corporation with its
principal place of business in Allegan, Michigan. Perrigo manufactures and sells PE Products
under the “Good Sense” brand name.

36. Defendant RB Health (US) LLC (“RB”) is a Delaware limited lability company
with its principal place of business in Parsippany, New Jersey. RB manufactures and sells PE
Products under the Delsym and Mucinex brand names.

37. Defendant Reckitt Benckiser LLC is a Delaware limited liability company with its
principal place of business in Parsippany, New Jersey. Reckitt Benckiser LLC is the corporate
parent of RB.

38. Defendant Reckitt Benckiser Pharmaceuticals, Inc. (n/k/a Invidior, Inc.) is a wholly
owned subsidiary of Reckitt Benckiser Group plc, with its principal place of business in North
Chesterfield, Virginia.

39. Defendant Target Corporation (“Target”) is a Minnesota corporation with its
principal place of business in Minneapolis, Minnesota. Target sells and on information and belief

manufactures PE Products under the up & up brand name.
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40. Defendant The Procter & Gamble Manufacturing Company (“P&G”) is an Ohio
corporation with its principal place of business in Cincinnati, Ohio. P&G manufactures and sells
PE products under the Vicks brand name.

41. Defendant Walgreen Company (“Walgreens”) is an Illinois corporation with its
principal place of business in Deerfield, Illinois. Walgreens sells and on information and belief
manufactures PE products under the Walgreens brand.

42. Defendant Walmart, Inc. (“Walmart”) is a Delaware corporation with its principal
place of business in Bentonville, Arkansas. Walmart sells and on information and belief
manufactures PE products under the Equate brand name.

43. Defendants Bayer, Haleon, P&G, RB, Johnson & Johnson, Walmart, Target,
Walgreens, and CVS shall also be referred to collectively as the “State Law Defendants.”

IV. FACTUAL ALLEGATIONS

A. History Of Oral Phenylephrine’s Use And Approval

44. In 1972, the FDA implemented an administrative process to review over-the-
counter drugs through rulemaking divided by therapeutic class. The process, often referred to as
“DESI” for Drug Efficacy Study Implementation, involved convening Advisory Panels respecting
each therapeutic class. The panel reports would be published in the Federal Register as Advanced
Notice(s) of Proposed Rulemaking, and, after FDA review, a Tentative Final Monograph for each
therapeutic class would be issued. After the Tentative Final Monograph was issued, the FDA
would move forward with a Final Monograph for each class. Drugs included in the Final
Monograph are referred to as “Generally Recognized As Safe and Effective,” or “GRASE.”

45. One of the advisory panels that met was the “Advisory Review Panel on Over-the-

Counter Cold, Cough, Allergy, Bronchodilator, and Antiasthmatic Products” (“the Cold-Cough

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Panel’). Among many other drugs, the Cold-Cough Panel reviewed Phenylephrine Hydrochloride
(“PE” or “phenylephrine”) in 1976. The Cold-Cough Panel reviewed a number of studies
submitted in the 1970s, which were based on study dates ranging from the 1940s to the 1970s (“the
early studies”). As FDA reviewers would later explain, all but one of the early studies submitted
to the 1976 reviewers regarding PE’s efficacy “evaluated extremely small sample sizes, none
adequately controlled for bias, none adequately controlled for multiplicity, and none performed
appropriate sample size calculations.’

46. The Cold-Cough Panel recognized that the data presented to it were “not strongly
indicative of efficacy,”° but, in the absence of a safety concern at the suggested dose, nevertheless
recommended that oral PE be recognized as “safe and effective” at a dose of 10mg.

47. Following the Cold-Cough Panel’s recommendation, PE was included in the
Temporary Final Monograph regarding nasal decongestants in 1985 and incorporated into the
Final Monograph in 1994. No significant studies of PE’s efficacy were published during this
interval.

48. That is unsurprising, because few manufacturers used PE in oral nasal
decongestants at this time. Instead, the market was dominated by drugs formulated around two

other active ingredients: phenylpropanolamine and pseudoephedrine.

4 NDAC Briefing Document: Efficacy of Oral Phenylephrine as a Nasal Decongestant, Non-Prescription
Drug Advisory Committee Meeting, September 11 and 12, 2023; Division of Nonprescription Drugs 1,
Office of Nonprescription Drugs, Division of Inflammation and Immune Pharmacology, Office of Clinical
Pharmacology, Division of Epidemiology II, Office of Surveillance and Epidemiology, (‘NDAC Briefing
Document”) at 22.

5 Id. at 22.

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B. Phenylpropanolamine Removed From The Market And Pseudoephedrine Placed
Behind The Counter

49. One of the three compounds in oral nasal decongestants that was evaluated in 1976
and sold over-the-counter was phenylpropanolamine (sometimes called PPA). In 2000, however,
a large study from the Yale School of Medicine published in the New England Journal cf Medicine
determined that phenylpropanolamine consumption led to an increased risk in hemorrhagic stroke
among certain populations of women.° For this reason, over-the-counter decongestants offered for
sale in the United States have not contained phenylpropanolamine since at least 2005.

50. The third compound in oral nasal decongestants evaluated by the Cough-Cold panel
was pseudoephedrine, which is highly effective. It became well known, however, that
pseudoephedrine could be used in the manufacture of methamphetamine. In March 2006, President
Bush signed the Combat Methamphetamine Epidemic Act of 2005 (Public Law 109-177). Among
other things, the Combat Methamphetamine Act required that retailers move pseudoephedrine
products behind the pharmacy counter, and consumers who wish to purchase pseudoephedrine-
containing drugs are now often required to present identification and are limited in the amount that
they can purchase.

51. Asaconsequence, by 2006, the PE Products became the only over-the-counter drug
“intended” to treat nasal congestion that was available for purchase without the hassle of going
“behind the counter.” The manufacturers responded to this “behind-the-counter” requirement for
pseudoephedrine by reformulating their oral nasal decongestant products, producing hundreds of

different PE Products for sale.

° Kernan, ef al., Phenylpropanolamine and the Risk of Hemorrhagic Stroke 343 N. Engl. J. Med. 25 (Dec.
2000), available at https://www.nejm.org/dov/full/10.1056/NEJM2000122 13432501

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52. | Whereas before 2006 the vast majority of over-the-counter drugs being sold
purportedly to treat nasal decongestion were formulated around pseudoephedrine, by 2007, more
PE Products were being sold than pseudoephedrine products, a trend that would continue. As of
2022, consumers purchased approximately five times the number of units of PE Products than
pseudoephedrine products (which are behind the counter).

53. Of course, phenylephrine’s efficacy had never been scientifically established, and
existing data were “not strongly indicative of efficacy.”’

C. In 2007 The FDA Advisory Committee Explains Further Studies Needed Regarding
Phenylephrine’s Efficacy

54. In February 2007, Leslie Hendeles, PharmD, Randy Hatton, PharmD, and Almut
Winterstein, PhD submitted a Citizen’s Petition to the FDA, recommending that the FDA amend
the dosages of phenylephrine to allow an increased maximum dose to 25mg (as opposed to the
approved 10mg) for adults and children over 12 years of age, and noting that a meta-analysis that
they conducted of the early studies resulted in a different conclusion than the original Cough-Cold
Panel: namely, that the orally administered phenylephrine was likely no better than placebo at the
monographed doses.

55. | The FDA’s Nonprescription Drug Advisory Committee (“NDAC”)—the modern
equivalent of the first Cough-Cold Panel—met in December 2007 to consider the issues raised in
the February 2007 Citizen’s Petition, as well as materials submitted to the committee by
Merck/Schering-Plough, a PE Product manufacturer, and the Consumer Health Products
Association (“CHPA”), an industry organization.

56. | Merck/Schering-Plough presented evidence to the NDAC that the amount of

phenylephrine actually left to do ““decongesting” after ingestion (the so-called “bioavailability” of

7NDAC Briefing Document at 22.

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the drug) was less than 1%. This differed considerably from the outdated science that had
estimated 38% bioavailability. Merck/Schering Plough appeared to have concerns about efficacy
of approved dosages, but hoped to manufacture and market drugs with higher dosing.®

57. | The CHPA, for its part, presented its own meta-analysis (using studies that the FDA
would later characterize as deeply flawed) to compete with the meta-analysis presented by the
Citizen’s Petition.

58. At the meeting, Dr. Stan Lin, a member of the FDA’s Division of Biometrics in the
FDA Office for Translational Sciences, reviewed the materials submitted and concluded that
neither the Citizens’ Petition’s nor the CHPA’s meta-analysis was conclusive, and noted, in
summary, that the studies that had been done on phenylephrine were inadequate. As the FDA
would later explain: “Dr. Lin noted that the small size, the lack of multicenter presentation, the
lack of reproducibility, and the problematic nature of the methodology used by the original studies
evaluated by the Panel suggests that the data underlying the original recommendation made by the
Cough-Cold Panel are not conclusive.”®

59.  FDA’s presentation to the NDAC further explained that previous studies had

2 66.

determined efficacy by analyzing test subjects’ “nasal airway resistance” (NAR) following the use
of the drug, but that measurement of a patient’s “subjective symptom score” would be better. !° As
the FDA’s scientists would later explain, the analysis of NAR to determine whether a decongestant

drug is effective is “no longer accepted by the Agency because it is highly variable and unreliable

as a measure of congestion,”!! and has not been an accepted metric since the 1990s.”

8 Td. at 25

° Id. at 30.

10 Td. at 28-29
" Td. at 32.

” Td. at 56.

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60. The NDAC did not recommend any major change in 2007. Instead, nine of the
twelve panel members sitting in 2007 found that, “due to the limitations of the data” available, it
was recommended that “additional clinical data would be necessary, including new studies that
should evaluate the decongestant effect of higher doses of oral PE.”!’ The NDAC further
recommended that future studies evaluate the effectiveness of oral PE using a different
methodology; i.e., the measurement of a patient’s “subjective symptom scores” rather than the
measurement of NAR. Consistent with this recommendation, the FDA subsequently abandoned
NAR as the primary endpoint to evaluate congestion in pivotal trials in favor of total nasal
symptoms scores. '*

D. By 2016, Phenylephrine Was Proven Ineffective By New Scientific Evidence

61. Following the Panel’s 2007 meeting, further studies were conducted, not one of
which supports the notion that PE works to decongest. They, in fact, proved the opposite: PE is
not effective as a nasal decongestant when taken orally, even at higher doses.

62. Indeed, a number of studies were published following the 2007 meeting (a number
published in peer-reviewed journals), all of which showed PE to be ineffective as a decongestant.
The studies include at least the following:

e Horak, et al., A placebo-controlled study cf the nasal decongestant ¢j fect cf phenylephrine
and pseudoephedrine in the Vienna Challenge Changer, 102 Ann. Allerg. Asthma &
Immunol. 2 (February 2009), finding that “Phenylephrine was not significantly different
from placebo” while finding the control group, which was given pseudoephedrine, did
experience improved symptoms when compared to placebo.

e Day, ef al., L,ficacy cf loratadine montelukast on nasal decongestion in patients with
season allergic rhinitis in an environmental exposure unit, Ann Allergy Asthma

Immunol. 2009; 102:328, finding that “[t]here were no statistically significant
differences between phenylephrine and placebo for any measures.”

3 NDAC Briefing Document at 30.

4 EDA, 2018, Guidance for Industry; Allergic Rhinitis: Developing Drug Products for Treatment. NAR
has not been the primary endpoint variable for approval of prescription cough-cold drugs since the 1990s.
See NDAC Briefing Document at 56.

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e Melzer, ef al., Oral Phenylephrine Hcl for Nasal Congestion in Seasonal Allergic Rhinitis:
A Randomized, Cpen-label, Placebo-controlled Study, J. Allergy Clin Immunol. Pract
(Sept-Oct 2015), after studying 507 test subjects, determining that phenylephrine “at doses
of up to 40 mg every 4 hours, is not significantly better than placebo at relieving nasal
congestion in adults with [seasonal allergic rhinitis].”

e Melzer, et al, Phenylephrine hydrochloride mod. fied-release tablets for nasal congestion:
a randomized, placebo-controlled trial in allergic rhinitis patients, 116 J. Ann Allergy
Asthma Immunol. 66-71 (Jan 2016), finding that 30mg “modified release” tablets were
“not more efficacious than placebo in relieving nasal congestion caused by allergic
rhinitis.”

e Johnson and Johnson Phase 2 Study, 2017-2018. In a randomized, double-blind, placebo-
controlled, parallel group study of individuals with colds, “[n]o benefit” was observed
from using phenylephrine when compared to placebo. !°

63. As the FDA’s scientists would explain in a 2023 briefing document created for the
NDAC, referring to the 2015 Meltzer study, 2016 Meltzer study, and the 2017-18 Johnson &
Johnson study:

Data from three large, adequately controlled clinical trials conducted subsequent to
the 2007 NDAC meeting are now available....They demonstrate a lack of
efficacy with oral [Immediate Release] doses [of phenylephrine] up to 40 mg
as well as [Extended Release] doses of 30 mg. Merck (formerly Schering Plough)
conducted two trials in subjects with allergic rhinitis to evaluate (and presumably
potentially market) both higher than monographed doses of [Immediate Release]
product and a 30 mg product, and Johnson and Johnson conducted a trial in subjects
with colds to evaluate (and presumably potentially market) a 30 mg [Extended
Release] oral PE product. All used clinically acceptable designs and nasal
congestion symptom scores as primary endpoints. These three trials represent by
far the largest and most carefully constructed trials that have ever been
performed to evaluate the decongestant effect of oral PE.... Importantly, none
of the three demonstrated any significant difference between monographed doses
of oral PE, doses of up to 40 mg of oral [Immediate Release Phenylephrine] (four-
fold higher than the monographed dose)...or two different 30 mg [Extended

'S The Johnson & Johnson study was not published in a peer-reviewed journal. The study, which was
conducted with subjects who had colds, had planned to enroll 450 subjects, but ultimately enrolled 193
subjects, at which point an interim analysis was conducted and the study was terminated. The study protocol
makes clear that there was to be a “futility analysis”; 1.e., a determination regarding whether enrolling
additional subjects was actually necessary, or would be “futile” in changing the result. It is apparent that,
following the futility analysis, enrolling additional subjects would not change the clear result: oral
phenylephrine is no better than placebo. Johnson & Johnson’s study protocol for this study is available
here: https://cdn.clinicaltrials.gov/large-docs/26/NCT03339726/Prot_000.pdf

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Release] formulations (two trials), compared with placebo. We believe that these

new clinical pharmacology and clinical data are consistent, substantial, and

believable, and they confirm that orally administered PE is not effective at any

dose that can be developed and still provide a reasonable margin of safety.'®

64. —_ In other words, phenylephrine’s efficacy had finally been studied in a systematic
and in-depth manner, and by 2016, with the Melzer studies, the Day study, and the Horak study,
the result was clear: PE is no better than a placebo at decongesting. Even a study by one of PE
Products’ biggest sellers—Defendant Johnson & Johnson—confirmed as much in 2017-2018.

65. Defendants, as manufacturers and/or sellers of PE Products, were well aware of all
of these published studies (and likely their own internal data). By 2016, there was no doubt that
oral phenylephrine is no better than placebo at relieving congestion.

66. Moreover, following the FDA’s decision to abandon NAR as the primary endpoint
to evaluate congestion in pivotal trials in favor of nasal congestion symptom scores, Defendants
knew that that the NAR data from the seven original studies that had supported the inclusion of

PE in the monograph as “suggestive of efficacy” were no longer supportive of such a claim.

E. Despite Knowing Phenylephrine Is No Better Than Placebo, Defendants Continue To
Market and Sell Billions Of Dollars’ Worth Of PE Products

67. Despite a scientific consensus by 2016 that phenylephrine is, in the words of one
industry-sponsored study, “not more efficacious than placebo,”!’ and their knowledge by 2018
that NAR data could no longer be used to support claims of PE’s effectiveness, Defendants took
no steps to disclose to consumers that fact, and elected to continue to manufacture, market,
represent, warrant, and sell PE Products with deceptive and false labeling, and represent to

consumers that PE Products are effective in relieving congestion.

1° NDAC Briefing Document at 32 (emphasis added).
17 Melzer, ef al., Phenylephrine hydrochloride modified-release tablets for nasal congestion: a randomized,
placebo-controlled trial in allergic rhinitis patients, 116 J. Ann Allergy Asthma Immunol. 66-71 (Jan 2016)

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68. For example, Defendant Johnson & Johnson continues to sell the product Sudafed
PE. It affirmatively indicates that phenylephrine relieves “sinus pressure” and “sinus congestion,”
and goes so far as to call its product “Maximum Strength,” despite the product having been proven
by multiple studies—including at least two peer reviewed studies and one study by Johnson &
Johnson itse.f—to have no efficacy greater than placebo (much less pseudoephedrine); i.e., no

strength at all.'®

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69. Sudafed PE remains on the market. And it is not alone. As set forth in Exhibit A,

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which contains copies of labels for Defendants’ PE Products (including but not limited to the PE

Products purchased by Plaintiffs), each of the Defendants named herein has marketed and sold and

18 To be clear, the Final Monograph for OTC Nasal Decongestant Drug products does not include language
that PE Products are “extra strength.” As shown in Exhibit A, many defendants employ similar “maximum
strength” language.

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continues to market and sell PE Products as “decongestants” where the sole purportedly
“decongesting” ingredient in the product is phenylephrine—the compound Defendants have each
known since at least 2016 is no more effective at decongesting than placebo.

70. Many of these same Defendants’ PE Products a/so include claims that those PE

Products are of “maximum strength,” despite the products having no efficacy at all.!”

71. This is big business. The FDA recently estimated that in 2022 alone, approximately
242 million units of PE Products were sold in the United States, representing approximately $1.8
billion in retail sales in 2022. The FDA further estimates that between 2018-2022, Defendants sold
at least 1.05 billion bottles or packages of PE Products.”° As the FDA has also explained, those

sales compensate for the move of pseudoephedrine “behind the counter”:

NDAC Briefing Document: Oral Phenylephrine in the CCABA Monograph

Figure 26. National Annual Estimates of Bottles/Packages Sold for Over-the-Counter (OTC)
Cough/Cold/Aliergy Oral Products Containing Phenylephrine or Pseudoephedrine From U.S.
Retail Stores! to Consumers, 2018 to 2022

300M

250M 4 242m
218M 223M

200M + 184m 184M

150M 4

100M 4

Bottles/Packages in millions

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2
|

OM

1 Phenylephrine-containing oral products Mi Pseudoephedrine-containing oral products |

Source: OTC Intemational Market Tracking and Private Label Ingredient Level Report, 2018-2022. Data extracted February 2023.
* Reta sales data do not capture sales activity from Costco, convenience stores, specialty stores, intemet sales, phone sales or 1
kiosks

? As detailed below, Plaintiffs Yousoufsadeh, Jones, Calzado, Erlick, Sloughter, Mortuiccio, Urena, and
MeNulty, each purchased products by Johnson & Johnson, P&G, RB, Walgreens, and CVS that claim to
be “maximum strength” or “max strength.” Indeed, the claim that phenylephrine-based oral decongestants
could be “maximum strength” is particularly absurd and misleading in a world where other non-prescription
pseudoephedrine oral decongestants exist—i.e., products that unequivocally work better.

2° NDAC Briefing Document at 70.

21 Td.

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72. According to a recent analysis of data provided by the Pharmacy Benefit Manager,
IQVIA, between 2012 and 2021 there were 732 distinct PE Products for sale, with 21 stand-alone
products and 711 so-called “combination products,” i.e., products in which phenylephrine is
included as the ingredient in the product that purportedly relieves congestion, but other substances,
such as acetaminophen, are combined into the same product in order to address other symptoms.

73. All the while, Defendants did nothing to disclose to consumers that PE Products do
not decongest, and continued to make false representations to consumers that phenylephrine could
be used to relieve nasal and sinus congestion, despite knowing full well that it does no such thing.

F. In September 2023, NDAC States What Defendants Already Knew for Years:
Phenylephrine Has No Efficacy

74. On July 12, 2023, the FDA announced that it was convening a meeting of the
NDAC to discuss new data regarding the effectiveness of oral phenylephrine on September 11-12,
2023.

75. When FDA scientists analyzed all studies and available data, they drafted a
comprehensive briefing document summarizing the science (the “NDAC Briefing Document”),
which reached an “initial conclusion that orally administered PE is not effective as a nasal
decongestant at the monographed dosage (10mg of PE hydrochloride every four hours), as well as
at doses up to 40mg (dosed every four hours).””” Representative companies of the CHPA were
present to argue the industry’s point of view, which was ultimately rejected.”

76. In reaching that conclusion, “the Agency undertook a careful and thorough review

of all the available data” and concluded that “[t]he new data appear compelling that the

2 NDAC Briefing Document at 9

3 The member companies of the CHPA that were present included at least certain defendants and others:
Bayer, Perrigo, Kenvue, Sanofi, Lil’ Drug Store, Foundation Consumer Healthcare, P&G, Reckitt and
Haleon.

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monographed dosage of oral PE results in no meaningful systemic exposure or evidence of
efficacy.”

77. On September 11 and 12, 2023, the NDAC—a committee comprised of luminaries
in the field of pharmacology—met to evaluate the new scientific evidence, as well as the old
studies on efficacy.

78. Armed with the scientific consensus that had solidified by at least 2016 that
phenylephrine is no more effective than a placebo, the committee unanimously agreed (16-0) that
the scientific data do not support oral phenylephrine as an effective oral decongestant.

G. At Least One Defendant Issues A Weak Disclosure

79, Since the scientific consensus in 2016 that PE is no better than placebo, and even
since the 16-0 vote by the NDAC recognizing that consensus, Defendants continued to produce,
market, and sell PE Products without disclosing to consumers that the scientific consensus is (and
has long been) that PE Products are ineffective.

80. Johnson & Johnson, however, through its actions, has admitted that it—and the
other Defendants—could easily have made such a disclosure, and simply chose not to do so.

81. Following the NDAC’s advisory committee’s findings, on its website for
“Sudafed”—the brand through which Johnson & Johnson sells decongestants—Johnson &

Johnson voluntarily added the following message next to the pictures of all of its phenylephrine-

containing products:

*In September, 2023, The Nonprescription Drugs Advisory Committee of the Food
and Drug Administration reviewed efficacy data available for orally administered
phenylephrine (PE) as a nasal decongestant. Read the FDA’s staternent about

this review here & 25

°4 Td. at 14
5 See, e.g., https://www.sudafed.com/products/sudafed-pe-sinus-congestion?bvstate=pg:2/ct:r

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82. The word “here” contains a hyperlink to a statement put out by the FDA following
the September 11-12 NDAC meeting. In that statement, the FDA notes that the NDAC “discussed
new data on the effectiveness of oral phenylephrine and concluded that the current scientific data
do not support that the recommended dosage of orally administered phenylephrine is effective as
a nasal decongestant.””°

83. However, Johnson & Johnson continues to sell a number of PE Products. Indeed,
on the very website where it now has a hyperlink to the FDA’s “is not effective” statement, Johnson
& Johnson expressly warrants that Sudafed PE provides “effective, non-drowsy symptom relief,”
even though it knows that Sudafed PE does no such thing.

84. Indeed, and as detailed below in Part V multiple Plaintiffs purchased those
products, based on Johnson & Johnson’s, and other Defendants’, failure to disclose the true nature
of phenylephrine, and their misleading and false representations that phenylephrine actually works
as a decongestant when orally ingested.

H. Some Defendants Also Engaged in a Coordinated Effort to Defraud Consumers

85. The following factual allegations (1.e., Paragraphs 85-130) apply solely to Count 7
and are not alleged as to other counts.

86. As soon as the efficacy of PE Products was challenged, a core group of
manufacturers associated together, including through a national trade association, the CHPA. The
group included at least Defendants Bayer Healthcare LLC, Haleon PLC, Haleon U.S. Capital

L.L.C., Haleon U.S. Holdings L.L.C., Perrigo Company, Proctor & Gamble Co., RB., Reckitt

6 https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-committee-
meeting-oral-
phenylephrine#:~:text=The%20committee%o20discussed%20new%20data,effective%20as%20a%20nasal
%20adecongestant

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Benckiser L.L.C., Reckitt Benckiser Pharmaceuticals Inc., Kenvue, Inc., Johnson & Johnson
(collectively, the “RICO Defendants”).

87. From late 2006 to present, these manufacturers collectively worked in concert to
track developments and share information about PE Products. For more than fifteen years, they
worked in concert to aggressively represent to consumers and regulators that PE Products are
effective. Each time a challenge was made to phenylephrine’s effectiveness, or a new study showed
that phenylephrine was not effective, this group responded with baseless and deceptive press
releases and submissions designed to mislead consumers and misguide and delay the FDA’s
review process.

88. These efforts began in 2007, in response to the first Citizen’s Petition, and continue
to this day. Indeed, even after 2023 NDAC’s unanimous vote, this group continues to assert in the
press and to regulators that PE Products are effective. However, they have not identified a single
new study from the past 40 years that demonstrates that PE is effective at
decongesting. Nonetheless, to this day, this group continues to assert in the press and to regulators
that PE Products are effective.

1. In 2006, The RICO Defendants Infiltrate the CHPA And Use The CHPA
Phenylephrine Task Group As An Enterprise To Defraud The Public

89. Each RICO Defendant is a member of the CHPA, which was founded in 1881 and
is a national trade association representing manufacturers and marketers of consumer healthcare
products, including over-the-counter medications, dietary supplements, and medical devices.

90. By at least December 2006—i.e., shortly following the move of pseudoephedrine
“behind the counter”’—the CHPA formed a Phenylephrine Task Group (the “Task Group”). On

information and belief, each RICO Defendant is a member and/or participant in the Task Group.

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91. Since its formation, the Task Group has continued to function as a unified
organization and continuing unit for the common purpose of allowing the manufacturers and
marketers of oral phenylephrine products to collaborate and regularly track developments related
to phenylephrine’s effectiveness. It accordingly has engaged in regular communications and
actively monitored all developments related to oral phenylephrine from 2006 to the present day.”’

92. Inresponse to the February 2007 Citizen’s Petition discussed above that questioned
the efficacy of the 10mg dose of phenylephrine, the RICO Defendants—all of whom themselves
were, or whose corporate predecessors were, members of CHPA—worked through the Task Group
to respond.

93. Realizing how much revenue they collectively stood to lose if consumers were no
longer buying over-the-counter PE Products, the RICO Defendants used the Task Group to
represent to the FDA that they had come together to “critically assess all studies reviewed by the
1976 OTC expert advisory review panel and additional data on the efficacy and safety of
phenylephrine in adults.””8 Toward this purported end, the Task Group, through CHPA, put
together a “meta-analysis” that purported to analyze the early studies of phenylephrine’s efficacy.

94. In truth, however, the RICO Defendants created a deliberately flawed meta-
analysis, relying on old studies that the FDA would later characterize as suffering from “significant
methodological and statistical issues, as well as potential data integrity issues””? to compete with
a meta-analysis presented by the Citizens’ Petition filed in February 2007. The Task Group did

not “critically evaluate” the studies and data.

27 Although many of the specific activities of the CHPA Phenylephrine Task Group are shielded from public
view and will not be known until discovery, publicly available information confirms that the group has
been acting as a continuing unit for at least 17 years—i.e., from 2006 to the present day.

8 CHPA Briefing Book Submitted to NDAC, December 2007 [Docket No. 2007P-0047], at p. 2.

2? NDAC Briefing Document at 54

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95. For example, the Task Group did not evaluate the source of the studies or disclose
that six of the seven studies purportedly supporting phenylephrine’s efficacy came from the same
sponsor (Sterling-Winthrop Research Institute on behalf of Winthrop Labs, the manufacturer of
the phenylephrine product Neo-Synephrine) or that five of the studies were performed at a single
laboratory, Elizabeth Biochemical. Years later, when FDA scientists and the NDAC critically
evaluated all of the studies and data, as CHPA’s Task Group claimed to have done in 2007, it
found that these studies were deeply flawed. Indeed, and as explained in more detail below, a
“critical analysis” of the Elizabeth Biochemical data would reveal that the data were likely infected
by fraud—i.e., doctored to support a finding of phenylephrine’s effectiveness.

96. | CHPA also stated in 2007: “The oral bioavailability of phenylephrine in adults is
about 38% ... .” °° When the FDA and the advisory committee reviewed the early studies that
supposedly supported this assertion, as well as new studies, FDA scientists determined that the old
studies had serious design flaws and the new studies showed that the actual oral bioavailability of
phenylephrine in adults is less than 1%.

97. In short, the RICO Defendants and the Task Group did not “critically assess” the
studies or data that existed in 2007, but, instead, identified the studies that supported their position
and then created a meta-analysis of only that data and those studies, without critically assessing
the studies’ design or reliability.

98. Based on the conflicting submissions, the NDAC did not recommend any major
change in 2007. Instead, nine of the twelve panel members sitting in 2007 (the panel would later

expand to 16 voting members in 2023) found that “due to the limitations of the data” available, it

3° CHPA Briefing Book to NDCA, December 2007, at p. 3.

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was recommended that “additional clinical data would be necessary, including new studies that
should evaluate the decongestant effect of higher doses of oral PE.’””?!

2. In Response To New Science, the RICO Defendants’ CHPA Phenylephrine
Task Group Misleads The Public

99. As discussed in detail above, certain manufacturers and several researchers
performed and/or published multiple studies in the wake of the 2007 Citizen’s Petition designed
to assess phenylephrine’s effectiveness.

100. All of the studies confirmed that oral phenylephrine is no better than placebo.

101. Between 2007 and 2015, the RICO Defendants used the Task Group to engage in
a regular course of conduct as a continuing unit by monitoring new developments regarding the
effectiveness of oral phenylephrine, maintaining communications as a group about any new
publicly available information, and delegating tasks to different members related to the working
group.

102. They knew in 2015 that new scientific evidence—including but not limited to the
Horak, Day, and 2015 Melzer study described above—had emerged confirming that oral
phenylephrine was not effective as a decongestant.

103. In 2015, a second Citizen’s Petition was filed by Leslie Hendeles, PharmD, and
Randy Hatton, PharmD, this time requesting that the FDA remove phenylephrine from the
monograph for oral nasal decongestant products. °”

104. The Task Group responded by attempting to mislead. They made their own
submission to the FDA to compete with the Citizen’s Petition. Instead of designing new studies of

phenylephrine’s efficacy, the RICO Defendants used the Task Group to coordinate and make

31 NDAC Briefing Document at 30.
>? Hendeles L, Hatton RA. Citizen Petition — Phenylephrine. Docket ID: FDA-2015-P-4131, available at:
https://www.regulations.gov/docket/FDA-2015-P-4131.

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baseless, misleading, and false assertions in a submission in 2016, to support the conclusion that
“the Citizen’s Petition does not provide sufficient scientific evidence to refute the established
efficacy of phenylephrine at the 10 mg dose.”**

105. For example, instead of objectively evaluating the science, in their own 2016
submission, the Task Group cherry-picked statements from the NDAC’s 2007 meeting to assert
falsely that the FDA’s NDAC members concluded that the fourteen clinical studies assessed in
1976 “documented the effectiveness of phenylephrine hydrochloride as an oral nasal
decongestant.”3* Of course, the NDAC in 2007 did no such thing, and had instead made clear
that “additional clinical data would be necessary, including new studies that should evaluate the
decongestant effect of higher doses of oral PE,” using “subjective symptom scores rather than use
objective measurement of NAR as the primary endpoint.”?> In other words, CHPA and the Task
Group advanced the false narrative that the existing early studies already documented the
effectiveness of oral phenylephrine.

106. Then, the Task Group raised what it called “significant concerns with design
aspects and the interpretation of results in the [new] studies that were cited [in the 2015 Citizen’s
Petition].”°° According to Task Group, “[nJone of the studies cited in the Citizen Petition is
adequately designed to provide data that would reverse the previous determination regarding the
efficacy of phenylephrine.”?’

107.  Tellingly, even though the FDA’s NDAC in 2007 had provided clear feedback that

more clinical data was needed to make a final decision about the effectiveness of oral PE, the

33 CHPA Submission to FDA [Docket FDA-2015-P-4131], April 21, 2016 at p. 1 (*CHPA 2016 FDA
Submission”)

34 Id. at 3

35 NDAC Briefing Document at 30.

3° CHPA 2016 FDA Submission at 3.

37 Td.

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RICO Defendants and the Task Group did not identify any new studies initiated by CHPA or any
of its members in the nine years since the NDAC meeting in 2007.

108. Trying to undermine the credibility of the new studies, the Task Group again
represented that “Members of the CHPA Phenylephrine Task Group have critically evaluated the
particular studies cited in the Citizen Petition relative to their merit in supporting the request that
phenylephrine 10 mg be removed from the Final Monograph for OTC nasal decongestant
products.”3® This representation implied that members of the Task Group were devoting resources
and time to have scientists objectively evaluate these new studies and the studies’ conclusions in
an endeavor to find the truth.

109. The CHPA then pointed to what it called “serious study design issues” and
identified statements by the authors in the new studies that were supposedly inaccurate or
misleading.

110. For example, the Task Group accused the authors of the 2015 Meltzer study of
implying that the study was done specifically at the request of the FDA.*° The authors implied no
such thing. The Task Group also falsely stated the study had “specific design elements” that
“confound a generalized conclusion regarding the efficacy of phenylephrine.”*° However, no issue
in the Meltzer study reasonably confounded the result.

111. The criticisms were baseless, in bad faith, and designed to imply that the authors
were not being honest and the studies were fundamentally flawed. The Task Group made other
baseless criticisms of the other studies cited in the Citizen’s Petition, and ignored entirely other

new studies—such as, e.g., the Johnson & Johnson study described above—by the industry that

38 Id.
3° Id. at p. 4.
1d. at p. 5.

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concurred with the new studies in the Citizen’s Petition and showed that oral phenylephrine is not
effective.*!

112. Through CHPA’s baseless and deceptive assertions, instead of scientific consensus
that should have existed by at least 2016, the American public and FDA were both again presented
with conflicting presentations and mixed assertions about the efficacy of oral phenylephrine as a
nasal decongestant.

113. The Task Group also issued press releases ignoring the new scientific evidence
about phenylephrine’s lack of effectiveness. For example, on May 4, 2017, CHPA’s Task Group
issued a press release about a study that had been undertaken regarding the safety of cough and
cold medications for children—essentially, an analysis indicating that over-the-counter drugs like
PE Products did not cause serious adverse events. The press release then announced:

When OTC medicines are used as directed and labeled, they provide the efficacy

and safety that consumers demand,” said Barbara Kochanowski, PhD, senior

vice president for regulatory and scientific affairs at CHPA, the trade group that

funded the study. “This study should be reassuring to healthcare professionals

who recommend OTC medicines, parents who use them, and retailers whe sell
them. They each play a vital role in keeping children safe and healthy.”

114. Of course, by this time in 2017, new scientific evidence had established that oral
phenylephrine over-the-counter nasal decongestants do not work for adults or children, and the
study described by the press release had nothing to do with efficacy at all. Rather, the study
collected evidence regarding serious adverse events associated with pediatric exposure to the OTC
medication in response to a different Citizen’s Petition. So, while the Task Group did not fund

any studies that were published showing the efficacy of these PE Products in children or adults,

411d. at p. 6-11.
® https://www.chpa.org/news/2017/05/study-shows-safety-cough-and-cold-medicines-children (emphasis
added).

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CHPA continued to tout the efficacy of phenylephrine and other OTC medications even though by
2016, the science was clear that the PE Products have no ¢;ficacy.

3. When the FDA Convenes the NDAC, the RICO Defendants Again Use the
CHPA to Engage in Fraud

115. When the FDA announced that it was convening a meeting of the NDAC to discuss
new data regarding the effectiveness of oral phenylephrine, the industry pushed for more time to
respond. The FDA agreed. On March 21, 2023, the CHPA released a statement to the public*:

CHPA is pleased to see today’s news that FDA has postponed the recently

announced Advisory Committee meeting,” said Senior Vice President of

Regulatory & Scientific Affairs, Barbara A. Kochanowski, Ph.D. “Given the

critical importance of this meeting on behalf of the millions of consumers who rely

on this ingredient, a reasonable amount of time is needed for regulated Industry to

provide a complete picture of the previously reviewed data demonstrating

phenylephrine as generally recognized as safe and effective (GRASE). It is
imperative that the advisory committee has access to all the data in order to provide

FDA the best possible advice as the Agency undertakes this evaluation.

116. Once again, the Task Group attempted to influence public opinion with misleading
data. CHPA, on information and belief due to the influence of the RICO Defendants associating
through the Task Group, conducted a consumer survey on phenylephrine between July 24-28,
2023. On August 3, 2023, CHPA developed what it called the “key findings” of the survey, which
it published on its website.** According to CHPA, 83% of respondents stated that medicines with
phenylephrine help relieve their nasal congestion, and 66% of the respondents stated that
phenylephrine helps them get through their day because it relieves their nasal congestion. CHPA’s

findings summary concluded: “American adults repeatedly rely on oral PE because they recognize

its efficacy as a nasal decongestant, they see the physical and personal benefits of oral PE when

* CHPA Press Release, March 21, 2023, available at: https://chpa.org/news/2023/03/chpa-statement-fda-
postponing-april-12-ndac-meeting

#4 https://www.chpa.org/sites/default/files/media/docs/2023-

08/PE%20Survey%20Results%20With%20T oplines%20FINAL%20%28web%29.pdf?_ga=2.142796469,
1621163183.1714307947-754075 134.1714307947

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they use it, and they—and the overall healthcare system—would be significantly burdened if oral
PE were not available OTC.” On August 23, 2023, CHPA issued a press release touting the results
of this consumer survey.*°

117. Of course, consumers have insufficient scientific knowledge or access to clinical
data to know whether phenylephrine products actually work. Moreover, many cold and allergy
medicines sold by Defendants contain phenylephrine in combination with other active ingredients
that actually do provide relief from other cold and allergy symptoms, just not nasal congestion.
Instead of investing in robust clinical studies with scientific evidence, CHPA chose to spend its
resources on a consumer survey showing, at best, that they had successfully duped the public in
convincing them that the PE Products were effective decongestants. CHPA nevertheless spun the
results of the consumer survey as though the consumer survey represented a scientific result
regarding phenylephrine’s effectiveness.

118. Armed with its new consumer survey, CHPA’s Task Group, whose statements still

® made a submission from

purported to “reflect the collective views” of its member companies,*
the industry to the NDAC, asserting that the Task Group disagreed with the Citizen’s Petition’s

claims that new data demonstrated PE is not an effective nasal decongestant. According to CHPA,

the “efficacy and safety of PE has undergone multiple rigorous reviews undertaken by expert

4 https://chpa.org/news/2023/08/study-consumers-use-trust-and-depend-otc-phenylephrine-pe-self-care-
decongestion

“© CHPA Briefing Book Submission to NDCA [Docket No. FDA-2023-N-2653], Sept. 11-12, 2023, at p.
7 fn.18 of 66 (“The information provided in this document reflects the collective views of the following
CHPA member companies that currently market products containing phenylephrine: Bayer Consumer
Health, Foundation Consumer Healthcare, LLC; Haleon (formerly GlaxoSmithKline Consumer
Healthcare); Kenvue (formerly Johnson & Johnson Consumer, Inc.); Lil’ Drug Store Products, Inc;
Perrigo Company; Reckitt; Sanofi Consumer Healthcare; and the Procter & Gamble Company’’).

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scientific bodies and FDA.”*’ However, despite the NDAC’s clear statement in 2007 that more
clinical data regarding efficacy were needed, the RICO Defendants and the Task Group did not
submit any new studies supporting its position, instead again doing no more than trying to
undermine the new studies and defend antiquated studies from the 1950s, 1960s, and 1970s.
CHPA’s claim that phenylephrine’s “efficacy and safety...has undergone multiple rigorous
reviews”—and the implication that those reviews led to a conclusion that PE was efficacious—
was a baseless statement made in bad faith.

119. As discussed above, when the FDA reviewed the new studies conducted since 2007,
its scientists reached an “initial conclusion that orally administered PE is not effective as a nasal
decongestant at the monographed dosage (10mg of PE hydrochloride every 4 hours) as well as at
doses up to 40 mg (dosed every four hours).’*° In reaching that conclusion, “the Agency undertook
a careful and thorough review of all the available data” and concluded that “[t]he new data appear
compelling that the monographed dosage of oral PE results in no meaningful systemic exposure
or evidence of efficacy.”””

120. As also discussed above, on September 11-12, 2023, the NDAC convened and
reviewed all of the scientific information, including the new studies that the Task Group had tried
to undermine in 2016 and beyond. The panel of experts voted unanimously (16-0) that
phenylephrine is not effective. The FDA and the advisory committee relied on clinical data and

studies that were all completed and published by 2018, paying particular attention to the Meltzer

studies, both of which were published by January 2016.

47 CHPA Briefing Book Submission to NDCA [Docket No. FDA-2023-N-2653], Sept. 11-12, 2023, at p.
5 of 66; See also CHPA PPT Presentation to NDCA, Sept. 11-12, 2023, available at:
https://www.fda.gov/media/171972/download.

48 NDAC 2023 Briefing Document at 9

Id. at 14.

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121. The RICO Defendants and CHPA did not identify a single clinical study conducted
by CHPA or any of its members after 2007 that supported the efficacy of oral phenylephrine as a
nasal decongestant.

122. On September 7, 2023, shortly before the NDAC convened, the CHPA, on
information and belief due to the influence of the RICO Defendants/Task Group, issued a press
release.*° This press release contained numerous misleading statements attempting to convince
the American public and NDAC that oral phenylephrine was effective, despite CHPA’s and
Defendants’ knowledge since 2016 that the scientific evidence had proven oral phenylephrine is
no better than placebo. The misleading nature of the statements in the press release are described

herein:

CHPA Phenylephrine Task Group Statement Why Misleading*

“Oral phenylephrine (PE) has been relied All of these trials were conducted
upon as a beneficial nasal decongestant by | over 40 years ago, and the FDA advisory
American families for decades, and FDA has | panel requested more clinical data in 2007,
repeatedly concluded the ingredient is safe and | specifically finding that the old data did not
effective. This determination, established by | sufficiently support efficacy of PE. CHPA’s
multiple double-blind, placebo-controlled trials | Task Group did not submit or rely on any
and supported by two previous FDA advisory | new clinical data since 2007, despite the
panels, has also been validated by a meta-analysis | NDAC request for more clinical data. The
of relevant clinical studies.” old studies from the 1950s, 1960s and
1970s had obvious design flaws and were
highly questionable, as explained below,
which would have been evident had
CHPA’s Task Group critically assessed
these studies, as it clatmed to have done in
2007.

“When it comes to consumers’ needs, a The Task Group’s consumer studies
recent national survey revealed that American | show not that the products work but that

® https://www.chpa.org/news/2023/09/statement-sept-11-12-2023-meeting-fda-ndac-evaluate-efficacy-
oral-pe

51 The press release relies on this series of half-truths—deceptive statements that include some element of
truth but conceals important material information from the reader.

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adults repeatedly rely on oral PE because they
recognize its benefits when they use it. In fact,
83% of consumers who used a product containing
PE in the past year agreed the medicines helped
relieve their nasal or sinus congestion.
Respondents also reported PE further relieves their
symptoms and overall ability to sleep, work, and
get through their day.”

these products are a placebo and American
consumers were misled into buying
products that do not work because they
believed they did work. No rational
consumer would buy a product that science
shows does not work.

“As scientific techniques and.
methodologies progress, it is important to integrate
new data within the broader framework of existing
evidence rather than viewing it as a complete
substitute for the previous body of evidence,
particularly when assessing a well-established and
globally used ingredient like PE for its safety and
efficacy.”

CHPA’s Task Group did not
provide any new data, the old data were not
a body of evidence, and it was never well-
established that oral phenylephrine was
effective. In spite of the statement about
integration of new data into existing
scientific knowledge, the Task Group
attempted at every turn to deny and
discredit more recent and rigorous studies.

123.

After the NDAC voted unanimously that phenylephrine is not effective, CHPA’s
Phenylephrine Task Group issued another press release to the public on September 12, 2023.°?

This press release also contains numerous misleading statements attempting to convince the

American public to keep buying and taking oral phenylephrine as a nasal decongestant.

CHPA Phenylephrine Task Group Statement

Why Misleading™

“The regulations for phenylephrine (PE)
remain unchanged, and there is no change in the
availability of products containing PE on store
shelves. The NDAC vote was a non-binding
suggestion for the FDA to consider. Consumers
can maintain their confidence in the fact that these
medicines continue to be recognized as safe and
effective by FDA.”

This statement implies that
consumers should continue to buy oral
phenylephrine products because they
work. However, the FDA scientists tasked
with briefing the NDAC reached an initial
conclusion that oral phenylephrine is not
effective.

» https://www.chpa.org/news/2023/09/statement-following-september-2023-meeting-nonprescription-

drugs-advisory-committee

%3 The press release relies on this series of half-truths—deceptive statements that include some element of
truth but conceals important material information from the reader.

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“We are disappointed by the outcome of This statement implies that there
today’s FDA Advisory Committee meeting | are numerous clinical trials showing that
because its non-binding recommendation is at | phenylephrine is effective, but the FDA
odds with the numerous clinical trials and previous | had already established that these trials had
regulatory determinations affirming oral PE as a | serious design flaws and this clinical data
safe and effective decongestant at its labeled | should not be relied upon.
dose,” said CHPA President and CEO Scott
Melville.

“While we respect the scientific and public All of the previous evidence is over
process that allows new science to influence health | 40 years old and, as the FDA scientists who
policy and regulations, we are concerned about | analyzed phenylephrine’s efficacy to brief
previous clinical evidence being inappropriately | the NDAC concluded, highly flawed.
dismissed and discounted.”

124. What CHPA also did not mention in these press releases is that the “clinical trials”
that all were submitted over 40 years ago (conducted at various times in the 1950s, 1960s, and
1970s) relied on science that has since been widely understood to be suspect. As the NDAC
briefing document explains regarding those studies:

When considering the studies through a modern drug review lens, all of the studies
(both positive and negative) were highly problematic in both design and
methodology. All used a highly variable endpoint (NAR) to study a drug in the
setting of a highly variable disease state (the common cold) that is no longer used
as a primary endpoint to evaluate congestion in pivotal trials. Further, all the
positive studies (and most of the negative studies) were unpublished and therefore
never peer reviewed. Six of the seven positive studies came from a single study
center (funded by the manufacturer of Neo-Synephrine), were very small in size,
and (except in one instance) the results could not be duplicated at two other study
centers (also funded by the same manufacturer) that used a similar study design and
methodology.

Additionally, the positive oral PE results do not match what was demonstrated in
multiple studies reviewed by the Panel that the dose of orally administered PE that
is required to result in clinically relevant systemic (pharmacodynamic) effect is far
higher than the monographed dose. Nor do they match what is now known about
the bioavailability and PK of orally administered PE. As a result, and in retrospect,
we believe that newer data and improvement in study methodologies suggest that
the findings of the Panel should be revisited.

And, in fact, we believe that the multiple methodological and statistical issues
inherent in the studies reviewed by the Panel make the original studies evaluated

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for efficacy unacceptable as continued support for the efficacy of monographed
doses of oral PE.™

125. Further, the NDAC Briefing document, prepared by FDA scientists, explains that
the lab used in five of the seven early studies that purportedly supported phenylephrine’s efficacy
may have engaged in fraud. These studies took place in Elizabeth Biochemical Labs. As the FDA
reviewers explained, the data produced by the Elizabeth Biochemical Labs were “textbook perfect
results that could not be duplicated in other similarly designed studies that used the same
methodology but were conducted at two other centers by the same sponsor.”** They explained:

Given the small sample size and the variability of the methodology and subject

population, as well as the results of studies that have been reported since that

time...the...results at the Elizabeth site can only be interpreted in one of two ways.

Either the results reflect excellent study management that could not be duplicated

at the other two sites, which does not make scientific sense based on the

[pharmacokinetic] and [pharmacodynamic] data and the known variability in the

methodology, or they reflect data that are simply too good to be real. As a result,

the issue of bias and possible data integrity issues at the Elizabeth site must be

seriously entertained. *°

126. The CHPA did not mention any of this in its statement. It did not acknowledge that,
since the suspect early studies, not a single study has found that oral phenylephrine is effective. It
did not acknowledge that the new studies had, in fact, all proven the opposite, including decisive
studies sponsored by industry members themselves, including the 2015 Meltzer study, the 2016
Meltzer study, and the 2017-18 Johnson & Johnson study.

127. Instead, the CHPA emphasized that “there is no change in the availability of
products containing PE on store shelves.”

128. As explained above, the RICO Defendants continued to sell their PE Products, and

persisted in doing so even since 2016, when the science was crystal clear that oral phenylephrine

%4NDAC Briefing Document at 54-55
°° NDAC Briefing Document at 32.
% Id. at 62

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is no more effective than placebo at decongesting. Each package and label of oral phenylephrine
products sold by the RICO Defendants contains false and misleading statements, as explained
above, and materially omitted the truth about phenylephrine’s efficacy.

129. The RICO Defendants were only able to continue selling these products to
American consumers because they used the CHPA Phenylephrine Task Group as a vehicle to
further and conceal their scheme to defraud American consumers, undermine new scientific
evidence showing oral phenylephrine is not effective, and substantially delay the FDA’s review
process.

130.  Inshort, the RICO Defendants came together through CHPA to conduct the affairs
of an Enterprise; they conducted the Enterprise’s affairs through a pattern of racketeering activity,
including by using the Enterprise to perpetrate a fraud and conceal the true nature of their PE
Products; and Plaintiffs and the other Class members suffered economic injury “by reason of” the
pattern of racketeering activity.

V. DEFENDANTS MISLED PLAINTIFFS

Sandra Yousefzadeh

131. Plaintiff Sandra Yousefzadeh (“Yousefzadeh”) is a citizen of the State of New York
who resides in the incorporated village of Kings Point.

132. Yousefzadeh suffers from seasonal allergies and post-nasal drip. These conditions
cause her to experience frequent symptoms such as nasal and/or sinus congestion, coughing, and
headaches. On numerous occasions she has taken over-the-counter oral decongestants in order to

obtain relief from these symptoms.

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133. On August 23, 2023, Yousefzadeh purchased two packages of 24 tablets of Sudafed
PE® Sinus Pressure + Pain Maximum Strength, a product manufactured and/or labeled by Johnson
& Johnson, from Amazon.com Services LLC (“Amazon”), for $6.97 per package.

134. Yousefzadeh made this purchase because she wanted medication that contained an
active ingredient that would be effective in treating her nasal and/or sinus congestion.

135. Yousefzadeh purchased the “Maximum Strength” version of the decongestant
because she wanted to take the highest possible safe dosage of an active ingredient that would be
effective in treating her nasal and/or sinus congestion.

136. In making her purchase, Yousefzadeh relied upon the product packaging and the
“Sudafed” brand name to make her purchasing decision—she read on the photos of the packaging
on the Amazon website that the product was “Maximum Strength” and promised to relieve “Sinus
Pressure + Congestion” and “Sinus Headache.” In addition, Yousefzadeh knew from seeing years
of advertising that “Sudafed” was a brand name for over-the-counter drugs effective at relieving
congestion. She trusted that any product named “Sudafed” would be an effective decongestant.

137. In making her purchase, Yousefzadeh was also misled by Johnson & Johnson’s
failure anywhere to disclose its superior knowledge that this PE Product is not, in fact, effective at
relieving congestion because the ingredient that purportedly “‘decongests” in the product,
phenylephrine, is no more effective at decongesting than placebo when taken orally. Yousafzadeh
would not have purchased this PE Product had Johnson & Johnson informed her of its lack of
efficacy in relieving congestion or she would have paid significantly less than she paid insofar as
this PE Product was only effective in treating her other symptoms and was not effective in treating

sinus pressure and congestion.

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138. Upon learning from an acquaintance that an FDA Advisory Panel had determined
that the active ingredient in Sudafed PE was ineffective as an oral decongestant, Yousefzadeh
retained counsel to protect her rights.

139. On September 14, 2023, Yousefzadeh caused a Notice of Breach to be sent via
FedEx Corporation to Johnson & Johnson, advising that they had breached the express and implied.
warranties they had made to her when she purchased Sudafed PE® Sinus Pressure + Pain Maximum
Strength because “the active nasal decongestant ingredient in this product is phenylephrine, which
a Food and Drug Administration advisory panel has concluded is ineffective.”

Anntwanette Jones

140. Plaintiff Anntwanette Jones (“Jones”) is a citizen of the State of New York who
resides in the City of Buffalo.

141. From time to time, Jones catches the common cold or seasonal flu. When she
catches a cold or flu, she experiences symptoms such as nasal and/or sinus congestion. She takes
multiple over-the-counter oral decongestants for relief from these symptoms that she has
purchased from Walmart and Target in Buffalo.

(a) Jones Purchased Vicks® Dayquil™ SEVERE Honey Cold & Flu

142. Within the last three years, Jones has purchased in New York at least one package
of “Vicks® Dayquil™ SEVERE Honey Cold & Flu’, a product manufactured and/or labeled by
P&G.

143. Jones made this purchase because she wanted medication that contained an active

ingredient that would be effective in treating her nasal and/or sinus congestion.

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144. Jones purchased the “Severe” version of the decongestant because she thought her
symptoms were or would be “severe,” and she wanted to take the highest possible safe dosage of
an active ingredient that would be effective in treating her nasal and/or sinus congestion.

145. In making her purchase, Jones relied upon the product packaging and the “Vicks,”
and “DayQuil” brand names to make her purchasing decision—she read on the package that the
product was for “Severe Cold & Flue,” and that it promised to relieve “Nasal Congestion” and
“Sinus Pressure.” Further, Jones knew from seeing years of advertising that “Vicks” and
“DayQuil” were brand-names for over-the-counter decongestants. She trusted that any product
bearing the “Vicks,” and “DayQuil” brand names would be an effective decongestant.

146. In making her purchase, Jones was also misled by P&G’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Jones would not have purchased this PE
Product had P&G informed her of its lack of efficacy in relieving congestion or she would have
paid significantly less than she paid insofar as this PE Product was only effective in treating her
other symptoms and was not effective in treating sinus pressure and congestion.

147. Upon learning from her attorneys in prior litigation that an FDA Advisory Panel
had determined that an that an active ingredient in Vicks® Dayquil™ SEVERE Honey Cold &
Flu was ineffective as an oral decongestant, Jones retained counsel to protect her rights.

148. On April 25, 2024, Jones caused a Notice of Breach to be sent via U.S. Mail to
P&G, advising that they had breached the express and implied warranties they had made to her

when she purchased Vicks® Dayquil™ SEVERE Honey Cold & Flu because “the active nasal

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decongestant ingredient in this product is phenylephrine, which a Food and Drug Administration
advisory panel has concluded is ineffective.”

(b) Jones Purchased Equate Children’s Multi-cSymptom Cold Liquid, Very
Berry

149. Jones is the mother of a daughter who is currently ten years old.

150. From time to time, Jones’s daughter catches the common cold or seasonal flu. When
Jones’s daughter catches a cold or flu, she experiences symptoms such as nasal and/or sinus
congestion. Jones gives her daughter over-the-counter oral decongestants for children for relief
from these symptoms that Jones has purchased from Walmart and Target in Buffalo.

151. Within the last three years, Jones has purchased in New York at least one package
of “Equate Children’s Multi-Symptom Cold Liquid, Very Berry, 4 fl oz,” a product manufactured
and/or labeled by Walmart.

152. Jones made this purchase because she wanted medication that contained an active
ingredient that would be effective in treating her daughter’s nasal and/or sinus congestion.

153. In making her purchase, Jones relied upon the product packaging and the “equate”
brand name to make her purchasing decision—she read on the package that the product promised
to relieve “stuffy nose.” She trusted that any product bearing Walmart’s “equate” brand name
would be an effective decongestant.

154. In making her purchase, Jones was also misled by Walmart’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Jones would not have purchased this PE

Product had Walmart informed her of its lack of efficacy in relieving congestion or she would have

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paid significantly less than she paid insofar as this PE Product was only effective in treating her
daughter’s other symptoms and was not effective in treating sinus pressure and congestion.

155. Upon learning from her attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in Equate Children’s Multi-Symptom Cold Liquid, Very
Berry was ineffective as an oral decongestant, Jones retained counsel to protect her rights.

156. On April 25, 2024, Jones caused a Notice of Breach to be sent via U.S. Mail to
Walmart advising that they had breached the express and implied warranties they had made to her
when she purchased Equate Children’s Multi-Symptom Cold Liquid, Very Berry because “the
active nasal decongestant ingredient in this product is phenylephrine, which a Food and Drug
Administration advisory panel has concluded is ineffective.”

(c) Jones Purchased Delsym® Children’s Cough+ Cold Nighttime Berry
Flavored Liquid

157. Within the last three years, Jones has purchased in New York at least one package
of “Delsym® Children’s Cough+ Cold Nighttime Berry Flavored Liquid,” a product manufactured
and/or labeled by RB.

158. Jones made this purchase because she wanted medication that contained an active
ingredient that would be effective in treating her daughter’s nasal and/or sinus congestion.

159. In making her purchase, Jones relied upon the product packaging and the “Delsym”
brand name to make her purchasing decision—she read on the package that the product promised
to relieve “stuffy nose.” She trusted that any product bearing the “Delsym” brand name would be
an effective decongestant.

160. In making her purchase, Jones was also misled by RB’s failure anywhere to disclose
its superior knowledge that this PE Product is not, in fact, effective at relieving congestion because

the ingredient that purportedly ““decongests” in the product, phenylephrine, is no more effective at

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decongesting than placebo when taken orally. Jones would not have purchased this PE Product
had RB informed her of its lack of efficacy in relieving congestion or she would have paid
significantly less than she paid insofar as this PE Product was only effective in treating her
daughter’s other symptoms and was not effective in treating sinus pressure and congestion.

161. Upon learning from her attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in Delsym® Children’s Cough+ Cold Nighttime Berry
Flavored Liquid was ineffective as an oral decongestant, Jones retained counsel to protect her
rights.

162. On April 25, 2024, Jones caused a Notice of Breach to be sent via U.S. Mail to RB
Health (US) LLC advising that they had breached the express and implied warranties they had
made to her when she purchased Delsym® Children’s Cought+ Cold Nighttime Berry Flavored.
Liquid because “the active nasal decongestant ingredient in this product is phenylephrine, which
a Food and Drug Administration advisory panel has concluded is ineffective.”

Daniel Calzado

163. Plaintiff Daniel Calzado (“Calzado”) is a citizen of the State of New York who
resides in the City of Rochester.

164. From time to time, Calzado catches the common cold or seasonal flu. When he
catches a cold or flu, he experiences symptoms such as nasal and/or sinus congestion. He takes
over-the-counter oral decongestants for relief from these symptoms.

(a) Calzado Purchased Vicks NyQuil™ SEVERE Maximum Strength Cold &
Flu Berry Flavored Liquid Medicine

165. Onor about November 2023, Calzado purchased one package of 12 fluid ounces of

“Vicks NyQuil™ SEVERE Maximum Strength Cold & Flu Berry Flavored Liquid Medicine,” a

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product manufactured and/or labeled by P&G, from CVS Pharmacy, 525 Spencerport Road
Shopping Paza, Rochester, New York.

166. Calzado made this purchase because he wanted medication that contained an active
ingredient that would be effective in treating his nasal and/or sinus congestion.

167. Calzado purchased the “Maximum Strength” version of the decongestant because
he wanted to take the highest possible safe dosage of an active ingredient that would be effective
in treating his nasal and/or sinus congestion.

168. In making his purchase, Calzado relied upon the product packaging and the
“NyQuil” brand name to make his purchasing decision—he read on the package that the product
was “Maximum Strength” and that it promised to relieve “Nasal Congestion, Sinus Pressure.”
Further, Calzado knew from seeing years of advertising that “NyQuil” was a brand-name for over-
the-counter decongestants. He trusted that any product named “NyQuil” would be an effective
decongestant.

169. In making his purchase, Calzado was also misled by P&G’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally Calzado would not have purchased this
PE Product had P&G informed him of its actual lack of efficacy in relieving congestion or he
would have paid significantly less than he paid insofar as this PE Product was only effective in
treating his other symptoms and was not effective in treating sinus pressure and congestion.

170. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that the active ingredient in Vicks NyQuil was ineffective as an oral decongestant,

Calzado retained counsel to protect his rights.

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171. On April 25, 2024, Calzado caused a Notice of Breach to be sent via U.S. Mail to
P&G, advising that they had breached the express and implied warranties they had made to him
when he purchased Vicks NyQuil™ SEVERE Maximum Strength Cold & Flu Berry Flavored
Liquid Medicine because “the active nasal decongestant ingredient in this product is
phenylephrine, which a Food and Drug Administration advisory panel has concluded is
ineffective.”

(b) Calzado Purchased CVS Health Non-Drowsy Nasal Decongestant PE
Maximum Strength

172. Within the applicable class period, Calzado purchased at least one package of
“CVS Health Non-Drowsy Nasal Decongestant PE Maximum Strength” from a CVS in Rochester,
NY.

173. Calzado made this purchase because he wanted medication that contained an active
ingredient that would be effective in treating his nasal and/or sinus congestion.

174. Calzado purchased the “Maximum Strength” version of the product because he
wanted to take the highest possible safe dosage of an active ingredient that would be effective in
treating his nasal and/or sinus congestion.

175. In making his purchase, Calzado relied upon the product packaging and the “CVS
Health” brand name to make his purchasing decision—he read on the package that the product was
“Maximum Strength” and that it promised to relieve “Nasal Congestion, Sinus Pressure.” In
addition, Calzado knew from seeing years of advertising that “CVS Health” was a brand-name for
over-the-counter decongestants. He trusted that any decongestant product named “CVS Health”
would be an effective decongestant. In making his purchase, Calzado was also misled by CVS’s
failure anywhere to disclose its superior knowledge that this PE Product is not, in fact, effective at

relieving congestion because the ingredient that purportedly ““decongests” in the product,

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phenylephrine, is no more effective at decongesting than placebo when taken orally. Calzado
would not have purchased this PE Product had CVS informed him of its lack of efficacy in
relieving congestion or he would have paid significantly less than he paid insofar as this PE Product
was only effective in treating his other symptoms and was not effective in treating sinus pressure
and congestion.

176. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that the active ingredient in CVS Health Non-Drowsy Nasal Decongestant PE
Maximum Strength was ineffective as an oral decongestant, Calzado retained counsel to protect
his rights.

177. On May 3, 2024, Calzado caused a Notice of Breach to be sent via U.S. Mail to
CVS Corporation advising that they had breached the express and implied warranties they had
made to him when he purchased CVS Health Non-Drowsy Nasal Decongestant PE Maximum
Strength because “‘the active nasal decongestant ingredient in this product is phenylephrine, which
a Food and Drug Administration advisory panel has concluded is ineffective.”

(c) Calzado Purchased CVS Health Non-Drowsy Sinus PE Pressure, Pain + Cold

178. Within the applicable class period, Calzado purchased at least one package of
“CVS Health Non-Drowsy Sinus PE Pressure, Pain + Cold” from a CVS in Rochester, NY.

179. Calzado made this purchase because he wanted medication that contained an active
ingredient that would be effective in treating his nasal and/or sinus congestion.

180. Calzado purchased this CVS Health Non-Drowsy Sinus PE Pressure, Pain + Cold
decongestant product because he wanted to take a product with an active ingredient that would be

effective in treating his nasal and/or sinus congestion.

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181. In making his purchase, Calzado relied upon the product packaging and the “CVS
Health” brand name to make his purchasing decision—he read on the package that the product
promised to relieve “Nasal Congestion” and “Sinus congestion & Pressure.” In addition, Calzado
knew from seeing years of advertising that “CVS Health” was a brand-name for over-the-counter
decongestants. He trusted that any decongestant product named “CVS Health” would be an
effective decongestant. In making his purchase, Calzado was also misled by CVS’s failure
anywhere to disclose its superior knowledge that this PE Product is not, in fact, effective at
relieving congestion because the ingredient that purportedly “‘decongests” in the product,
phenylephrine, is no more effective at decongesting than placebo when taken orally. Calzado
would not have purchased this PE Product had CVS informed him of its lack of efficacy in
relieving congestion or he would have paid significantly less than he paid insofar as this PE Product
was only effective in treating his other symptoms and was not effective in treating sinus pressure
and congestion.

182. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that the active ingredient in CVS Health Non-Drowsy Sinus PE Pressure, Pain +
Cold was ineffective as an oral decongestant, Calzado retained counsel to protect his rights.

183. On May 3, 2024, Calzado caused a Notice of Breach to be sent via U.S. Mail to
CVS Corporation advising that they had breached the express and implied warranties they had
made to him when he purchased CVS Health Non-Drowsy Sinus PE Pressure, Pain + Cold because
“the active nasal decongestant ingredient in this product is phenylephrine, which a Food and Drug

Administration advisory panel has concluded is ineffective.”

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(d) Calzado Purchased Advil Multi-Symptom Cold & Flu

184. Within the applicable class period, Calzado purchased at least one package of
“Advil Multi-Symptom Cold & Flu” from CVS in Rochester, NY.

185. Calzado made this purchase because he wanted medication that contained an active
ingredient that would be effective in treating his nasal and/or sinus congestion.

186. Calzado purchased this Advil Multi-Symptom Cold & Flu decongestant product
because he wanted to take a product with an active ingredient that would be effective in treating
his nasal and/or sinus congestion.

187. In making his purchase, Calzado relied upon the product packaging and the “Advil”
brand name to make his purchasing decision—he read on the package that the product promised
to relieve “Nasal Congestion” and “Sinus Pressure.” In addition, Calzado knew from seeing years
of advertising that “Advil” was a brand-name for over-the-counter decongestants. He trusted that
any decongestant product named “Advil’” would be an effective decongestant. In making his
purchase, Calzado was also misled by the Haleon’s failure anywhere to disclose its superior
knowledge that this PE Product is not, in fact, effective at relieving congestion because the
ingredient that purportedly ““decongests” in the product, phenylephrine, is no more effective at
decongesting than placebo when taken orally. Calzado would not have purchased this PE Product
had Haleon informed him of its lack of efficacy in relieving congestion or he would have paid
significantly less than he paid insofar as this PE Product was only effective in treating his other
symptoms and was not effective in treating sinus pressure and congestion.

188. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that the active ingredient in Advil Multi-Symptom Cold & Flu was ineffective as

an oral decongestant, Calzado retained counsel to protect his rights.

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189. On May 3, 2024, Calzado caused a Notice of Breach to be sent via U.S. Mail to
CVS Corporation advising that they had breached the express and implied warranties they had
made to him when he purchased Advil Multi-Symptom Cold & Flu because “the active nasal
decongestant ingredient in this product is phenylephrine, which a Food and Drug Administration
advisory panel has concluded is ineffective.”

Eli Erlick

190. Plaintiff Eli Erlick (“Erlick”) is a citizen of the State, City, and County of New
York.

191. Erlick has contracted COVID-19 multiple times and also occasionally contracts the
common cold and/or seasonal flu. These conditions cause her to experience symptoms including
nasal and/or sinus congestion. She takes over-the-counter oral decongestants in order to seek relief
from these symptoms and has been doing so for decades.

(a) Erlick Purchased Acetaminophen Day/Night Time Vapor Ice Cold and Flu
Relief Caplets - 24ct - up & up™

192. On March 22, 2203, Erlick purchased Acetaminophen Day/Night Time Vapor Ice
Cold and Flu Relief Caplets - 24ct - up & up™ medicine from Target in the state of New York.

193. Erlick made this purchase because she wanted medication that contained an active
ingredient that would be effective in treating her nasal and/or sinus congestion.

194. Erlick purchased the “MAX Strength” version of the decongestant because she
wanted to take the highest possible safe dosage of an active ingredient that would be effective in
treating her nasal and/or sinus congestion.

195. In making her purchase, Erlick relied upon the product to make her purchasing

decision—she read on the packaging that the product was “MAX Strength” and that it promised.

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to relieve “nasal congestion and sinus pressure.” She trusted that the product would be an effective
decongestant.

196. In making her purchase, Erlick was also misled by Target’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Erlick would not have purchased this
PE Product had Target informed her of its lack of efficacy in relieving congestion or she would
have paid significantly less than she paid insofar as this PE Product was only effective in treating
her other symptoms and was not effective in treating sinus pressure and congestion.

197. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in Acetaminophen Day/Night Time Vapor Ice Cold and Flu Relief Caplets - 24ct - up
& up was ineffective as an oral decongestant, Erlick retained counsel to protect her rights.

198. On May 2, 2024 Erlick caused a Notice of Breach to be sent via U.S. Mail to Target
Brands, Inc., advising that they had breached the express and implied warranties they had made to
her when she purchased Acetaminophen Day/Night Time Vapor Ice Cold and Flu Relief Caplets
- 24ct - up & up medicine because “the active nasal decongestant ingredient in this product is
phenylephrine, which a Food and Drug Administration advisory panel has concluded is
ineffective.”

(b) ~— Erlick Purchased TYLENOL® Cold + Flu Severe For Day And Night

199. On March 22, 2023, Erlick purchased TYLENOL® Cold + Flu Severe For Day and
Night caplets medicine, a product manufactured and/or labeled by Johnson & Johnson, from

Amazon.com in the State of New York.

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200. Erlick made this purchase because she wanted medication that contained an active
ingredient that would be effective in treating her nasal and/or sinus congestion.

201. — Erlick purchased the “Severe” version of the decongestant because she thought her
symptoms were or would be “severe,” and she wanted to take the highest possible safe dosage of
an active ingredient that would be effective in treating her nasal and/or sinus congestion.

202. In making her purchase, Erlick relied upon the photographs of the product
packaging on the Amazon website to make her purchasing decision—she read on the packaging
that the product was for “Severe Cold + Flu” and that it promised to relieve “Nasal Congestion.”
She trusted that the product would be an effective decongestant Further, Erlick knew from seeing
years of advertising that “TYLENOL® Cold + Flu” was a brand name for over-the-counter
decongestants. She trusted that any product bearing the “TYLENOL® Cold + Flu” brand name
would be an effective decongestant.

203. In making her purchase, Erlick was also misled by Johnson & Johnson’s failure
anywhere to disclose its superior knowledge that this PE Product is not, in fact, effective at
relieving congestion because the ingredient that purportedly “‘decongests” in the product,
phenylephrine, is no more effective at decongesting than placebo when taken orally. Erlick would
not have purchased this PE Product had Johnson & Johnson informed her of its lack of efficacy in
relieving congestion or she would have paid significantly less than she paid insofar as this PE
Product was only effective in treating her other symptoms and was not effective in treating sinus
pressure and congestion.

204. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in TYLENOL® Cold + Flu Severe For Day and Night that purported to decongest was

ineffective as an oral decongestant, Erlick retained counsel to protect her rights.

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205. On May 2, 2024, Erlick caused a Notice of Breach to be sent via U.S. Mail to
Johnson & Johnson., advising that they had breached the express and implied warranties they had.
made to her when she purchased TYLENOL® Cold + Flu Severe For Day and Night medicine
because “the active nasal decongestant ingredient in this product is phenylephrine, which a Food

and Drug Administration advisory panel has concluded is ineffective.”

(c) Erlick Purchased Vicks NyQuil Severe Cold & Flu, 24 Liquicaps, Maximum
Strength

206. On November 17, 2021, Erlick purchased Vicks NyQuil Severe Cold & Flu, 24
Liquicaps, Maximum Strength medicine, a product manufactured and/or labeled by P&G, from
Amazon.com in the State of New York.

207. Erlick made this purchase because she wanted medication that contained an active
ingredient that would be effective in treating her nasal and/or sinus congestion.

208. Erlick purchased the “SEVERE” version of the decongestant because she thought
her symptoms were or would be “severe,” and she wanted to take the highest possible safe dosage
of an active ingredient that would be effective in treating her nasal and/or sinus congestion.

209. Erlich purchased the “Maximum Strength” version of the decongestant because she
wanted to take the highest possible safe dosage of an active ingredient that would be effective in
treating his nasal and/or sinus congestion.

210. In making her purchase, Erlick relied upon the photographs of the product
packaging on the Amazon website to make her purchasing decision—she read on the packaging
that the product was for “SEVERE” “Cold & Flu” and was “MAX Strength” and that it promised
to relieve “Nasal Congestion” and “Sinus Pressure” She trusted that the product would be an

effective decongestant. Further, Erlick knew from seeing years of advertising that “Vicks” and

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NyQuil” were brand-names for over-the-counter decongestants. She trusted that any product
bearing the “Vicks,” “DayQuil,” and “NyQuil” brand names would be an effective decongestant.

211. In making her purchase, Erlick was also misled by P&G’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Erlick would not have purchased this
PE Product had P&G informed her of its lack of efficacy in relieving congestion or she would have
paid significantly less than she paid insofar as this PE Product was only effective in treating her
other symptoms and was not effective in treating sinus pressure and congestion.

212. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in Vicks NyQuil Severe Cold & Flu, 24 Liquicaps, Maximum Strength was ineffective
as an oral decongestant, Erlick retained counsel to protect her rights.

213. On May 2, 2024, Erlick caused a Notice of Breach to be sent via U.S. Mail to P&G,
advising that they had breached the express and implied warranties they had made to her when she
purchased Vicks NyQuil Severe Cold & Flu, 24 Liquicaps, Maximum Strength medicine because
“the active nasal decongestant ingredient in this product is phenylephrine, which a Food and Drug
Administration advisory panel has concluded is ineffective.”

John Sloughter

214. Plaintiff John Sloughter (“Sloughter’) is a citizen of the State of New York who
resides in the Town of Richford.

215. Sloughter occasionally contracts the common cold and/or seasonal flu and suffers

from seasonal allergies. These conditions cause him to experience symptoms such as nasal and/or

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sinus congestion. He takes over-the-counter oral decongestants for relief from these symptoms and.
has been doing so for decades.

216. In the last three years, Sloughter purchased Vicks DayQuil SEVERE Honey
Flavored Maximum Strength Cold & Flu Liquid medicine, a product manufactured and/or labeled
by P&G, in Ithaca, New York.

217. Sloughter made this purchase because he wanted medication that contained an
active ingredient that would be effective in treating his nasal and/or sinus congestion.

218. Sloughter purchased the “Maximum Strength” version of the decongestant because
he wanted to take the highest possible safe dosage of an active ingredient that would be effective
1n treating his nasal and/or sinus congestion.

219. In making his purchase, Sloughter relied upon the product packaging and the
“Vicks” and “DayQuil brand names to make his purchasing decision—he read on the packaging
that the product was “Maximum Strength” and that it promised to relieve “Nasal Congestion, Sinus
Pressure.” Further, Sloughter knew from seeing years of advertising that “Vicks” and “DayQuil”
were brand names for over-the-counter decongestants. He trusted that any product branded
“Vicks” or “DayQuil” would be an effective decongestant.

220. In making his purchase, Sloughter was also misled by P&G’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Sloughter would not have purchased this
PE Product had P&G informed him of its lack of efficacy in relieving congestion or he would have
paid significantly less than he paid insofar as this PE Product was only effective in treating his

other symptoms and was not effective in treating sinus pressure and congestion.

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221. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in Sudafed PE was ineffective as an oral decongestant, Sloughter retained counsel to
protect his rights.

222. On April 22, 2024, Sloughter caused a Notice of Breach to be sent via U.S. Mail to
P&G, advising that they had breached the express and implied warranties they had made to him
when he purchased Vicks DayQuil SEVERE Honey Flavored Maximum Strength Cold & Flu
Liquid medicine because “the active nasal decongestant ingredient in this product is
phenylephrine, which a Food and Drug Administration advisory panel has concluded is
ineffective.”

Keith Mortuiccio

223. Plaintiff Keith Mortuiccio (“Mortuiccio”) is a citizen of the State of New York who
resides in the City of Batavia.

224. Mortuiccio is a former member of the United States Armed Forces, who has been
diagnosed by the Veterans Health Administration as suffering from respiratory conditions related
to Burn Pit Exposure. As a result of these conditions, he suffers from, among other symptoms,
nasal and/or sinus congestion. He has purchased multiple over-the-counter oral decongestants in
order to seek relief from these symptoms from Walmart, Tops, Wegmans, and Walgreens near
Batavia.

(a) Mortuiccio Purchased Mucinex Maximum Strength Sinus-Max® Day &
Night

225. Inthe last three years, Mortuiccio has purchased in New York at least one package
of 24 tablets of “Mucinex Maximum Strength Sinus-Max® Day & Night” liquid gels, a product

manufactured and/or labeled by RB.

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226. Mortuiccio made this purchase because he wanted medication that contained an
active ingredient that would be effective in treating his nasal and/or sinus congestion.

227. Mortuiccio purchased the “Maximum Strength” version of the decongestant
because he wanted to take the highest possible safe dosage of an active ingredient that would be
effective in treating his nasal and/or sinus congestion.

228. In making his purchase, Mortuiccio relied upon the product packaging and the
“Mucinex” brand name to make his purchasing decision—he read on the package that the product
was “Maximum Strength” and that it promised to relieve “Sinus Pressure, Headache &
Congestion,” as well as “Nasal Congestion, Sinus Pressure & Pain.” In addition, Mortuiccio knew
from seeing years of advertising that “Mucinex” was a brand-name for over-the-counter
decongestants. He trusted that any product branded “Mucinex” would be an effective
decongestant.

229. In making his purchase, Mortuiccio was also misled by RB’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Mortuiccio would not have purchased
this PE Product had RB informed him of its lack of efficacy in relieving congestion or he would
have paid significantly less than he paid insofar as this PE Product was only effective in treating
his other symptoms and was not effective in treating sinus pressure and congestion.

230. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in Mucinex Sinus-Max was ineffective as an oral

decongestant, Mortuiccio retained counsel to protect her rights.

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231. On April 25, 2024, Mortuiccio caused a Notice of Breach to be sent via U.S. Mail
to RB, advising that they had breached the express and implied warranties they had made to him
when he purchased Mucinex Maximum Strength Sinus-Max® Day & Night because “the active
nasal decongestant ingredient in this product is phenylephrine, which a Food and Drug
Administration advisory panel has concluded is ineffective.”

(b) Mortuiccio Purchased TYLENOL® Cold + Flu Severe

232. Inthe last three years, Mortuiccio has purchased at least one package in New York
of 24 caplets of TYLENOL® Cold + Flu Severe,” a product manufactured and/or labeled by
Johnson & Johnson.

233. Mortuiccio made this purchase because he wanted medication that contained an
active ingredient that would be effective in treating his nasal and/or sinus congestion.

234. Mortuiccio purchased the “Severe” version of the decongestant because he thought
his symptoms were or would be “severe,” and he wanted to take the highest possible safe dosage
of an active ingredient that would be effective in treating his nasal and/or sinus congestion.

235. In making his purchase, Mortuiccio relied upon the product packaging and the
“TYLENOL®” brand name to make his purchasing decision—he read on the package that the
product was for “Severe” “Cold + Flu” and that it promised to relieve “Nasal Congestion.” Further,
Mortuiccio knew from seeing years of advertising that “TYLENOL®” was a brand-name for over-
the-counter medications. He trusted that any product bearing the “TYLENOL®” brand name
would be an effective decongestant.

236. Inmaking his purchase, Mortuiccio was also misled by Johnson & Johnson’s failure
anywhere to disclose its superior knowledge that this PE Product is not, in fact, effective at

relieving congestion because the ingredient that purportedly ““decongests” in the product,

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phenylephrine, is no more effective at decongesting than placebo when taken orally. Mortuiccio
would not have purchased this PE Product had Johnson & Johnson informed him of its lack of
efficacy in relieving congestion or he would have paid significantly less than he paid insofar as
this PE Product was only effective in treating his other symptoms and was not effective in treating
sinus pressure and congestion.

237. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in TYLENOL® Cold + Flu Severe was ineffective as an
oral decongestant, Mortuiccio retained counsel to protect his rights.

238. On April 25, 2024, Mortuiccio caused a Notice of Breach to be sent via U.S. Mail
to Johnson & Johnson., advising that they had breached the express and implied warranties they
had made to him when he purchased TYLENOL® Cold + Flu Severe because “the active nasal
decongestant ingredient in this product is phenylephrine, which a Food and Drug Administration
advisory panel has concluded is ineffective.”

(c) Mortuiccio Purchased Mucinex Maximum Strength Fast-Max Severe
Congestion & Cough

239. Inthe last three years, Mortuiccio has purchased in New York at least one package
containing 6 fluid ounces of Mucinex Maximum Strength Fast-Max Severe Congestion & Cough,
a product manufactured and/or labeled by RB.

240. Mortuiccio made this purchase because he wanted medication that contained an
active ingredient that would be effective in treating his nasal and/or sinus congestion.

241. Mortuiccio purchased the “Maximum Strength” version of the decongestant
because he wanted to take the highest possible safe dosage of an active ingredient that would be

effective in treating his nasal and/or sinus congestion.

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242. In making his purchase, Mortuiccio relied upon the product packaging and the
“Mucinex” brand name to make his purchasing decision—he read on the package that the product
was for “Severe” “Congestion & Cough” and that it promised to relieve “Nasal & Chest
Congestion.” Further, Mortuiccio knew from seeing years of advertising that “Mucinex” was a
brand-name for over-the-counter decongestants. He trusted that any product bearing the
“Mucinex” brand name would be an effective decongestant.

243. In making his purchase, Mortuiccio was also misled by RB’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Mortuiccio would not have purchased
this PE Product had RB informed him of its lack of efficacy in relieving congestion or he would
have paid significantly less than he paid insofar as this PE Product was only effective in treating
his other symptoms and was not effective in treating sinus pressure and congestion.

244. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in Mucinex Maximum Strength Fast-Max Severe
Congestion & Cough was ineffective as an oral decongestant, Mortuiccio retained counsel to
protect her rights.

245. On April 25, 2024, Mortuiccio caused a Notice of Breach to be sent via U.S. Mail
to RB, advising that they had breached the express and implied warranties they had made to him
when he purchased Mucinex Maximum Strength Fast-Max Severe Congestion & Cough because
“the active nasal decongestant ingredient in this product is phenylephrine, which a Food and Drug

Administration advisory panel has concluded is ineffective.”

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(d) Mortuiccio Purchased Vicks DayQuil™ and NyQuil™ VapoCOOL SEVERE
Maximum Strength Cold & Flu + Congestion Relief Liquid Co-Pack

246. In the last three years, Mortuiccio has purchased in New York at least one package
consisting of two 12 fluid ounce bottles of “Vicks DayQuil™ and NyQuil™ VapoCOOL SEVERE
Maximum Strength Cold & Flu + Congestion Relief Liquid Co-Pack,” a product manufactured.
and/or labeled by P&G.

247. Mortuiccio made this purchase because he wanted medication that contained an
active ingredient that would be effective in treating his nasal and/or sinus congestion.

248. Mortuiccio purchased the “Severe” version of the decongestant because he thought
his symptoms were or would be “severe,” and he wanted to take the highest possible safe dosage
of an active ingredient that would be effective in treating his nasal and/or sinus congestion.

249. In making his purchase, Mortuiccio relied upon the product packaging and the
“Vicks,” “DayQuil” and NyQuil” brand names to make his purchasing decision—he read on the
package that the product was for “Severe Cold & Flu+ Congestion,” and that it promised to relieve
“Nasal Congestion” and “Sinus Pressure.” Further, Mortuiccio knew from seeing years of
advertising that “Vicks” and “DayQuil” and NyQuil” were brand names for over-the-counter
decongestants. He trusted that any product bearing the “Vicks,” “DayQuil” and NyQuil” brand
names would be an effective decongestant.

250. In making his purchase, Mortuiccio was also misled by P&G’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Mortuiccio would not have purchased

this PE Product had P&G informed him of its lack of efficacy in relieving congestion or he would

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have paid significantly less than he paid insofar as this PE Product was only effective in treating
his other symptoms and was not effective in treating sinus pressure and congestion.

251. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in “Vicks DayQuil™ and NyQuil™ VapoCOOL
SEVERE Maximum Strength Cold & Flu + Congestion Relief Liquid Co-Pack was ineffective as
an oral decongestant, Mortuiccio retained counsel to protect his rights.

252. On April 25, 2024 Mortuiccio caused a Notice of Breach to be sent via U.S. Mail
to P&G, advising that they had breached the express and implied warranties they had made to him
when he purchased Vicks DayQuil™ and NyQuil™ VapoCOOL SEVERE Maximum Strength
Cold & Flu + Congestion Relief Liquid Co-Pack because “the active nasal decongestant ingredient
in this product is phenylephrine, which a Food and Drug Administration advisory panel has
concluded is ineffective.”

(e) Mortuiccio Purchased Mucinex Maximum Strength Fast-Max® Day Cold &
Flu and Night Cold & Flu

253. Inthe last three years, Mortuiccio in New York has purchased at least one package
consisting of 24 liquid gels of “Mucinex Maximum Strength Fast-Max® Day Cold & Flu and Night
Cold & Flu,” a product manufactured and/or labeled by RB.

254. Mortuiccio made this purchase because he wanted medication that contained an
active ingredient that would be effective in treating his nasal and/or sinus congestion.

255. Mortuiccio purchased the “Maximum Strength” version of the decongestant
because he wanted to take the highest possible safe dosage of an active ingredient that would be
effective in treating his nasal and/or sinus congestion.

256. In making his purchase, Mortuiccio relied upon the product packaging and the

“Mucinex” brand name to make his purchasing decision—he read on the package that the product

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was for “Nasal Congestion,” and that it promised to relieve “Sinus Congestion” and “Sinus
Pressure.” Further, Mortuiccio knew from seeing years of advertising that “Mucinex” was a brand.
name for over-the-counter decongestants. He trusted that any product bearing the “Mucinex” brand
name would be an effective decongestant.

257. In making his purchase, Mortuiccio was also misled by RB’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Mortuiccio would not have purchased
this PE Product had RB informed him of its lack of efficacy in relieving congestion or he would
have paid significantly less than he paid insofar as this PE Product was only effective in treating
his other symptoms and was not effective in treating sinus pressure and congestion.

258. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that the active ingredient in Mucinex Maximum Strength Fast-Max® Day Cold &
Flu and Night Cold & Flu was ineffective as an oral decongestant, Mortuiccio retained counsel to
protect his rights.

259. On April 25, 2024 Mortuiccio caused a Notice of Breach to be sent via U.S. Mail
to RB, advising that they had breached the express and implied warranties they had made to him
when he purchased Mucinex Maximum Strength Fast-Max® Day Cold & Flu and Night Cold &
Flu because “the active nasal decongestant ingredient in this product is phenylephrine, which a
Food and Drug Administration advisory panel has concluded is ineffective.”

(f) Mortuiccio Purchased Vicks DayQuil™ and NyQuil™ SEVERE Maximum
Strength Cough, Cold & Flu Relief LiquiCaps™ Co-Pack

260. In the last three years, Mortuiccio in New York has purchased at least one package

consisting of twelve liquid capsules of “Vicks DayQuil™ and NyQuil™ SEVERE Maximum

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Strength Cough, Cold & Flu Relief LiquiCaps™ Co-Pack,” a product manufactured and/or labeled
by P&G.

261. Mortuiccio made this purchase because he wanted medication that contained an
active ingredient that would be effective in treating his nasal and/or sinus congestion.

262. Mortuiccio purchased the “Maximum Strength” version of the decongestant
because he wanted to take the highest possible safe dosage of an active ingredient that would be
effective in treating his nasal and/or sinus congestion.

263. Mortuiccio purchased the “Severe” version of the decongestant because he thought
his symptoms were or would be “severe,” and he wanted to take the highest possible safe dosage
of an active ingredient that would be effective in treating his nasal and/or sinus congestion.

264. In making his purchase, Mortuiccio relied upon the product packaging and the
“Vicks,” “DayQuil” and NyQuil” brand names to make his purchasing decision—he read on the
package that the product was for “Severe Cold & Flu,” and that it promised to relieve “Nasal
Congestion” and “Sinus Pressure.” Further, Mortuiccio knew from seeing years of advertising that
“Vicks” and “DayQuil” and NyQuil” were brand names for over-the-counter decongestants. He
trusted that any product bearing the “Vicks,” “DayQuil,” and NyQuil” brand names would be an
effective decongestant.

265. In making his purchase, Mortuiccio was also misled by P&G’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Mortuiccio would not have purchased

this PE Product had P&G informed him of its lack of efficacy in relieving congestion or he would

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have paid significantly less than he paid insofar as this PE Product was only effective in treating
his other symptoms and was not effective in treating sinus pressure and congestion.

266. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in Vicks DayQuil™ and NyQuil™ SEVERE Maximum
Strength Cough, Cold & Flu Relief LiquiCaps™ Co-Pack was ineffective as an oral decongestant,
Mortuiccio retained counsel to protect his rights.

267. On April 25, 2024, Mortuiccio caused a Notice of Breach to be sent via U.S. Mail
to P&G, advising that they had breached the express and implied warranties they had made to him
when he purchased Vicks DayQuil™ and NyQuil™ SEVERE Maximum Strength Cough, Cold &
Flu Relief LiquiCaps™ Co-Pack because “the active nasal decongestant ingredient in this product
is phenylephrine, which a Food and Drug Administration advisory panel has concluded is
ineffective.”

Pedro Urena

268. Plaintiff Pedro Urena (“Urena”) is a citizen of the State and City of New York who
resides in the County and Borough of the Bronx.

269. Urena occasionally contracts the common cold and/or seasonal flu. These
conditions cause him to experience symptoms such as nasal and/or sinus congestion. He takes
multiple over-the-counter oral decongestants for relief from these symptoms that he has purchased
from Walgreen’s, CVS, and Target as well as a local pharmacy called Cuidamed Pharmacy in the

Bronx.

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(a) Urena Purchased Alka-Seltzer Plus Severe Cold & Flu

270. Within the last three years, Urena has purchased in New York at least one package
of “Alka-Seltzer Plus Severe Cold & Flu” effervescent tablets, a product manufactured and/or
labeled by Bayer.

271. Urena made this purchase because he wanted medication that contained an active
ingredient that would be effective in treating his nasal and/or sinus congestion.

272. Urena purchased the “Severe” version of the decongestant because he thought his
symptoms were or would be “severe,” and he wanted to take the highest possible safe dosage of
an active ingredient that would be effective in treating his nasal and/or sinus congestion.

273. In making his purchase, Urena relied upon the product packaging and the “Alka-
Seltzer” brand name to make his purchasing decision—he read on the label that the product was
for “Severe Cold & Flu” and that it promised to relieve “Nasal Congestion.” Further, Urena knew
from seeing years of advertising that “Alka-Seltzer” was a brand name for over-the-counter
decongestants. He trusted that any product branded “Alka-Seltzer” would be an effective
decongestant.

274. In making his purchase, Urena was also misled by Bayer’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Urena would not have purchased this
PE Product had Bayer informed him of its lack of efficacy in relieving congestion or he would
have paid significantly less than he paid insofar as this PE Product was only effective in treating

his other symptoms and was not effective in treating sinus pressure and congestion.

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275. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in Alka-Seltzer Plus Severe Cold & Flu was ineffective
as an oral decongestant, Urena retained counsel to protect his rights.

276. On April 25, 2024, Urena caused a Notice of Breach to be sent via U.S. Mail to
Bayer, advising that they had breached the express and implied warranties they had made to him
when he purchased Alka-Seltzer Plus Severe Cold & Flu because “the active nasal decongestant
ingredient in this product is phenylephrine, which a Food and Drug Administration advisory panel
has concluded is ineffective.”

(b) Urena Purchased Thearaflu Daytime Severe Cold Relief Berry Burst Flavor
Hot Liquid Powder

277. In the last three years, Urena has purchased in New York at least one package of
six packets of Theraflu Daytime Severe Cold Relief Berry Burst Flavor Hot Liquid Powder, a
product manufactured and/or labeled by Haleon.

278. Urena made this purchase because he wanted medication that contained an active
ingredient that would be effective in treating his nasal and/or sinus congestion.

279. Urena purchased the “Severe” version of the decongestant because he thought his
symptoms were or would be “severe,” and he wanted to take the highest possible safe dosage of
an active ingredient that would be effective in treating his nasal and/or sinus congestion.

280. In making his purchase, Urena relied upon the product packaging and the
“Theraflu” brand name to make his purchasing decision—he read on the package that the product
was for “Severe Cold Relief” and that it promised to relieve “Nasal and sinus congestion.” Further,
Urena knew from seeing years of advertising that “Theraflu” was a brand name for over-the-
counter medications. He trusted that any product bearing the “Theraflu” brand name would be an

effective decongestant.

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281. In making his purchase, Urena was also misled by Haleon’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. Urena would not have purchased this
PE Product had Haleon informed him of its lack of efficacy in relieving congestion or he would
have paid significantly less than he paid insofar as this PE Product was only effective in treating
his other symptoms and was not effective in treating sinus pressure and congestion.

282. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in Thearaflu Daytime Severe Cold Relief Berry Burst
Flavor Hot Liquid Powder was ineffective as an oral decongestant, Urena retained counsel to
protect his rights.

283. On April 25, 2024, Urena caused a Notice of Breach to be sent via U.S. Mail to
Haleon, advising that they had breached the express and implied warranties they had made to him
when he purchased Thearaflu Daytime Severe Cold Relief Berry Burst Flavor Hot Liquid Powder
because “the active nasal decongestant ingredient in this product is phenylephrine, which a Food
and Drug Administration advisory panel has concluded is ineffective.”

(c) Urena Purchased Vicks DayQuil™ SEVERE Maximum Strength, Cold &
Flu Daytime Relief LiquiCaps

284. In the last three years, Urena has purchased in New York at least one package
consisting of sixteen liquid capsules of “Vicks DayQuil™ SEVERE Maximum Strength Cold &
Flu Daytime Relief LiquiCaps,” a product manufactured and/or labeled by P&G.

285. Urena made this purchase because he wanted medication that contained an active

ingredient that would be effective in treating his nasal and/or sinus congestion.

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286. Urena purchased the “Maximum Strength” version of the decongestant because he
wanted to take the highest possible safe dosage of an active ingredient that would be effective in
treating his nasal and/or sinus congestion.

287. Urena purchased the “Severe” version of the decongestant because he thought his
symptoms were or would be “severe,” and he wanted to take the highest possible safe dosage of
an active ingredient that would be effective in treating his nasal and/or sinus congestion.

288. In making his purchase, Urena relied upon the product packaging and the “Vicks,”
and “DayQuil” brand names to make his purchasing decision—he read on the package that the
product was for “Severe Cold & Flu,” and that it promised to relieve “Nasal Congestion” and
“Sinus Pressure.” Further, Urena knew from seeing years of advertising that “Vicks” and
“DayQuil” were brand names for over-the-counter decongestants. He trusted that any product
bearing the “Vicks,” and “DayQuil” brand names would be an effective decongestant. Urena was
also misled by P&G’s failure anywhere to disclose its superior knowledge that this PE Product is
not, in fact, effective at relieving congestion because the ingredient that purportedly “decongests”
1n the product, phenylephrine, is no more effective at decongesting than placebo when taken orally.
Urena would not have purchased this PE Product had P&G informed him of its lack of efficacy in
relieving congestion or he would have paid significantly less than he paid insofar as this PE Product
was only effective in treating his other symptoms and was not effective in treating sinus pressure
and congestion.

289. Upon learning from his attorneys in prior litigation that an FDA Advisory Panel
had determined that an active ingredient in “Vicks DayQuil™ SEVERE Maximum Strength Cold
& Flu Daytime Relief LiquiCaps was ineffective as an oral decongestant, Urena retained counsel

to protect her rights.

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290. On April 25, 2024, Urena caused a Notice of Breach to be sent via U.S. Mail to
P&G, advising that they had breached the express and implied warranties they had made to him
when he purchased Vicks DayQuil™ SEVERE Maximum Strength Cold & Flu Daytime Relief
LiquiCaps because “the active nasal decongestant ingredient in this product is phenylephrine,
which a Food and Drug Administration advisory panel has concluded 1s ineffective.”

Kimberly McNulty

291. Plaintiff Kimberly McNulty (“McNulty”) is a citizen of the State and City of New
York, County and Borough of Bronx.

292. From time to time, McNulty or her eleven-year-old son catch the common cold
and/or seasonal flu. These conditions cause them to experience symptoms including nasal and/or
sinus congestion. For relief from these symptoms, Plaintiff personally takes and/or administers to
her son over-the-counter oral decongestants.

(a) McNulty Purchased up & up Daytime Severe Cold & Flu

293. In the last three years, McNulty purchased Target’s up & up Daytime Severe Cold
& Flu Softgel medicine from Target in the Bronx, New York, and product manufactured and/or
labeled by Target.

294. McNulty made this purchase because she wanted medication that contained an
active ingredient that would be effective in treating her nasal and/or sinus congestion.

295. McNulty purchased the “Severe” version of the decongestant because she thought
her symptoms were or would be “severe,” and she wanted to take the highest possible safe dosage
of an active ingredient that would be effective in treating her nasal and/or sinus congestion.

296. In making her purchase, McNulty relied upon the product packaging and the Target

“up & up” brand name to make her purchasing decision—she read on the packaging that the

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product was intended for “Nasal Congestion and Sinus Pressure.” She trusted that any product
branded “up & up” would be an effective decongestant.

297. In making her purchase, McNulty was also misled by Target’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. McNulty would not have purchased this
PE Product had Target informed her of its lack of efficacy in relieving congestion or she would
have paid significantly less than she paid insofar as this PE Product was only effective in treating
her other symptoms and was not effective in treating sinus pressure and congestion.

298. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in up & up Daytime Severe Cold & Flu Softgel was ineffective as an oral decongestant,
McNulty retained counsel to protect her rights.

299. On April 25, 2024, McNulty caused a Notice of Breach to be sent via U.S. Mail to
Target Corporation advising that they had breached the express and implied warranties they had
made to her when she purchased Target’s up & up Daytime Severe Cold & Flu Softgel medicine
because “the active nasal decongestant ingredient in this product is phenylephrine, which a Food
and Drug Administration advisory panel has concluded is ineffective.”

(b) McNulty Purchased Walgreens Multi-Symptom Children’s Cold Liquid

300. In the last three years, McNulty purchased Walgreens Multi-Symptom Children’s
Cold Liquid medicine from Walgreens in the Bronx, New York, a product manufactured and/or
labeled by Walgreens.

301. McNulty made this purchase because she wanted medication that contained an

active ingredient that would be effective in treating her son’s nasal and/or sinus congestion.

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302. In making her purchase, McNulty relied upon the product packaging and the
“Walgreens” brand name to make her purchasing decision—she read on the packaging that the
product was intended for “Stuffy Nose.” She trusted that any product branded “Walgreens” would
be an effective decongestant.

303. In making her purchase, McNulty was also misled by Walgreens’ failure anywhere
to disclose its superior knowledge that this PE Product is not, in fact, effective at relieving
congestion because the ingredient that purportedly “decongests” in the product, phenylephrine, is
no more effective at decongesting than placebo when taken orally. McNulty would not have
purchased this PE Product had Walgreens informed her of its lack of efficacy in relieving
congestion or she would have paid significantly less than she paid insofar as this PE Product was
only effective in treating her other symptoms and was not effective in treating sinus pressure and
congestion.

304. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in Walgreens Multi-Symptom Children’s Cold Liquid was ineffective as an oral
decongestant, McNulty retained counsel to protect her rights.

305. On April 25, 2024, McNulty caused a Notice of Breach to be sent via U.S. Mail to
Walgreens Co. advising that they had breached the express and implied warranties they had made
to her when she purchased Walgreens Multi-Symptom Children’s Cold Liquid medicine because
“the active nasal decongestant ingredient in this product is phenylephrine, which a Food and Drug

Administration advisory panel has concluded is ineffective.”

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(c) McNulty Purchased Walgreens Daytime Severe Cold & Flu Maximum
Strength

306. In the last three years, McNulty purchased Walgreens Daytime Severe Cold & Flu
Maximum Strength medicine from Walgreens in the Bronx, New York, a product manufactured.
and/or labeled by Walgreens.

307. McNulty made this purchase because she wanted medication that contained an
active ingredient that would be effective in treating her nasal and/or sinus congestion.

308. McNulty purchased the “Severe” version of the decongestant because she thought
her symptoms were or would be “severe,” and she wanted to take the highest possible safe dosage
of an active ingredient that would be effective in treating her nasal and/or sinus congestion.

309. In making her purchase, McNulty relied upon the product packaging and the
“Walgreens” brand name to make her purchasing decision—she read on the packaging that the
product was intended for “Nasal Congestion and Sinus Pressure.” She trusted that any product
branded “Walgreens” would be an effective decongestant.

310. In making her purchase, McNulty was also misled by Walgreens’ failure anywhere
to disclose its superior knowledge that this PE Product is not, in fact, effective at relieving
congestion because the ingredient that purportedly “decongests” in the product, phenylephrine, is
no more effective at decongesting than placebo when taken orally. McNulty would not have
purchased this PE Product had Walgreens informed her of its lack of efficacy in relieving
congestion or she would have paid significantly less than she paid insofar as this PE Product was
only effective in treating his other symptoms and was not effective in treating sinus pressure and

congestion.

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311. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in Walgreens Daytime Severe Cold & Flu Maximum Strength was ineffective as an oral
decongestant, McNulty retained counsel to protect her rights.

312. On April 25, 2024, McNulty caused a Notice of Breach to be sent via U.S. Mail to
Walgreens advising that they had breached the express and implied warranties they had made to
her when she purchased Walgreens Daytime Severe Cold & Flu Maximum Strength medicine
because “the active nasal decongestant ingredient in this product is phenylephrine, which a Food
and Drug Administration advisory panel has concluded is ineffective.”

(d) McNulty Purchased CVS Health Children’s Day + Nighttime Cold, Cough +
Congestion Relief Liquid

313. Inthe last three years, McNulty purchased CVS Health Children’s Day + Nighttime
Cold, Cough + Congestion Relief Liquid medicine from CVS in the Bronx, New York, a product
manufactured and/or labeled by CVS.

314. McNulty made this purchase because she wanted medication that contained an
active ingredient that would be effective in treating her nasal and/or sinus congestion.

315. In making her purchase, McNulty relied upon the product packaging and the “CVS”
brand name to make her purchasing decision—she read on the packaging that the product was
intended relieving congestion.

316. In making her purchase, McNulty was also misled by CVS’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion
because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more
effective at decongesting than placebo when taken orally. McNulty would not have purchased this

PE Product had CVS informed her of its lack of efficacy in relieving congestion or she would have

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paid significantly less than he paid insofar as this PE Product was only effective in treating her
other symptoms and was not effective in treating sinus pressure and congestion.

317. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in the PE Product was ineffective as an oral decongestant, McNulty retained counsel to
protect her rights.

318. On May 3, 2024, McNulty caused a Notice of Breach to be sent via U.S. Mail to
CVS advising that they had breached the express and implied warranties they had made to her
when she purchased CVS Health Children’s Day + Nighttime Cold, Cough + Congestion Relief
Liquid medicine because “the active nasal decongestant ingredient in this product is
phenylephrine, which a Food and Drug Administration advisory panel has concluded is
ineffective.”

(e) McNulty Purchased CVS Health Non-Drowsy Daytime Multi-Symptom
Cold/Flu Relief Softgels

319. Inthe last three years, McNulty purchased CVS Health Children’s Day + Nighttime
Cold, Cough, + Congestion Relief Liquid Combo Pack from CVS in the Bronx, New York, a
product manufactured and/or labeled by CVS.

320. McNulty made this purchase because she wanted medication that contained an
active ingredient that would be effective in treating nasal and/or sinus congestion.

321. In making her purchase, McNulty relied upon the product packaging and the “CVS”
brand name to make her purchasing decision—she read on the packaging that the product was
intended relieving congestion.

322. In making her purchase, McNulty was also misled by CVS’s failure anywhere to
disclose its superior knowledge that this PE Product is not, in fact, effective at relieving congestion

because the ingredient that purportedly “decongests” in the product, phenylephrine, is no more

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effective at decongesting than placebo when taken orally. McNulty would not have purchased this
PE Product had CVS informed her of its lack of efficacy in relieving congestion or she would have
paid significantly less than he paid insofar as this PE Product was only effective in treating her
other symptoms and was not effective in treating sinus pressure and congestion.

323. Upon learning that an FDA Advisory Panel had determined that the active
ingredient in the PE Product was ineffective as an oral decongestant, McNulty retained counsel to
protect her rights.

324. On May 3, 2024, McNulty caused a Notice of Breach to be sent via U.S. Mail to
CVS advising that they had breached the express and implied warranties they had made to her
when she purchased CVS Health Children’s Day + Nighttime Cold, Cough, + Congestion Relief
Liquid because “the active nasal decongestant ingredient in this product is phenylephrine, which
a Food and Drug Administration advisory panel has concluded is ineffective.”

Tatyana Dekhtyar

325. Plaintiff Tatyana Dekhtyar (““Dekhtyar’”) is a citizen of the State of New York who
resides in Brooklyn, New York.

326. From time to time, Dekhtyar catches the common cold or seasonal flu. When she
catches a cold or flu, she experiences symptoms such as nasal and/or sinus congestion. She takes
over-the-counter oral decongestants for relief from these symptoms.

327. Within the Class Period, Dekhtyar purchased “Advil Sinus Congestion & Pain,” a
product manufactured and/or labeled by Haleon, from Target, CVS and Walgreens, in Brooklyn
New York. Dekhtyar paid for such purchases out-of-pocket.

328. Dekhtyar made these purchases because she wanted medication that contained an

active ingredient that would be effective in treating her nasal and/or sinus congestion.

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329. In making her purchases, Dekhtyar relied upon the product packaging and the
“Advil” brand name to make her purchasing decision—she read on the packaging that the product
promised to relieve “Nasal Congestion”, “Nasal Swelling” and “Sinus Pressure.” In addition,
Dekhtyar knew from seeing years of advertising that “Advil” was a brand name for over-the-
counter drugs effective at relieving congestion. She trusted that any product named “Advil” would
be an effective decongestant.

330. In making her purchases, Dekhtyar was also misled by Haleon’s failure anywhere
to disclose its superior knowledge that this PE Product is not, in fact, effective at relieving
congestion because the ingredient that purportedly “decongests” in the product, phenylephrine, is
no more effective at decongesting than placebo when taken orally. Dekhtyar would not have
purchased this PE Product had Haleon informed her of its lack of efficacy in relieving congestion
or she would have paid significantly less than she paid insofar as this PE Product was only effective
in treating her other symptoms and was not effective in treating sinus pressure and congestion.

331. Upon learning from USA Today Article published in September of 2023 that an
FDA Advisory Panel had determined that the active ingredient in Sudafed PE was ineffective as
an oral decongestant, Dekhtyar retained counsel to protect her rights.

332. On September 26, 2023, September 27, 2023 and May 3, 2024, Dekhtyar caused a
notices of breach and violation of consumer protection statutes to be sent to Haleon, advising that
it had breached the express and implied warranties it had made to her when she purchased Advil
Sinus Congestion & Pain because “the active nasal decongestant ingredient in this product is
phenylephrine, which a Food and Drug Administration advisory panel has concluded is

ineffective.”

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VI. TOLLING OF ALL APPLICABLE STATUTES OF LIMITATION

Discovery Rule Tolling

333. Plaintiffs and the other Class members had no way of knowing about Defendants’
deception concerning their PE Products. As consumers, they reasonably believed that the
phenylephrine contained within the PE Products that Defendants offered for sale could act as a
decongestant.

334. Within the time period of any applicable statutes of limitation, Plaintiffs and the
other Class members could not have discovered through the exercise of reasonable diligence that
Defendants’ PE Products were ineffective as advertised.

335. Plaintiffs and the other Class members did not discover and did not know facts that
would have caused a reasonable person to suspect that Defendants did not report information
within their knowledge about the ineffectiveness of their PE Products.

336. For these reasons, all applicable statutes of limitation have been tolled through the
discovery rule for the asserted claims.

Fraudulent Concealment Tolling

337. All applicable statutes of limitation have also been tolled by Defendants’ knowing
and active fraudulent concealment and denial of the facts alleged herein throughout the time period
relevant to this action.

338. Despite their knowledge that Oral PE is not efficacious as a decongestant,
Defendants intentionally withheld and never disclosed to consumers that information in any form,
other than Johnson & Johnson’s belated partial disclosure, discussed above.

339. Rather than disclose the truth about their PE products, Defendants falsely

represented these PE Products as ones that would relieve congestion.

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340. Absent discovery, Plaintiffs were unaware of, and unable through reasonable
investigation to obtain, the true names and identities of those individuals at Defendants’ companies
responsible for disseminating false and misleading statements to consumers regarding the
ineffectiveness of their PE Products. Defendants necessarily are in possession of this information.

341. Plaintiffs’ claims arise out of Defendants’ fraudulent concealment of the true
effectiveness of PE Products and Defendants’ representations to consumers regarding this
effectiveness.

342. Tothe extent that Plaintiffs’ claims arise from Defendants’ fraudulent concealment,
there is no one document or communication, and no one interaction, upon which Plaintiffs base
their claims. Plaintiffs allege that at all relevant times, including specifically prior to and at the
time they purchased their PE Products: Defendants knew, or were reckless in not knowing, of the
lack of effectiveness of PE and PE Products; Defendants were under a duty to truthfully disclose
the lack of effectiveness based upon a) their exclusive and/or superior knowledge of the lack of
effectiveness of PE and PE Products; b) their partial representations about the effectiveness of PE
and PE Products, and c) their active concealment of the lack of effectiveness of PE and PE
Products. Defendants never disclosed the lack of effectiveness to Plaintiffs or consumers at any
time or place or in any manner.

343. Plaintiffs make the following specific fraud allegations with as much specificity as
possible absent access to the information necessarily available only to Defendants:

a. Who: Defendants actively concealed the true effectiveness of PE from
Plaintiffs and the other Class Members, while simultaneously falsely touting the efficacy of their
PE Products. Plaintiffs are unaware of, and therefore unable to identify, the names and identities

of those specific individuals at Defendants’ companies responsible for such decision;

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b. What: Defendants knew, or were reckless or negligent in not knowing, that
PE is an ineffective decongestant starting no later than January 1, 2016;

c. When: Defendants concealed material information regarding PE and PE
Products, and made representations about PE and PE Products’ effectiveness starting no later than
January 1, 2016, continuing through the time of sale, and on an ongoing basis, and continuing to
this day. Defendants still have not disclosed the full truth about the lack of effectiveness of PE to
anyone outside of Defendants’ companies. Defendants never took any action to adequately inform
consumers about the true nature of the effectiveness of PE, aside from a small disclosure by
Johnson & Johnson on its website following the NDAC’s September 2023 announcement that PE
is ineffective. Defendants continue to deny any knowledge of or responsibility for the
ineffectiveness of PE Products;

d. Where: Defendants concealed material information regarding the true
effectiveness of PE on its products and in online and in physical advertisements. Plaintiffs are
aware of no document, communication, or other place or thing, in which Defendants disclosed the
truth about the true effectiveness of PE to anyone outside of Defendants’ companies. Such
information is not adequately disclosed in any sales documents, displays, advertisements,
warranties, or disclaimers on Defendants’ websites or in Defendants’ stores;

e. How: Defendants concealed the lack of effectiveness from Plaintiffs and
the other Class Members and made misrepresentations about the effectiveness of PE. Defendants
promised in their marketing materials and on their products that their PE Products have qualities
that they do not have. Defendants actively concealed the truth about the lack of effectiveness of

PE from Plaintiffs and the other Class Members, even though Defendants knew about PE’s lack

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of effectiveness and knew that information about the lack of effectiveness would be important to
a reasonable consumer;

f. Why: Defendants actively concealed material information and made
material misrepresentations about the effectiveness of PE for the purpose of inducing Plaintiffs
and the other Class Members to purchase PE Products, and/or pay more for them than they
otherwise would. Had Defendants disclosed the truth, for example on their products, in their
advertisements or other materials or communications, Plaintiffs and the other Class Members (all
reasonable consumers) would have been aware of it and would not have bought PE Products or
would have paid less for them.

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344. Defendants were under a continuous duty to disclose to Plaintiffs and the other
Class members the true character, quality, and nature of their PE Products.

345. Defendants knowingly, affirmatively, and actively concealed the true nature,
quality, and character of their PE Products.

346. Based on the foregoing, Defendants are estopped from relying on any statutes of
limitations in defense of this action.

VII. CLASS ACTION ALLEGATIONS

347. Plaintiffs bring this action pursuant to Rules 23(a), 23(b)(2), 23(b)@G), and 23(c)(4)
of the Federal Rules of Civil Procedure, individually and on behalf of all others similarly situated.

348. Plaintiffs seek to represent the following Classes:

a. The Nationwide RICO Class

All natural persons who, from 2016 to the present, purchased an oral nasal
decongestant containing phenylephrine, other than for resale, manufactured.
by Defendants (the “Nationwide RICO Class”);

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b. The Johnson & Johnson New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Defendant Johnson & Johnson (the
“Johnson & Johnson New York Class”);

c. The RB New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Defendant RB (the “Reckitt Benckiser New
York Class’);

d. The Bayer New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Defendant Bayer (the “Bayer New York
Class”);

e. The CVS New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Defendant CVS (the “CVS New York
Class”);

f. The Target New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Defendant Target (the “Target New York
Class”);

g. The Walgreens New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Defendant Walgreens (the “Walgreens
New York Class”);

h. The P&G New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing

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phenylephrine manufactured by Defendant P&G (the “P&G New York
Class”);

i. The Haleon New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Defendant Haleon (the “Haleon New York
Class”); and

j. The Walmart New York Class

All natural persons who, from 2016 to the present, purchased in the State of
New York, other than for resale, an oral nasal decongestant containing
phenylephrine manufactured by Walmart. (the “Walmart New York
Class”).

349. Excluded from the Classes are: any claims for personal injury or wrongful death;
Defendants, and any of Defendants’ members, affiliates, parents, subsidiaries, officers, directors,
employees, successors, or assigns; the Judges assigned to this case and their immediate family
members; and Court staff assigned to this case.

350. This action has been brought and may properly be maintained on behalf of the
Classes proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

351. Plaintiffs reserve the right before the Court to determine whether certification of
other classes or subclasses are appropriate.

352. Certification of Plaintiffs’ claims for classwide treatment is appropriate because
Plaintiffs can prove the elements of their claims using the same evidence as would be used to prove
those elements in individual actions alleging the same claims.

353. This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

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354. Numerosity — Federal Rule of Civil Procedure 23(a)(1). The members of the

Classes are so numerous and geographically dispersed that individual joinder of all Class Members
is impracticable. Plaintiffs are informed and believe that there are millions of members of the
Classes based on the size of the market for decongestant products and Defendants’ share of that
market. Class Members may be notified of the pendency of this action by recognized, Court-
approved notice dissemination methods, which may include U.S. Mail, electronic mail, Internet
postings, and/or published notice.

355. Commonality and Predominance — Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3). This action involves common questions of law and fact which predominate over
any questions affecting individual Class members, including, without limitation:
a. whether Defendants engaged in the conduct alleged herein;
b. whether Defendants’ alleged conduct violates applicable law;
c. whether and when Defendants knew that phenylephrine was ineffective as a
decongestant;
d. whether Defendants sold PE Products as though they were effective;
e. what measures Defendants took to conceal the truth about their PE Products;
f. Defendants’ duty to disclose the truth about their PE Products;
g. whether Plaintiffs and the other Class members overpaid for Defendants’ PE
Products;
h. whether Plaintiffs and the other Class members are entitled to damages,
restitution, restitutionary disgorgement, equitable relief, statutory damages,

exemplary damages, and/or other relief;

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1. whether Plaintiffs and the class are entitled to injunctive relief and the nature of
such relief; and

j. the amount and nature of relief to be awarded to Plaintiffs and the other Class
members.

356.  Typicality — Federal Rule of Civil Procedure 23(a)(3). Plaintiffs’ claims are

typical of the other Class Members’ claims because, among other things, all Class members were
comparably injured through Defendants’ wrongful conduct as described above. Plaintiffs and all
Class members suffered monetary damages as a direct proximate result of the same wrongful
practices in which Defendants engaged. Plaintiffs’ claims arise from the same practices and course
of conduct that give rise to the claims of the other Class members.

357. Adequacy of Representation — Federal Rule of Civil Procedure 23(a)(4).

Plaintiffs are adequate Class representatives because their interests do not conflict with the
interests of the other members of the Classes they seek to represent; Plaintiffs have retained
counsel competent and experienced in complex class action litigation; and Plaintiffs intend to
prosecute this action vigorously. The Classes’ interests will be fairly and adequately protected by
Plaintiffs and their counsel.

358. Declaratory and Injunctive Relief — Federal Rule of Civil Procedure 23(b)(2).

Defendants acted or refused to act on grounds generally applicable to Plaintiffs and the other members
of the Classes, thereby making declaratory and injunctive relief appropriate, with respect to each Class
as a whole.

359. Superiority — Federal Rule of Civil Procedure 23(b)@). A class action is superior

to any other available means for the fair and efficient adjudication of this controversy and no unusual
difficulties are likely to be encountered in managing this class action. The damages or other financial

detriment suffered by Plaintiffs and the other Class members are relatively small compared to the

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burden and expense that would be required to individually litigate their claims against Defendants, so
it would be impracticable for the members of the Classes to seek redress for Defendants’ wrongful
conduct individually. Even if Class members could afford individual litigation, such litigation creates
a potential for inconsistent or contradictory judgments. It increases the delay and expense to all parties
and the court system. By contrast, a class action is suited and intended to manage such difficulties and
provide the benefits of uniform and common adjudication, economy of scale, and comprehensive
supervision.

360. Issue Certification — Federal Rule of Civil Procedure 23(c)(4). As an alternative to

Rule 23(b)(2) and/or 23(b)(3), Plaintiffs seek issue certification under Rule 23(c)(4) of liability issues

common to all Class members.

VIII. CLAIMS FOR RELIEF

361. Asa matter of state and federal law, Defendants’ PE Products are misbranded.

362. The PE Products meet the Federal Food, Drug, and Cosmetic Act (21 U.S.C. ch. 9)
(“FDCA’s”) definition of “drug.” See 21 U.S.C § 321(g)(1).>”

363. Federal law, including the FDCA and the FDA’s implementing rules and
regulations, prohibits Defendants from including false or misleading information in their Products’
drug labeling.

364. For example, 21 U.S.C. § 352(a)(1) provides, in pertinent part, that:

A drug or device shall be deemed to be misbranded—
(a) False or Misleading Label
(1) If its labeling is false or misleading in any particular [sic]

57 “The term ‘drug’ means . . . (B) articles intended for use in the diagnosis, cure, mitigation, treatment, or
prevention of disease in man or other animals; and (C) articles (other than food) intended to affect the
structure or any function of the body of man or other animals.”

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365. Consistent with 21 U.S.C. § 352(a)(1), the FDA’s rules and regulations
implementing the FDCA prohibit false or misleading information in drug labeling.

366. Consistent with 21 U.S.C. § 352(a)(1), the FDA’s rules and regulations
implementing the FDCA do not and cannot permit, authorize, or require false or misleading
information to be included in drug labeling.

367. Federal law also prohibits the introduction into interstate commerce of any
misbranded drug. For example, 21 U.S.C. § 331(a) provides, in pertinent part, that defendant may
not “[deliver] for introduction into interstate commerce of any food, drug, device, tobacco product,
or cosmetic that is adulterated or misbranded.”

368. Federal law, including the FDCA and the FDA’s implementing rules and
regulations, requires Defendants not to include false or misleading information in their Products’
drug labeling.

369. Further, Federal law, including the FDCA and the FDA’s implementing rules and
regulations, prohibits Defendants from omitting materials facts from their Products’ drug labeling.
For example, 21 U.S.C. § 321(n) provides, in pertinent part:

(n) If an article is alleged to be misbranded because the labeling or advertising
is misleading, then in determining whether the labeling or advertising is
misleading there shall be taken into account (among other things) not only
representations made or suggested by statement, word, design, device, or any
combination thereof, but also the extent to which the labeling or advertising
fails to reveal facts material in the light of such representations or material with
respect to consequences which may result from the use of the article to which
the labeling or advertising relates under the conditions of use prescribed in the

labeling or advertising thereof or under such conditions of use as are customary
or usual.

370. Consistent with 21 U.S.C. § 321(n), the FDA’s rules and regulations implementing
the FDCA prohibit omission of material facts from drug labeling which renders that labeling false

or misleading.

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371. Federal law, including the FDCA and the FDA’s implementing rules and
regulations, requires Defendants not to omit materially relevant facts from their PE Products’ drug
labeling.

372. Defendants’ conduct in including false and misleading information in their PE
Products’ drug labeling regarding the efficacy of oral phenylephrine, violated federal law,
including the FDCA and the FDA’s implementing rules and regulations.

373. Defendants’ conduct in omitting material facts in their PE Products’ drug labeling
regarding the efficacy of oral phenylephrine, which rendered the labels false and misleading,
violated federal law, including the FDCA and the FDA’s implementing rules and regulations.

374. Defendants’ conduct in introducing into interstate commerce misbranded PE
Products with drug labeling that includes false and misleading information about oral
phenylephrine, violated federal law, including the FDCA and the FDA’s implementing rules and
regulations.

375. By virtue of their conduct taken in violation of federal law, Defendants also violated
New York law, as set forth below in Counts 1-6.

376. The requirements imposed upon Defendants under New York law, set forth below
in Counts 1-6, are fully consistent with the requirements imposed upon Defendants under federal
law.

377. Both New York law and federal law require Defendants to not include false or
misleading information in their PE Products’ drug labeling.

378. Both New York law and federal law require Defendants not to omit material facts

from their PE Products’ drug labeling.

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379. At all times, Defendants had the obligation to update their PE Products’ drug
labeling to not contain false or misleading information regarding the efficacy of oral
phenylephrine.

380. At all times, Defendants had the obligation to update their PE Products’ drug
labeling to not omit material facts about the efficacy of oral phenylephrine.

381. At all times, Defendants had the obligation not to introduce into interstate
commerce PE Products that are misbranded.

382. Had Defendants at any time attempted to make such labeling changes, the FDA
would not have rejected them.

COUNT 1
Violation of the New York Deceptive Acts and Practices Act
(N.Y. Gen. Bus. Law §349)

383. Plaintiffs repeat, reallege, and incorporate by reference Paragraphs 1-84 and 131-
382 as if fully set forth herein.

384. This Count is brought on behalf of the New York Classes (for the purpose of this
Count, “Class” or “‘Plaintiffs”) against the State Law Defendants (for the purpose of this section,
“Defendants”).

385. Plaintiffs and the other Class members are “‘person[s] . . . injured by reason of any
violation” within the meaning of N.Y. Gen. Bus. Law § 349(h). Defendants are each a “person,
firm, corporation or association” within the meaning of N.Y. Gen. Bus. Law §349(b).

386. N.Y. Gen. Bus. Law § 349 (“GBL § 349”) prohibits “[d]eceptive acts or practices
in the conduct of any business, trade or commerce.” GBL §349(a).

387. Inthe course of their business Defendants, through their agents, employees, and/or

subsidiaries, violated the GBL § 349 by knowingly and intentionally misrepresenting, omitting,

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concealing, and failing to disclose material facts regarding the PE Products, including that such
drugs inherently lacked efficacy, were no more effective than placebo, and were (and are) not fit
to be used for their intended purpose, as detailed above.

388. Defendants had superior access to material facts concerning the nature of their PE
Products and knew that consumers and users such as Plaintiffs could not have reasonably
discovered that the PE Products lacked efficacy for treatment of nasal and sinus congestion.

389. Defendants had a duty truthfully to disclose PE Products’ lack of efficacy because
they had superior knowledge of the material fact that phenylephrine was not efficacious for the
treatment of nasal and sinus congestion. Nevertheless, Defendants made representations that PE
Products were fit to be used for the treatment of nasal and sinus congestion. Each defendant has
repeatedly represented—including but not limited to on its product labeling—that PE Products act
as nasal decongestants.

390. Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,
and failing to disclose material facts regarding PE Products, including that such products lacked
efficacy and are not fit to be used for their intended purpose, as detailed above, Defendants engaged
in one or more unfair or deceptive business practices prohibited by GBL § 349, including but not
limited to:

(a) representing that the PE Products have characteristics, uses, benefits, and
qualities which they do not have;

(b) representing that the PE Products are of a particular standard, quality, and grade
when they are not;

(c) advertising the PE Products with the intent not to sell them as advertised; and

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(d) engaging in any other unconscionable, false, misleading, or deceptive act or
practice in the conduct of trade or commerce.

391. Defendants’ unfair or deceptive acts or practices, including their
misrepresentations, concealments, omissions, and suppressions of material facts, as alleged herein,
had a tendency or capacity to mislead and create a false impression in consumers’ minds and were
likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and other Class
members, about the inherently non-efficacious nature of the PE Products.

392. These express affirmations of fact and promises include incomplete instructions
that purport, but fail, to include the critical information inside the product label or external to the
product label regarding PE Products and the lack of efficacy of phenylephrine. Under New York
Law, a “drug...shall be deemed misbranded [i]f its labeling is false or misleading in any
particular.” N.Y. Educ. Law § 6815(2)(a). Defendants’ labeling of the PE Products was false and
misleading.

393. It is a violation of GBL § 349 and an unfair trade practice to sell a misbranded
product.

394. The facts regarding PE Products that Defendants knowingly and intentionally
misrepresented, omitted, concealed, and/or failed to disclose would be considered material by a
reasonable consumer, and they were, in fact, material to Plaintiffs and other Class members, who
consider such facts to be important to their purchase decisions with respect to PE Products.

395. Defendants had an ongoing duty to Plaintiffs and other Class members to refrain
from unfair and deceptive practices under the GBL § 349 in the course of their business.
Specifically, Defendants owed Plaintiffs and other Class members a duty to disclose all the

material facts regarding PE Products, including that such products lacked efficacy and were (and

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are) not fit to be used for their intended purpose, as detailed above, because Defendants possessed
superior knowledge, intentionally concealed the facts regarding PE Products, and/or they made
misrepresentations that were rendered misleading because they were contradicted by withheld
facts, including that such products lacked efficacy and were (and are) not fit to be used for their
intended purpose.

396. Had Defendants not engaged in the deceptive acts and practices alleged herein,
Plaintiffs and other Class members would not have purchased the PE Products, or would have paid
less for them, and, thus, they did not receive the benefit of the bargain and/or suffered out-of-
pocket loss.

397. Defendants’ violations present a continuing harm to Plaintiffs and other Class
members, as well as to the general public. Defendants’ unlawful acts and practices complained of
herein affect the public interest.

398. Pursuant to GBL § 349(h), Plaintiffs and the other Class Members seek actual
damages or $50 per purchase, whichever is greater, in addition to discretionary three times actual
damages up to $1,000 for Defendants’ willful and knowing violation of GBL § 349, and an
additional civil penalty of $10,000 per elderly person 65 years of age or older because Defendants’
conduct was in willful disregard of the rights of elderly persons. GBL § 349-C(2)(b). Plaintiff and
Class Members also seek attorneys’ fees, an order enjoining the Defendants’ deceptive conduct,
and any other just and proper relief available under the New York GBL.

COUNT 2
Violation of the New York False Advertising Act
(N.Y. Gen. Bus. Law §350)
399. Plaintiffs repeat, reallege, and incorporate by reference Paragraphs 1-84 and 131-

382 as if fully set forth herein.

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400. This Count is brought on behalf of a New York Classes (for the purpose of this
Count, “Class” or “‘Plaintiffs”) against the State Law Defendants (for the purpose of this section,
“Defendants”).

401. Defendants were and are engaged in “conduct of business, trade or commerce”
within the meaning of N.Y. Gen. Bus. Law §350.

402. The New York False Advertising Act (“New York FAA”) prohibits “[flalse
advertising in the conduct of any business, trade or commerce.” N.Y. Gen. Bus. Law §350. False
advertising includes “advertising, including labeling, of a commodity ... if such advertising is
misleading in a material respect,” taking into account “the extent to which the advertising fails to
reveal facts material in the light of ... representations [made] with respect to the commodity.”
N.Y. Gen. Bus. Law §350-a(1).

403. Defendants had a duty to disclose the PE products’ lack of efficacy because they
had superior—indeed exclusive—knowledge of the material fact that phenylephrine was not
efficacious for the treatment of nasal and sinus congestion. Nevertheless, Defendants made
representations that PE products were fit to be used for the treatment of nasal and sinus congestion.

404. Defendants caused to be made or disseminated through New York and the United
States, through advertising, marketing, and/or other publications, statements that were untrue or
misleading, and which were known, or which by the exercise of reasonable care should have been
known to Defendants, to be untrue and misleading to consumers, including Plaintiffs and other
Class members.

405. In the course of their business, Defendants, directly or through their agents,
employees, and/or subsidiaries, violated the New York FAA by knowingly and intentionally

misrepresenting, omitting, concealing, and/or failing to disclose material facts regarding PE

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Products, including that such products inherently lacked efficacy and were (and are) not fit to be
used for their intended purpose, as detailed above.

406. Defendants’ PE Products are not fit for their intended use because phenylephrine is
wholly ineffective when used as intended.

407. Specifically, by knowingly and intentionally misrepresenting, omitting, concealing,
and failing to disclose material facts regarding PE Products, including that such drugs inherently
lacked efficacy and were (and are) not fit to be used for their intended purpose, as detailed above,
Defendants engaged in one or more unfair or deceptive acts or practices in the conduct of trade or
commerce in violation of the New York FAA.

408. Defendants’ unfair or deceptive acts or practices, including their
misrepresentations, concealments, omissions, and/or suppressions of material facts, as alleged
herein, had a tendency or capacity to mislead and create a false impression in consumers’ minds
and were likely to and, in fact, did deceive reasonable consumers, including Plaintiffs and other
Class members, about PE Products that inherently lacked efficacy and were (and are) not fit to be
used for their intended purpose, as detailed above.

409. The facts regarding PE Products that Defendants knowingly and intentionally
misrepresented, omitted, concealed, and failed to disclose would be considered material by a
reasonable consumer, and they were, in fact, material to Plaintiffs and other Class members, who
consider such facts to be important to their purchasing decisions with respect to PE Products.

410. Plaintiffs and the other Class members had no way of reasonably discerning that
Defendants’ representations were false and misleading or otherwise learning the facts that

Defendants had concealed or failed to disclose.

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411. Defendants had an ongoing duty to Plaintiffs and other Class members to refrain
from false advertising under N.Y. Gen. Bus. Law § 350 in the conduct of their business.
Specifically, under N.Y. Gen. Bus. Law § 350-a Defendants were prohibited from failing to
disclose all the material facts regarding PE Products in their “advertising, including labeling” so
as not to render such advertising “misleading in a material respect” including that such products
inherently lacked efficacy and were (and are) not fit to be used for their intended purpose, as
detailed above, intentionally concealed the facts regarding PE Products, and/or they made
misrepresentations that were rendered misleading because they were contradicted by withheld
facts, including that such products inherently lacked efficacy and were (and are) not fit to be used
for their intended purpose.

412. Plaintiffs and other Class members were aggrieved by Defendants’ violations of the
New York FAA because they suffered ascertainable loss and actual damages as a direct and
proximate result of Defendant’s knowing and intentional misrepresentations, omissions,
concealments, and failures to disclose material facts regarding PE Products, including that such
products were inherently defective and not fit to be used for their intended purpose. Specifically,
Plaintiffs and other Class members purchased PE Products in reliance on Defendants’
misrepresentations, omissions, concealments, and/or failures to disclose material facts regarding
PE Products. Had Defendants not engaged in the deceptive acts and practices alleged herein,
Plaintiffs and Class members would not have purchased the PE Products, and, thus, they did not
receive the benefit of the bargain and/or suffered out-of-pocket loss.

413. Defendants’ violations present a continuing risk to Plaintiffs and other Class
members, as well as to the general public. Defendants’ unlawful acts and practices complained of

herein affect the public interest.

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414. Asaresult of Defendants’ violations of the New York FAA, as alleged herein,
Plaintiffs and other Class members seek to recover their actual damages or $500, whichever is
greater. Because each Defendant acted willfully or knowingly, Plaintiffs and other Class Members
are entitled to recover three times actual damages, up to $10,000. Plaintiffs and other Class
Members seek an additional civil penalty of $10,000 per elderly person sixty-five years of age or
older because Defendants’ conduct was in willful disregard of the rights of elderly persons. N.Y.
Gen. Bus. Law § 349-C(2)(b). Plaintiffs and other Class Members also seek an order enjoining
Defendants’ false advertising, attorneys’ fees, and other relief that this Court deems just and
appropriate.

COUNT 3
Breach of Express Warranty
(N.Y. U.C.C. Law §2-313)

415. Plaintiffs repeat, reallege, and incorporate by reference Paragraphs 1-84 and 131-
382 as if fully set forth herein. This cause of action is brought on behalf of a New York Classes
(for the purpose of this Count, “Class” or “Plaintiffs”) against the State Law Defendants (for the
purpose of this section, ““Defendants’’).

416. Defendants are, and at all relevant times were, “merchants” with respect to the PE
Products within the meaning of N.Y. U.C.C. Law §2-104(1) and “sellers” of such products within
the meaning of N.Y. U.C.C. Law §2-313.

417. Plaintiffs and the other Class members are, and at all relevant times were, “buyers”
within the meaning of N.Y. U.C.C. Law §2-313.

418. In connection with their sale of PE Products, by and through statements in labels,
publications, package inserts, and other written materials intended for consumers and the general

public, Defendants made certain express affirmations of fact and promises relating to the PE

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products to Plaintiffs and the other Class members, including that such PE products were (and are)
efficacious for the treatment of nasal and sinus congestion. For example, each product expressly
warranted that it could be used to relieve sinus congestion and/or pressure.

419. Defendants marketed, represented, warranted, and sold PE products with these
express affirmations of fact and promises in such a way as to induce their purchase or use by
Plaintiffs and other Class members, thereby making an express warranty that PE products would
conform to Defendants’ representations.

420. Defendants’ affirmations of fact and promises about PE products, as set forth
herein, constituted affirmations of fact or promises made by the seller to the buyer, which related
to the goods and became part of the basis of the bargain, thus creating an express warranty that the
goods would conform to the representations.

421. Each Plaintiff relied on one or more of the Defendants’ representations that
phenylephrine is efficacious for treatment of congestion.

422. Despite the express warranties Defendants created with respect to PE Products,
Defendants delivered PE Products to Plaintiffs and the other Class members that did not conform
to Defendants’ express warranties that such products were efficacious for the treatment of nasal
and/or sinus congestion. Specifically, Defendants breached the express warranties when
Defendants represented through their labeling, advertising, and marketing materials that PE
Products were efficacious for the treatment of nasal and sinus congestion, and where Defendants
omitted in their labeling, advertising, and marketing materials relevant and material facts, which
they could have voluntarily included, regarding the scientific consensus that phenylephrine is

ineffective as a nasal decongestant.

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423. Asa direct and proximate result of Defendants’ breaches of express warranties, as
alleged herein, Plaintiffs and other Class members sustained an economic loss in an amount to be
determined at trial.

424. Plaintiffs and other Class members seek to vindicate a public right to change
pharmaceutical industry-wide standards violated by the Defendants when defendant-entries sold
PE Products to Plaintiffs and other Class members that Defendants falsely warranted are
efficacious for the treatment of nasal and sinus congestion.

425. As a result of Defendants’ breaches of express warranties, as alleged herein,
Plaintiffs and other Class members seek an order awarding compensatory and punitive damages,
costs, attorneys’ fees, and any other just and proper relief available under the law.

COUNT 4

Breach of Implied Warranty of Merchantability
(N.Y. U.C.C. Law §2-314)

426. Plaintiffs repeat, reallege, and incorporate by reference Paragraphs 1-84 and 131-
382 as if fully set forth herein.

427. This cause of action is brought on behalf of the Plaintiffs Erlick, Jones, Mortuiccio,
McNulty, and Calzado (for the purpose of this Count, “Class” or “Plaintiffs”) against Defendants
Target, Walmart, CVS, and Walgreens (for the purpose of this section, “Defendants”). At all
relevant times, Defendants were merchants with respect to Phenylephrine-Containing Products
that were sold to Plaintiffs and members of the Class and were in the business of selling such
products.

428. Plaintiff Erlick of the Class had direct dealings with Defendant Target when she
purchased the store-brand PE Product Acetaminophen Day/Night Time Vapor Ice Cold and Flu
Relief Caplets — 24ct — up & up™ directly from Target to establish privity of contract between

Defendant Target on the one hand, and Plaintiff Erlick on the other hand.

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429. Plaintiff Jones of the Class had direct dealings with Defendant Walmart when she
purchased the store-brand PE Product Equate Children's Multi-Symptom Cold Liquid, Very Berry,
4 fl oz directly from Walmart to establish privity of contract between Defendant Walmart on the
one hand, and Plaintiff Jones on the other.

430. Plaintiff McNulty of the Class had direct dealings with Defendant Target when she
purchased the store-brand PE Product up & up daytime Severe Cold & Flu Softgel directly from
Target to establish privity of contract between Defendant Target on the one hand, and Plaintiff
McNulty on the other hand.

431. Plaintiff McNulty of the Class had direct dealings with Defendant Walgreens when
she purchased the PE Products store-brand Walgreens Multi-Symptom Children’s Cold Liquid and
Walgreens Daytime Severe Cold & Flu Maximum Strength directly from Walgreens to establish
privity of contract between Defendant Walgreens on the one hand, and Plaintiff McNulty on the
other hand.

432. Plaintiff Calzado of the Class had direct dealings with Defendant CVS when he
purchased the PE Products store-brand CVS Health Non-Drowsy Nasal Decongestant PE
Maximum Strength and CVS Health Non-Drowsy Sinus PE Pressure, Pain + Cold, directly from
CVS to establish privity of contract between Defendant CVS on the one hand, and Plaintiff
Calzado on the other hand.

433. Each PE Product sold by Defendants comes with an implied warranty that it will
be merchantable and fit for the ordinary purpose for which it would be used. N.Y. U.C.C. Law §2-
314(1) and (2)(c).

434. Defendants breached their implied warranty of merchantability because their PE

Products were not in merchantable condition when sold because they were not fit for the ordinary

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purposes for which such goods are used in that because phenylephrine is wholly ineffective as a
nasal decongestant when taken orally.

435. Further, Plaintiffs and each of the other Class members were the intended
beneficiaries of the implied warranties made by Defendants to purchasers of their PE Products.

436. Plaintiffs and the other Class members were damaged by Defendants’ breaches of
implied warranties of merchantability because they did not receive the benefit of the bargain
because they purchased the PE Products to relieve their nasal congestion and the PE products were
ineffective to relief their nasal congestion.

437. Asa result of Defendants’ breaches of implied warranties of merchantability, as
alleged herein, Plaintiffs, individually and on behalf of the other Class members, seek an order
awarding compensatory and punitive damages, costs, nominal damages, attorneys’ fees, and any
other just and proper relief available under the law.

COUNT 5
NY Common Law Unjust Enrichment
(In the alternative to Count 3 Express Warranty Claim)

438. Plaintiffs repeat, reallege, and incorporate by reference Paragraphs 1-84 and 131-
382 as if fully set forth herein.

439. This cause of action is brought on behalf of the New York Classes (for the purpose
of this Count, “Class” or “Plaintiffs”) against the State Law Defendants (for the purpose of this
section, “Defendants”).

440. Defendants have been unjustly enriched by the Plaintiffs through Plaintiffs’
purchasing PE Products from Defendants. Plaintiffs would not have purchased PE Products but

for Defendants’ concealment of the inefficacy of the PE Products.

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441. Plaintiffs unknowingly and unjustly conferred a benefit on Defendants, of which
Defendants had superior knowledge since Defendants were aware of the non-efficacious nature of
PE Products. Defendants failed to disclose this knowledge and misled Plaintiffs regarding the non-
efficacious nature of the PE Products while profiting from this deception.

442. The circumstances are such that it would be inequitable, unconscionable, and unjust
to permit Defendants to retain the benefit of revenue that it unfairly obtained from Plaintiffs
through the sale of non-efficacious PE Products. This revenue includes the premium price
Plaintiffs paid for the PE Products.

443. Plaintiffs, having been damaged by Defendants’ conduct and lacking an adequate
remedy at law, are entitled to recover or recoup damages as a result of the unjust enrichment of
Defendants to their detriment.

COUNT 6
Common Law Fraudulent Concealment

444. Plaintiffs repeat, reallege, and incorporate by reference Paragraphs 1-84 and 131-
382 as if fully set forth herein.

445. This cause of action is brought on behalf of the New York Classes (for the purpose
of this Count, “Class” or “Plaintiffs”) against the State Law Defendants (for the purpose of this
section, “Defendants”).

446. Defendants are liable for both fraudulent concealment and omission.

447. Defendants concealed and suppressed material facts concerning the effectiveness
of PE and PE Products. Defendants knew that Plaintiffs and the other Class Members would not
be able to inspect or otherwise detect the lack of effectiveness in PE Products prior to purchasing

the products.

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448. Defendants also made numerous voluntary false and misleading statements,
described in detail above, to boost confidence in their PE Products, falsely assure purchasers that
PE Products were effective at nasal decongesting, and/or falsely state that their products had
properties such as “maximum strength” that their products did not have.

449. Defendants concealed the information about PE’s effectiveness and made voluntary
false statements about PE’s effectiveness to prevent harm to Defendants’ and their products’
reputations in the marketplace, to induce consumers to purchase their PE Products, and to prevent
consumers from learning of the ineffective nature of PE Products prior to their purchase. These
false representations and omissions were material to consumers, both because they concerned the
effectiveness of PE Products and because the representations and omissions played a significant
role in consumers’ decision to purchase PE Products.

450. As Defendants intended, Plaintiffs and the other Class Members saw Defendants’
false statements—made on the products themselves, and in advertisements and promotional
materials viewed prior to purchasing PE Products both directly and indirectly. Defendants’
misleading voluntary statements about PE Products’ effectiveness, as well as Defendants’
omissions regarding the truth about the ineffective nature of PE, influenced Plaintiffs and the other
Class Members’ decisions to purchase PE Products, exactly as Defendants intended.

451. If Defendants disclosed the truth about PE, Plaintiffs and the other Class Members
would have seen those disclosures. Indeed, Plaintiffs and the other Class Members would have
had multiple opportunities to receive information about PE Products if Defendants chose to
disclose the information, including on the product packaging, at pharmacies, in stores, on
Defendants’ websites, in radio, television, or other online advertisements, brochures, press releases

or in other promotional materials, as well as in consumer forums and reviews.

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452. Defendants had a duty to disclose the ineffective nature of PE Products because
Defendants had superior knowledge and access to the fact that the PE Products were ineffective
and Defendants knew the facts were not known to, and were not reasonably discoverable, by
Plaintiffs and the other Class Members, since typical members of the public would not have access
to or knowledge of scientific information regarding the efficacy of phenylephrine. Defendants
knew that, when Plaintiffs and other Class Members purchased PE Products, they were acting on
the basis of mistaken knowledge resulting from Defendants’ conduct. Defendants’ superior
knowledge of essential facts rendered all purchases by Plaintiffs and other Class Members without
disclosure that phenylephrine is not efficacious at relieving congestion and/or sinus pressure when
taken orally inherently unfair.

453. Defendants also had a duty to disclose because they made many general affirmative
representations about the effectiveness of PE Products as set forth above, which were misleading,
deceptive, and incomplete without disclosure of the additional facts set forth above regarding PE
Products’ actual effectiveness as nasal decongesting products.

454. The omitted and concealed facts were material because they directly impact the
overall effectiveness, value, appeal, and usability of PE Products purchased by Plaintiffs and the
other Class Members. Whether a manufacturer’s product is of a quality stated by the manufacturer
and usable for the purpose it was purchased, are material concerns to a consumer.

455. Defendants actively concealed and suppressed these material facts, in whole or in
part, to protect their reputation, sustain their marketing strategy, and avoid expensive recalls that
would hurt their brands’ image, and did so at the expense of Plaintiffs and the other Class

Members.

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456. Defendants have still not made full and adequate disclosures. Defendant Johnson
& Johnson has shown that Defendants have the authority to voluntarily add appropriate truthful
disclosures to their products. Johnson & Johnson put a truthful statement on its website linking to
the NDAC’s 16-0 vote recommending that the FDA declare phenylephrine ineffective. There is
nothing that would have prevented any Defendant from disclosing on its website, in stores, or on
product packaging, the scientific consensus that phenylephrine is ineffective.

457. Plaintiffs and the other Class Members were unaware of these omitted material
facts and the nature of Defendants affirmative misstatements, and they would not have acted as
they did had they known the truth; i.e., they would not have purchased PE Products, or would have
paid less for them, had they known that phenylephrine is no more effective than a placebo.
Plaintiffs’ and Class Members’ reasonably relied on Defendants’ affirmative misstatements and
omissions, and were not positioned to know that PE Products were, in fact, not effective as
Defendants claimed them to be.

458. Because of the concealment and misrepresentations, Plaintiffs and the other Class
Members sustained damage: they paid value for PE Products that did not reflect the ineffectiveness
of PE as a nasal decongestant, and often paid out-of-pocket to purchase alternative nasal
decongestants to replace PE Products. Had they been aware of the concealed PE ineffectiveness
that existed in PE Products, Plaintiffs would have paid less for their products or would not have
purchased them at all.

459. Asa direct and proximate result of Defendants’ voluntary actions and omissions,
Plaintiffs and the Class have suffered and will suffer economic losses and expenses associated.

with ongoing sales of Phenylephrine-Containing Products.

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460. Asa direct and proximate result of Defendants’ voluntary actions and omissions,
Plaintiffs and the other Class Members received goods that have substantially impaired value, and
they have suffered incidental, consequential, and other damages, including unreimbursed out-of-
pocket costs, an inability to use PE Products for their ordinary and intended purpose and
overpayment at the point of sale, in an amount to be determined at trial.

461. Defendants’ voluntary acts were done maliciously, oppressively, deliberately, with
intent to defraud, and in reckless disregard of Plaintiffs and the other Class Members’ rights and
well-being, to enrich Defendants.

462. Plaintiffs and the other Class Members seek an order enjoining Defendants’ unfair,
unlawful, and deceptive practices, as well as declaratory relief. In addition, Plaintiffs and the other
Class Members are entitled to recover actual damages, together with appropriate penalties,
including but not limited to attorneys’ fees, costs of suit, nominal damages, punitive damages, and
any other just and proper relief available under the law.

COUNT 7
Violations of the Racketeer Influenced and Corrupt Organizations Act
(18 U.S.C. § 1962(c)-(d))

463. Plaintiffs incorporate the preceding allegations in paragraphs 1-382 as though fully
set forth herein.

464. This cause of action is brought on behalf of the Nationwide Class (for the purpose
of this Count, “Class” or “‘Plaintiffs”) against the RICO Defendants.

465. Plaintiffs and each of the other Class members are “persons” within the meaning of
18 U.S.C. §1961(3), and each is a “person injured in his [or her] business or property” by reason

of the RICO Defendants’ violations of RICO within the meaning of 18 U.S.C. §1964(c).

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466. Atallrelevant times, each RICO Defendant has been a “person” within the meaning
of 18 U.S.C. §1961(3) because each was capable of holding “a legal or beneficial interest in
property.”

467. Section 1962(c) makes it “unlawful for any person employed by or associated with
any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to
conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a
pattern of racketeering activity.” 18 U.S.C. §1962(c).

468. Section 1962(d) makes it unlawful for “any person to conspire to violate” Section
1962(c), among other provisions. See 18 U.S.C. §1962(d).

469. Each RICO Defendant engaged in numerous acts of mail and wire fraud in
furtherance of the scheme to defraud. See 18 U.S.C. §1341 (mail fraud) and §1343 (wire fraud).

470. Each RICO Defendant is a participant in the multi-billion-dollar pharmaceutical
drug industry and has been a manufacturer and marketer of OTC oral nasal decongestant products.
Each RICO Defendant knew that American consumers would not purchase their oral
phenylephrine products if these products were worthless as nasal decongestants.

471. Each RICO Defendant also knew that American consumers would not be able to
purchase their oral phenylephrine products if the FDA removed phenylephrine from its status as a
safe and effective active ingredient in OTC oral nasal decongestant products.

472. As described above, when challenges to oral phenylephrine’s effectiveness at a
10mg dose were raised by consumers and a Citizen Petition was submitted to FDA in February
2007, the RICO Defendants understood that their industry collectively stood to lose more than a
billion dollars of revenue each year if U.S. consumers were no longer buying their OTC PE

Products.

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473. In or about late 2006, the RICO Defendants banded together, and through an
enterprise facilitated by the CHPA, began recklessly to conspire to keep PE Products on the
shelves, even in the face of clear red flags and mounting scientific evidence that such products
were no better than placebo.

474. By at least 2016, the RICO Defendants knew that any representation that PE
Products were effective at decongesting was baseless and false. By that time, new scientific
evidence had established that PE Products do not work as oral nasal decongestants, as described
above.

475. But rather than tell the truth, the RICO Defendants used their association through
CHPA to defraud the American public by falsely and deceptively maintaining that oral
phenylephrine works as a nasal decongestant. The CHPA became a front for the RICO Defendants
to provide the patina of legitimacy and industry-wide scientific effort.

476. As part of their scheme, the RICO Defendants caused the CHPA to inundate the
FDA with numerous baseless and deceptive statements in submissions asserting oral
phenylephrine is effective. At the same time, the CHPA issued misleading press releases aimed
directly at consumers.

477. This two-pronged-approach: misleading submissions to regulators and false
statements to the public, was designed to: (a) delay an FDA review that would, given the science,
result in the ultimate removal of PE Products from the market; and (b) mislead the public into
buying as many of these products as possible, irrespective of the fact that the PE Products do not
work.

478. The RICO claims are for compensatory damages on behalf of American consumers

who purchased PE Products from the RICO Defendants because of the RICO Defendants’

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interstate, nationwide scheme to defraud. The PE Products they sold were worthless as nasal
decongestants. Nevertheless, to this day, the RICO Defendants continue marketing and selling
them.

479. But for the scheme to defraud, American consumers would not have purchased PE
Products from the RICO Defendants. Consumers and purchasers are not knowledgeable about
scientific evidence or the efficacy of OTC drug products, and the typical consumer lacks any ability
to uncover the fraud that is occurring. Knowing this, the RICO Defendants exploited and continue
to exploit the public’s trust, profiting massively, while at the same time delaying and misguiding
the FDA’s review process to extend the scheme to defraud for years.

480. The RICO Defendants were only able to continue selling these products to
American consumers because they associated together as an enterprise through CHPA using this
association as a vehicle to further and conceal their scheme to defraud American consumers,
undermine new scientific evidence showing oral phenylephrine is not effective, and substantially
delay the FDA’s review process.

481. The elements of RICO are met here: the RICO defendants came together to conduct
the affairs of an Enterprise; they conducted the Enterprise’s affairs through a pattern of
racketeering activity; and Plaintiffs and the other Class members suffered economic injury “by
reason of” the pattern of racketeering activity.

1. The Enterprise

482. Atall relevant times, the RICO Defendants used the CHPA as an enterprise, or, in
the alternative, formed an association-in-fact enterprise through the CHPA Phenylephrine Task
Group and/or with the other RICO Defendants (referred to herein as the “Phenylephrine

Enterprise”).

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483.  Atall relevant times, the Phenylephrine Enterprise constituted a single “enterprise”
within the meaning of 18 U.S.C. §1961(4), as legal entities, as well as individuals and legal entities
associated-in-fact for the common purpose of engaging in the RICO Defendants’ unlawful profit-
making scheme. CHPA also meets the definition of an “enterprise” as defined in Section 1961(4).*®

484. At all relevant times, the Phenylephrine Enterprise: (a) had an existence separate
and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of
racketeering in which the RICO Defendants engaged; and (c) was an ongoing and continuing
organization consisting of legal entities, including the RICO Defendants, all of whom associated
for the common purposes set forth above to derive revenues and profits therefrom.

485. Each member of the Phenylephrine Enterprise shared in the bounty generated by
the enterprise, i.e., by sharing the benefit derived from substantial sales revenue for PE Products
generated by the scheme to defraud Class members nationwide, while concealing the lack of
efficacy that threatened sales of all the RICO Defendants’ oral phenylephrine products. If any
member of the Phenylephrine Enterprise had publicly revealed the truth that there was no reliable
scientific evidence that oral phenylephrine was effective, that the Task Group was a sham because
it had done no new efficacy studies or critical analysis of the older efficacy studies, and that the
Task Group existed solely to deceive the public and delay FDA decision-making, all would lose
their revenues and profits from the continued sale of OTC oral PE nasal decongestant products.

486. The Phenylephrine Enterprise coordinated and functioned through the Task Group
because the Task Group provided a cover that made the enterprise appear legitimate, purportedly
working together to address scientific issues about PE Products. However, the RICO Defendants,

through their illegal enterprise, in truth engaged in a pattern of racketeering activity, which

8 Section 1961 (4) defines “enterprise” to include “any individual, partnership, corporation, association, or
other legal entity, and any union or group of individuals associated in fact although not a legal entity.”

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involved a fraudulent scheme to increase revenues for the RICO Defendants and the other entities
and individuals associated-in-fact with the enterprise’s activities through their fraudulent scheme.

487. The Phenylephrine Enterprise engaged in, and its activities affected, interstate and
foreign commerce because it involved commercial activities across both state and national
boundaries, such as the marketing, promotion, advertisement, distribution, and sale of PE Products
throughout the country and beyond, and the receipt of monies from the sale of the same, as well
as public statements and submissions by the Task Group.

488. Within the Phenylephrine Enterprise, there was a common communication network
by which co-conspirators shared information on a regular basis via both the Task Group and
through other avenues (that involved private communications between the defendants that are not
accessible before discovery). The Phenylephrine Enterprise used this common communication
network for the purpose of coordinating efforts to undermine attempts to challenge the
effectiveness of oral phenylephrine nasal decongestant products.

489. Each participant in the Phenylephrine Enterprise had a systematic linkage to others
through CHPA membership, financial ties, and continuing coordination and funding of activities,
including through CHPA. Through the Phenylephrine Enterprise, the RICO Defendants
functioned as a continuing unit with the purpose of furthering the illegal scheme and their common
purposes of increasing their profits and revenues.

490. The RICO Defendants participated in the operation and management of the
Phenylephrine Enterprise by directing its affairs. While the RICO Defendants participated in, and
are members of, the enterprise, they have a separate existence from the enterprise, including
distinct legal statuses, different offices and roles, bank accounts, officers, directors, employees,

individual personhood, reporting requirements, and financial statements.

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491. Each RICO Defendant exerted substantial control over the Phenylephrine
Enterprise, and participated in, operated and/or directed the enterprise, by:

a. Membership in CHPA and participating in the Task Group’s activities
and/or accessing its information about phenylephrine;

b. manufacturing, promoting, and selling misbranded oral phenylephrine
products with false and misleading labels;

c. concealing the lack of the PE Products’ efficacy from the public in
promotional materials, advertisements, and other documents;

d. making baseless, deceptive and misleading statements about the efficacy of
oral PE in communications with regulators, thereby depriving the public of
the truth;

e. collecting revenues and profits in connection with the sale of PE Products;
and

f. ensuring that the other RICO Defendants complied with the scheme and

common course of fraudulent conduct.

492. The RICO Defendants directed and controlled the ongoing organization necessary
to implement their RICO conspiracy at meetings about which the RICO Defendants have unique
knowledge and through communications in the unique possession of the RICO Defendants.

493. Similarly, because the CHPA does not publicly disclose all of the members who
are associated with the Task Group and the RICO Defendants do not publicly disclose when they
communicate, the RICO Plaintiffs cannot fully know the full extent of each individual corporate
entity’s involvement in the wrongdoing prior to having access to sufficient discovery on this point.

2. The Pattern of Racketeering: Mail and Wire Fraud

494. To carry out their schemes to defraud, the RICO Defendants, each of which is a
person associated-in-fact with the Phenylephrine Enterprise (and is a member of CHPA and, on
information and belief, the Task Group), did knowingly conduct or participate, directly or

indirectly, in the conduct of the affairs of the Phenylephrine OTC Nasal Decongestant Enterprise

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through a pattern of racketeering activity within the meaning of 18 U.S.C. §§1961(1), 1961(5) and
1962(c), and which employed the use of the mail and wire facilities, in violation of 18 U.S.C.
§1341 (mail fraud) and §1343 (wire fraud).

495. From 2007 to the present, each RICO Defendant has worked to execute a scheme
to defraud by infiltrating and using CHPA as a vessel for fraud, including by associating to use the

Task Group as an enterprise that has operated as a continuing unit through a fraudulent course of

conduct, by:

a. coordinating the suppression of information about oral phenylephrine
products’ lack of efficacy;

b. falsely representing that old clinical trials were scientifically established
and sound;

c. falsely representing that new clinical trials were flawed and poorly
designed;

d. sharing information on how to assert that phenylephrine is effective in order

to carry out a fraud scheme on American consumers;

e. concealing, camouflaging, and prolonging their ongoing scheme to defraud
by making representations about their active involvement in the CHPA Task
Group as proof of an industry-wide commitment to critically assess and
objectively evaluate the science behind oral phenylephrine products (when
in fact the opposite is true); and

f. making baseless, deceptive assertions to the FDA designed to conceal the
truth and delay the FDA’s review of phenylephrine’s effectiveness.

496. As alleged herein, the RICO Defendants have committed, conspired to commit,
and/or aided and abetted in the commission of, at least two predicate acts of racketeering activity
(.e., violations of 18 U.S.C. §§1341 and 1343). The multiple acts of racketeering activity that the
RICO Defendants committed, or aided or abetted in the commission of, were related to each other,
posed a threat of continued racketeering activity, and therefore constitute a “pattern of racketeering

activity.” The racketeering activity was made possible by the RICO Defendants’ regular use of the

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CHPA and other avenues of interstate communication and coordination to conceal phenylephrine’s
efficacy. The RICO Defendants participated in the scheme to defraud by using e-mail, mail,
telephone, facsimile, TV, radio, and/or the internet to transmit mailings and wires in interstate or
foreign commerce in furtherance of the scheme.

497. The RICO Defendants used, directed the use of, and/or caused to be used, thousands
of interstate mail and wire communications in service of their scheme through identical
concealments, false statements, and material omissions of the lack of efficacy for years.

498. In devising and executing the illegal scheme, the RICO Defendants devised and
knowingly carried out a material scheme and/or artifice to defraud the Plaintiffs and the Class or
to obtain money from them by means of materially false or fraudulent pretenses, half-truths, and
omissions of material facts. For the purpose of executing the illegal scheme, the RICO Defendants
committed these racketeering acts, which number in the thousands, intentionally and knowingly
with the specific intent to advance the illegal scheme.

499. The RICO Defendants’ predicate acts of racketeering (18 U.S.C. §1961(1)) include,
but are not limited to:

(1) Mail Fraud: The RICO Defendants violated 18 U.S.C. §1341 by sending or
receiving, or by causing to be sent and/or received, materials via U.S. mail
or commercial interstate carriers for the purpose of executing their unlawful
scheme to manufacture, market, and sell PE Products by misleading
consumers and concealing the lack of efficacy, as well as making deceptive
statements to regulators.

(2) Wire Fraud: The RICO Defendants violated 18 U.S.C. §1343 by
transmitting and/or receiving, or by causing to be transmitted and/or
received, materials by wire for the purpose of executing their unlawful
scheme to manufacture, market, and sell PE Products by misleading

consumers and concealing the lack of efficacy, as well as making deceptive
statements to regulators.

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500. The RICO Defendants (or their agents), for the purpose of executing the illegal
scheme, sent and/or received (or caused to be sent and/or received) by mail or by private or
interstate carrier, shipments of oral phenylephrine drugs, and related documents by mail or a
private carrier affecting interstate commerce to wholesalers and retailers nationwide. The RICO
Defendants’ use of the mails and wires include, but are not limited to, the transmission, delivery,
or shipment of the following, which were foreseeably caused to be sent as a result of the RICO
Defendants’ illegal scheme:

(1) false and misleading labeling and packaging on all oral phenylephrine
products sold by the RICO Defendants since at least 2016;

(2) false or misleading sales and marketing materials, including websites, ads,
and other materials that omitted oral phenylephrine’s lack of efficacy;

(3) documents and communications that facilitated the scheme, including but
not limited to, invoices, shipping records, reports, and correspondence;
and/or

(4) other documents to be identified in discovery.

501. The RICO Defendants also used the Task Group to make false and misleading
statements that were transmitted through mail and wire transmissions. Specifically, the RICO
Defendants used the mail and wires while associating through the Task Group to make sham and
fraudulent submissions and misleading public statements to the American public and FDA. Those
representations were designed to undermine new studies on phenylephrine’s efficacy while
bolstering old studies that had obvious design flaws, with the ultimate intent and effect of
prolonging sales of PE Products by many years even though there was scientific consensus that
these PE Products did not decongest. The CHPA submissions and press releases since 2007 are

part of a larger reckless and fraudulent course of conduct by the RICO Defendants, and contain

numerous false statements, half-truths, and rendered deceptive due to the omission of material

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information. Each and every communication between the RICO Defendants and CHPA to
coordinate and plan these press releases and submissions to regulators is a separate act of mail or
wire fraud.

502. The mail and wire transmissions described herein were made in furtherance of the
RICO Defendants’ scheme and common course of fraudulent conduct to sell oral phenylephrine
products that were worthless as decongestants, which the RICO Defendants knew were false
and/or misleading because at least since 2016 they knew the oral phenylephrine products were not
effective. Acts in furtherance of such sales were themselves instances of mail and/or wire fraud.

503. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire
facilities have been deliberately hidden and cannot be alleged without access to RICO Defendants’
books and records. Since the RICO Defendants have not undertaken the conduct described herein
1n isolation, but as part of a common scheme and conspiracy, they have also committed violations
of 18 U.S.C. §1962(d), by conspiring to violate 18 U.S.C. §1962(c). Various other persons, firms,
and corporations may have participated as co-conspirators with the RICO Defendants in these
offenses and have performed acts in furtherance of the conspiracy for the RICO Defendants and
their unnamed co-conspirators throughout the illegal scheme and common course of conduct.

504. The RICO Defendants had knowledge of the fraud and in addition to directly
contributing to and conducting the affairs of the enterprise, they also aided and abetted others in
the violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C.
§§ 1341 and 1343 offenses.

505. For the conspiracy to succeed for so many years, each RICO Defendant and their
coconspirators had to agree to implement and use similar devices and fraudulent tactics—

specifically, concealing PE’s lack of efficacy as a decongestant.

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3. Causation and Damages

506. Plaintiffs and the other Class members were the intended victims of the RICO
Defendants’ fraud scheme. Through this scheme to defraud the RICO Defendants were able to
charge more for their products. The RICO Defendants’ advertising, marketing and labeling were
all created for American consumers to mislead them into continuing to purchase oral
phenylephrine products. The RICO Defendants knew and intended that the Plaintiffs and the rest
of the Class would incur costs as a result of the fraudulent course of conduct. The RICO Defendants
knew and intended that American consumers like Plaintiffs would rely on their misleading and
deceptive statements and material omissions.

507. In fact, Plaintiffs, along with the consuming public and others across the United
States, relied upon the drug label information and the concealment of material facts. Plaintiffs’ and
the other Class members’ reliance can be inferred and is made obvious by the fact that no
reasonable consumer would purchase or pay extra for a PE Product that is worthless at
decongesting.

508. The RICO Defendants also knew that they could only continue selling PE Products
to American consumers if the FDA kept phenylephrine as an approved active ingredient and the
FDA acted on each Citizen Petition challenging oral phenylephrine’s efficacy. The RICO
Defendants, through the CHPA Task Group, made multiple submissions to FDA with baseless,
sham, and deceptive statements, half-truths and concealed information intending to mislead and
delay the FDA’s review process. The FDA’s review was delayed and prolonged for years as a
result of an industry-wide fraudulent effort to promote the efficacy of oral phenylephrine.

509. Unbeknownst to the Plaintiffs, the Class, and the FDA, the RICO Defendants

engaged in a pattern of related and continuous predicate acts for years. The predicate acts

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constituted a variety of unlawful activities, each conducted with the common purpose of obtaining
significant monies and revenues from the RICO Plaintiffs and the other Class members based on
the concealment of the truth, as well as misrepresentations and half-truths, while selling PE
Products that were worthless as decongestants. The predicate acts also had the same or similar
results, participants, victims, and methods of commission. The predicate acts were related and not
isolated events.

510. The predicate acts all had the purpose of generating significant revenue and profits
for the RICO Defendants at the expense of the RICO Plaintiffs and the other Class members. The
predicate acts were committed or caused to be committed by the RICO Defendants through their
participation in the Phenylephrine Enterprise and in furtherance of the scheme. The predicate acts
were interrelated in that they involved obtaining the Plaintiffs’ and the other Class members’
money and avoiding the loss of revenues associated with, e.g., reformulating, not selling, or
including accurate disclosures regarding the PE Products that are worthless as decongestants.

511. During the formulation, manufacture, marketing, distribution, and sale of the PE
Products, the RICO Defendants came across and/or shared information about the material efficacy
concerns of phenylephrine, including through CHPA’s Task Group. Nevertheless, the RICO
Defendants concealed the lack of efficacy in information it provided to the public about oral
phenylephrine products.

512. By reason of, and as a result of, the conduct of the RICO Defendants, and in
particular as a result of their pattern of racketeering activity, the RICO Plaintiffs and Class
members have been injured in their business and/or property in multiple ways, including, but not
limited to the purchase price of oral PE Products; overpayment for oral PE Products; and/or other

out-of-pocket expenses.

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513. The RICO Defendants’ violations of 18 U.S.C. §1962(c) and (d) have directly and
proximately caused injuries and damages to the RICO Plaintiffs and Class members. The RICO
Plaintiffs and the other Class members are entitled to bring this action for three times their actual
damages, as well as injunctive/equitable relief, costs, and reasonable attorneys’ fees pursuant to
18 U.S.C. §1964(c).

514. As alleged herein, the RICO Defendants knew by at least 2016 that the PE Products
were not effective as a nasal decongestant and, without their fraudulent course of conduct, they
would have had no ability to continue selling these products to consumers.

515. As a direct and proximate result of the RICO Defendants’ false and misleading
statements, including those directed at both the general public and the FDA, as well as their
concealment, omission, and failure to disclose material facts concerning the lack of efficacy about
PE, the RICO Plaintiffs and the Class members suffered damages through their purchases of PE
Products, which are ineffective for their stated purpose and therefore worthless as decongestants.

516. But for the RICO Defendants’ scheme to defraud and fraudulent course of conduct,
the RICO Plaintiffs would not have purchased or have had to pay a premium for PE Products since
at least 2016, because no consumer would pay for a product that did not work or pay extra for
nothing of value in return.

517. At the time they purchased the RICO Defendants’ oral phenylephrine products, the
Plaintiffs and the other Class members did not know, and could not have discovered through
reasonable diligence, the material facts regarding the lack of efficacy of these products that the
RICO Defendants concealed and/or failed to disclose in statements to consumers and the public.

518. The Plaintiffs and other Class members were the ultimate intended targets of the

fraud scheme, as the RICO Defendants marketed these products to consumers and included

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packaging and labeling information designed to mislead and cause consumers to purchase these
products. Had the RICO Defendants disclosed the true facts regarding the lack of efficacy of oral
phenylephrine products, the RICO Defendants would not have been able to sell these products or
would have been unable to charge the same price since they were worthless as a decongestant.

519. Thus, as a direct and proximate result of the RICO Defendants’ unlawful conduct,
the RICO Plaintiffs and the other Class members have suffered damages and out-of-pocket losses,
paid for a worthless product, and/or did not receive the benefit of their bargain in that they paid to
purchase deceptively marketed products they otherwise would not have purchased. The RICO
Plaintiffs’ injuries were directly and thus proximately caused by the RICO Defendants’
racketeering activities because they were the targets of the scheme to defraud, and the fraud scheme
was the logical, substantial, and foreseeable cause of the RICO Plaintiffs’ injuries. But for the
RICO Defendants’ false and misleading statements, as well as the omission of material fact in
statements to consumers and the public, the RICO Plaintiffs would not have lost money or
property.

520. The RICO Plaintiffs and the other Class members have suffered a concrete and
particularized harm that is actual and/or imminent, and that is fairly traceable to the RICO
Defendants’ unlawful conduct. A favorable decision by this Court is likely to redress the injuries
suffered by the RICO Plaintiffs and the other Class members.

521. The RICO Plaintiffs are the only harmed individuals or entities, and there are no
other plaintiffs better suited or able to seek a remedy for the economic harms at issue here. Indeed,
wholesalers and retailers who purchased oral phenylephrine products made their purchases for
resell at a profit, and thus these entities have suffered no concrete harm and have no standing to

bring RICO claims against any of the RICO Defendants. By contrast, the Plaintiffs and the other

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Class members are the end purchasers for use who were the targets of the scheme to defraud, and
they all paid money to buy a product for use that did not work. Thus, they are the only victims of
the scheme to defraud and conspiracy with standing to bring viable RICO claims.

IX. REQUEST FOR RELIEF

WHEREFORE, Plaintiffs, individually and on behalf of the other Class members, respectfully
request that the Court enter judgment in their favor and against Defendants, as follows:

A. Declaring that this action is a proper class action, certifying the Classes as requested
herein, designating Plaintiffs as Class Representatives, and appointing Plaintiffs’ Interim Class
Counsel as Class Counsel;

B. Awarding Plaintiffs’ and the other Class members’ damages, including but not limited
to nominal damages, punitive damages, statutory damages, treble damages, and costs in an amount to
be determined at trial;

C. Granting injunctive relief, including, but not limited to:

1. Requiring Defendants to fully disclose their knowledge of the efficacy (or lack
thereof) of their Decongestant Products;
2. Requiring Defendants to disgorge their profits from the sales of their

Decongestant Products;

3. Requiring Defendants to pay restitution;
D. Ordering Defendants to pay pre- and post-judgment interest on all amounts awarded;
E. Ordering Defendants to pay attorneys’ fees and costs of suit;
F. Ordering such other further relief as may be just and proper.

X. JURY DEMAND

Plaintiffs demand a trial by jury for all claims so triable.

Dated: May 3, 2024
Brooklyn, New York

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Respectfully submitted,

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PE Productscollection
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Sandra Yousefzadeh

- PE Products-
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Sudafed PE® Sinus Pressure + Pain
Maximum Strength

-Johnson & Johnson Consumer Inc.
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Anntwanette Jones
-PE Products-
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Equate Children's Multi-Symptom Cold
Liquid, Very Berry
-liquid

- Walmart, Inc.
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NOC 4905-715 8

No ape J ~ |{ children’s
(ee MULTI-SYMPTOM
VaH¥ 334d SNIIYO9 COLD
OATS
Very Berry Flavored
/ \
Drug Facts Brug Facts (continued
Acie Ingredients (in each 5 ml) Purpose Ap Tone
ee chiden6 yeors to under 12 years | 10 mL every 4 hours equat
Pheeaptring HOLS mg... anu. Nawal decongostant [cic rng worded youw |S Levey hour =
Ta: your dp not ue
helps loosen peg {mucus} and thin branchial Pe rele elite atlas iA
secretiona to chain bronchial tubee and maka ccaghe Othar information ie hil r

more productive
@ temporarily retiaves:
cough dus to minor threat and bron-hial imbatian ae
may oocur wih a cold or inhaled iriterta
@ the intensity of nougting
1 the impulse 19 ocugh to help your child get to sleep
1 race! congestion dus to. cok
@ atutty noea

1B sach 5 mL contains: potassium § mg, sodium 6 my
@ bicrs betwoan 16-90"C (69-66"F)

18 dorot retigerste

1B dosing cup provided

Inactive ingredients. cine acid arhydrous,
DRG red #33, dextroce, edetate daodum FD&G bie
#1, FOC red #40, flavor, glyoarin, methylparaben,

Warnings

Do net ure 010 chid who is taking 3 preecription monoarins:
cxdhse hirer (MAD, (costa druge for depreasion,
peychiatic, or ernctinnal oondtions, or Parkinson's disease),
or for 2 wosks citer stopping the MAOI drug Hyou da not
knew ¥ your chid’s preecrption drug comaine an MACI, ask a.
dodorer phenmacist belore giving thie produc.

Aeka doctor before vee ifthe child has

@ heart diegane

high blood prassure

@ thyrid desase

@ diatetes

1B persistert or chronic cough such es occurs wih aethma
(cough that ooze with too much phlegm (mucus)

When veing this product

@ do notuse more than directed

Stop ues and aek a doctor if

B® your child gets raivous, dzzy or alsepless.

Wl symotomsdo nat get better within 7 days or ocour wth tever

1B cough laste more than 7 days, comes back, er occura
with fever, rash or persistent haadacha,
Theee could be signs of a exious illness.

Keep out of reach of children.

In case of overdose, got medical help or contact a
Poison Control Cantar right away.

potassium sorbate, prapy! gallate, propylene glycol,
Propyiparaban, purtied water, aaocharin acdlum,
sodium hydroxide, eorbitot solution, eucmloe, xanthan
gun

fC Questions? 1-083-267-1015

{ DISTRIBUTED BY: Wal-Mart Stores, tnc., »
Bentonville, AR 72716
‘This product is not manufactured or distributed by

Recidtt Benckiser, tha distributer of Children's BY)
A Mucinex® Multi-Symptom Cold, \ J

KEEP BOX FOR COMPLETE INFORMATION |

BO IMGT SF SEAL UNDER CAP IMPRINTED ITH
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my ee eo a x

Directions

@ do not take more than 6 dosee In any 24-hour period
(@_ maagure onty with dosing cup provided

(do not use dosing cup with other products

I chee as Fallows oF 28 directed by a doctor

COATING FREE AREA

No Coating

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MULTI-SYMPTOM
COLD

Dextromethorphan HBr 5 ma
Cough Suppressant

Gualfenesin 100 mg
Expectorant

Phenylephrine HCI 2.5 ma
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COLD

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Cough Suppressant
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 8 of 70 PagelD #: 2449

Delsym® Children’s Cough+ Cold Nighttime
Berry Flavored
-liquid

-RB Health (US) LLC
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|i COUGHY
COLD

NIGHTTIME

Drug Facts

Drug Fects icentinuest

Active ingredients
(in each 10 mt)
Acetaminophen 325 mg. Pain reliever fever mdecet
Hiphentydrarene HO 125mg... .Aechistarsmey
net tocrme
C1 _ tt

Purposes

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@ minor sches ard pane weeps troat

a leadechs @meny e8

@ meeting

@ tempomrity recuces fever

@ Copmires Cong) 3 hele pour cee ae te
Warnings

Liver warnaag: Ths oroduct containe 2oetamenamen

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reactant, Spepteine may include:

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Directions

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NDC 63824-212-64

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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 10 of 70 PagelD #: 2451

Vicks® Dayquil™ SEVERE Honey Cold &
Flu
-Liquid Medicine

-Procter & Gamble Company
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Drug Facts Drug Facts DIEU gic DaL EOL CD
nasal congestion, 2 a a ‘worse oF lasts mora i

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Warnizos Pe es a
tan Baa days ‘chile or 7 days {at Liver warning: ms product contains acetaminophen. Severe liver oe ie SELES
ee erage ° ei let Tar than 4 eso (30 mL each) 2a fr, ih i Drug Facts |
the maximum daily Sree fos this product
Cough comes back o occa ih esh headache hates + cleld takes mors than 4 doses (15 mL each} in 24 fs, which is is vi Sets. fo ach Z m) rine
These could be signs af a serious condition, pte monn ae this mart Fs Har vee COMQH seressant
rugs containing acetaminophen
Pavas beg eh oe beat ect tee > edt is 3 at os ewety day wile xing Wis ed
matical ny crt Fosn Contr Crt rg a Ock Aor ren caisson
mee attention t critical for adults as as for children even
Symptoms may mciude: skin reddening blisters rash
if you do nat notice any signs or symptoms. ra skn eacho acu, slop use and sek medial help igh ay
Directions Sore throat warning: If sore throat is severe. persists for more + sinus: ee & pres
a eaatalig ae ated than 2 days. is accompanied ar follaved by fever, headache, 1) = cough de to mine throat & bronchial tation
= only use the on provided rash, nausea, or vorniting, consuit a doctor promptly. ins.
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inor Aches & Pains 0, FDBC alow No.6, favor, = tir does aati
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| Questions? 1-800-362-1683 or emnphy a
Ask a doctor or pharmacist betore use if you are takin elas
Nasal Congestion, Sinus| Pressure the bioad thining drug warfarin, : a
S ‘When using this product, do not use more than directed.
Stop use and ask a doctor if

+ you get nervous, dizzy or sleepless
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Daniel Calzado
-PE Products-
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CVS Health Non-Drowsy Nasal Decongestant
PE Maximum Strength
-tablets

-CVS Pharmacy Inc.
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in Sudafed PE® Sinus Congestion*

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CVS Health Non-Drowsy Sinus PE Pressure,
Pain + Cold

-CVS Pharmacy Inc.
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Case 1:23-md-03089-BMC Document 200-1

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Vicks NyQuil™ SEVERE Maximum
Strength Cold & Flu Berry Flavored
-Liquid Medicine

-Procter & Gamble Company
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_— Trig Facts (continued)

Wamings

Liver warning: This product contains acetaminophen,
‘Severe liver damage may occur If you take

© more than 4 doses In 24 hours, which ls he maximum daily
Amount for this product

with other drugs containing acetaminophen:
© 3 or more alcoholic drinks every day while ysing bis protsct

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Ne Uae) 8) eae Mn
Coy EMI em ir CMO en ag uni eg

© feduoes aveling of nasal passages

« Jemporailly restores freer trealting trough the nose
= promotes nas and/or sinus drainage

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Ee

grata Alert Acetamsnophen may cause severe sin reactions,
may lnclude:

nr eacten OCOUNS, Stop use and geek Medion help right away:
a throat warring: If sore throat is severe, persists for more
than 2 days, is aocompanted or fomowed by fever, headache,
rash, nausea, or vorming, consult a docky promptly

Drug Facts (continued)
© marked drowsiness may occur

¢ avoid sicoholic drinks
©-De carelu! wnien Griwing B TOkor vetticle or cperating mactinery
¢ aicohol, sedatives, and tranquilzers may Increase drowsiness

© ski reddening Disters © rash

De rat use
© with any other drug containing acetaminophen (prescription or

Heyou are not

acefaminophen, ah nor ce phamac
¢ if you are now taklag a prescription monoamine cxitase
Inhibitor (MAON (certain drugs for depression, psychiatric
OF emotional conditions, or Parkingon’s disease), of for
2 weeks after stopping the MAOI drug. If you do not know
if your prescription drug contains an MAO, ask a doctor or
pharmacist betore taking this _—
an Al Goctor belore use II you hav

1 disease ¢ heart disease ry high blood pressure
e tyrld deesse © dabetes » glaucoma
cough that occurs with too much phiegm (mucus)

Fepanea pout ot chronie cough that fasts or
asoccurs with smoking, asthma, chranic bronchitis,
of emphysema

© Troubie urinating due to entarged prostate giand
© asodum-resirkted diet
Ask a doctor or pharmacist before use #f you are
© taking sedatives of tanquilzers
© taking the blood thinning drug wartarin
When using this proauct
¢ do not use more than directed
© exchabllily may occur, especially In chidren
<

Stop use and ask a doctor if

‘* you get nervous, dizzy of sleepless:
pan. aaa Congestion, or cough gets worse of lasts more

than 7 days

fever gels worse or lasts more than 3 days

‘© redness of swelling Is present © new symptoms occur
© cough comes Back or ocours with rash or headache tut lasts,
These could be signs of a sertous condition,

It pregnant or breast- Ieeding, ask a health

use, Keep out of reach of children, in case of overdose, get
medical hetp of contact 2 Potson Controt Cemter right aveay.
Quick medical attention is critical for adults as well aa for

chiktren even # you do not aotice any signs or symptoiis.

Directions
@ take only as directed
© only use the dose cup provided
¢ do not excead 4 doses per 24 his
adults & children 12 yrs & over | 30 mL every 4 his
Children 4 to under t2 yrs ask a doctor
children under 4 yrs do nat use
Other information

© each 20 mi contains: sodium &2 mg
¢ store at no greater than 25°C and da not refrigerale

Inactive ingre redients citric add, FD&C Blue No. 1,
FOSC Red hia, 40, flavor, glycerin, propylene glycol, purified
water, saccharin sodium. sodium benzoate, sodium chiortde,
sod citvate, sorbitol, sucraiose, xanthan gum

Questions? \-a00-362-1663

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Advil Multi-Symptom Cold & Flu
-tablets

-Haleon U.S. Holdings L.L.C.
(f{/k/a GSK Consumer Healthcare Holdings (US) LLC)
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 20 of 70 PagelD #: 2461

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Paevestene Nasal Decongestant
mg
-Cehairnie Mad 4g dehetone oe

_ o Headache wv Nasal Congestion
oo Fever v Runny Nose

~ ¥ Body Aches o Sneezing

» oa Sinus Pressure v Nasal Sw Swelling

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Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 283 of 298
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 21 of 70 PagelD #: 2462

Eli Erlick

-PE Products-
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Acetaminophen Day/Night Time Vapor Ice
Cold and Flu Relief Caplets - 24ct - up &
up™

-tablets

- Target Brands Inc.
Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 285 of 298
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 24 of 70 PagelD #: 2465

TYLENOL® Cold + Flu Severe For Day And
Night Time

-Johnson & Johnson Consumer
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 26 of 70 PagelD #: 2467

Drug Facts (continued)

£9, parsbts form orethan 2 days, & accompanied
€, vomiting, consut 8 doctor promptly.

phen (presonption or nonprescjption). fF you
dtamninophen ask a doctor or pharmacist.
parting coidase ntititor(MAO| {certain drugs
conditions, o Parkinson's disease}, or for
fyoudorot know ifyour prescription drug
nacist before taking this prod uct,

tothis product or any of ts ingredients

Sorethr cal waning: if xrettrcatis severe, perssts for more than? dys, is azcompented
crfdlowed ty fever, headache rash nausea orvomiting consult a doctor prompt.

Oo not use

With amy oth er drug containing acetamin oph en (prescription or nonprescription Ifyou
are not sure whether a drugco mans anata mino phan, askadocto ror pharmacist,

Gifyouare row taking pescriploa momamine oxtase inh bitor MAO! Certain
drugsfordepression, paychiaine or emotional conditions, 1 Parkinsons dbease), or
for 2 weeks after stopping tha MPO drug. Fyou donot know if your prescription drug
cortans an MAO), ask a doctor or pharmacist before taking tis product.

Gif your'e ever had an dlerge reaction to ths product or ary ofits ingredients

Aska doctor bdorsuse il you have

high blood: Bltyroid di Ulver disease © @heartdisease © high blood pressure sm thyroid disease
eae 7 diabetes G tou be urinating duetoan enbiry of prostate gland
urswith smoking, asthma or emphysema Epersistent or chronic cough such as occurswith smoking, asthma, chronicbronchitis
i musug oremphysema
aorchonicbonchiis  @gauona Bico ugh that occurs wilh too much phlegm (mucus)
eityou are Aska doctor ar pharmacist before use Ifyou are taking the bloodthinning du gwarfann
Witaling sedatives ce tranquilzers When using thls productdo notexceedrecommended dose
Stop use and ask adocior if
Bnervousiess, dzziness, or sleeplessness occur
hen [pan nasd congestion or cough gets worse or lasts more than 7 days
Biever gus wersecs lasts more than days
ingease dowsness Bredness orselingispreset — Bnev ymptoms occur
Mcough comes back or occu rs with rash or heada cheth at lasts
of operating mactiney v These could ba signs da serious condtion.

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dt ink) ho) 8 ek dS A at lh
Drug Facts (continued) '

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Hpregnanter breastteeding, aska heath-pedessionatbefere use. ——/

xeur
rer lasts morethan 7 days
medness orswelling is present
back or occurs wilh rash or headache {hat lasts

h professbonal before use.

{medical heb or contacta PosonControl
adicd atertioniscriticd for aduts aswell

et eee
han directed (see overdose warning)
iplets every 4 hours

whole donot cash, chew or dissolve

{e more than 10 caplets n 24 hours

iC) CK

ref aEBUT AL)

tid/-canauba wax, FORG Hive no. 1 abm dum
mitoaySalnecellukse, medified starch,
aorta, powdered celliiees, pegebtinied starch,
imstarchgheo bia, suc alsa, an ium dion de

1095-3665 fiolkfres) or 215-273 -8755 Collect

Kean out of reach of children.
Overdose wamlng: In casecf overdose, get medical halpor contact a Poison Control
Center right away. (1-800-222-1222) Quick medical altention is crtcalfor adulsas well as
forchideneven fyoudo nol notica anysigns or gmpboms,

Directions

adults and children
Vyeasand over

do nol take more than dlrected (sae over dose warning)

Wide? caples every 4 heurs
ovdloe whale donot crush chen or dssolve
Wddnet take more than10 calets in 24 hours

chidrenunder 12yeas | ask adoctor

Other information
Beachcapltcotars: sadlum3mg — Wsterebabwaen20-25°C (68-77'F)
Gide not use if blister anit is tom or broken

Inactive ingredients. a
camauba wax, chesarme| bs: sin, 96.10 aluminum i fen
ragnegi cali,

hyd nvyp p pylcatiuse, hypromelosd, magne Be, Ncrosystli

polyethylene ghytol, fegolaiizedstarch, sucabae, tia nil dios
pry ary ms]
Questions or ts? 7 7-095-36 tll 8 755 (cllec}

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fa 24-hour period. Take only as directed.

this Dox for impertant information.

ht caplets at the same time. Do not take more than a total of toca

mportant: Read all product intormalton belore using.

Do not take the day an

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Drug Facts

ag as 7 ( 2) ea

Expectorant
Nasal decongestant

Cough suppressant

.. Pain releverffever reducer

Guartenesin 200 mg
Phenylephrine HCE5 mg

Wisore throat

Bheadache

Wi for the temporary relief of the following coldifiu symptoms:
Bou

W minor aches and pains
Bi nasal congestion

Uses

Whebs bosen phlegm (mucus)and thin bronchial secretions te make coughs more
Htemporaniig reduces fever

productive
Warnings

rash

Hrmore than 4,000 mg of acetamincghen in 24 hours
B blisters

wth cher drugs containing acetaminophen

(Iver warning: This product contains acetaminophen. The maximum daily dose of this
skin reddening

product is 10 caplets (3,250 mg acetaminophen) in 24 houm. Severe liver damage may

Allergy alert: acetaminophen may cause severe skin reactions. Symptorns may

include:

B3 or more alcoholic dinks every day whie using this product
Ifaskin reaction occurs, stop use and seek medical help right away.

occur if yeu take

Active ingredients (in each caplet}

Acaterninophen 325mg

Antitistamine

ine maleate 2 mg.

Dextromethorphan HBr 10 mg

Phenylephrine HCI Smq......

Chi

BW nasal congestion
i sneezing and nunry nose

Bsorethoat
Wrelieves cough to helpyou sleep

Bheadache

Bi sinus oxngestion and pressure

helps clear nasal passages
Bitemporarly reduces fever

Warnings

lifer the temporary rel of the following cald/fi symptoms,

Uses
Mi minor aches and pains
Borough

rash

Wtlisters

Bmore than 4,000 mg of acetaminophen in 24 hours,

Wi with other drugs containing avatamninephen
Bskinreddenng

this product is 10 caplats (3,250 mg scetaminophen) in 24 hours. Severe Iyer damaye
if skin reaction occurs, stop use and seek medical help right away.

Liver warning: This product contains acetamincphen. The maximum daily dese of
Allergy alert: acetamnophan may cause severe stinreactions. Symptoms may

B 3or more dcabolic drinks every day w hike using this product

may occur ffyoutake

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Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 289 of 298
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 27 of 70 PagelD #: 2468

Vicks NyQuil™ Severe Cold & Flu,
Maximum Strength

- Liquicaps

-Procter & Gamble Company
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 28 of 70 PagelD #: 2469

if
Mesut Lee Active fnarecients (in each LiquiCap)
Acetaminophen 32!
ie B10 mg ..

Doxyiamine succinate 6.25 mg ..

Matava Penyeorae Helo ro

are creas Uses temporanly relieves common cold/fiu symptoms: = nasal congestion = sis eapgeson& prose
SEER CUD arse)

te ery seni. tw ae at» nay er paccane®
eens no ert * temporarily restores freer breathing through the nase * promotes al and/or sinus drainage

TST Ts Wamings ‘ |

Rance Liver warning: This product contains ‘acetaminophen. Severe liver damage may occur if you take

7 © more than 6 LiquiCaps in 24 hours, which is the maximum daity amount for this product

+ with other drugs 9 © dor y while using this product

H Allergy Aart. in reactions.

LES DEDEDE « skin reddening © blisters nash =

h tt askin reaction oocura, stop use and seek medical help right away

ata ay Sore throat warning: I sore persists for more than 2 day, leo followed by fever,

ee TEL Pdirg headache, rash, nausea, or vorNtng, posta doctor romp.

Denotuse * wi t pti iption). If you are not
. ‘sure whether a drug contains aoetaminoghen, ask a doctor or pharmacist.

* if you are new taking & prescription monoamine oxidase iniibitor (MAQI) (certain drugs for depression,
psychiatric or emotional Conditions, or Parkinson's disease), Dt for 2 weeks afar stopping the MAQI drug. I you
do net know # your presenption drug i or ‘taking this product.

fo , Ask a doctor before use if youhave © Iver disease» heart discase © high blood pressure
AXesyecTUe) OU aired eset © thyroid disease» diabetes * gfsucoma * cough that occurs with to much phlegm (mucus)
EMU RS RO EUCm aceon let Lc M nels i asthe,
* troub.e unnating due to enlarged prostate gland
Ask a doctor or Htyou sre * taki tranquilizer
—— = = PRL Ceer I)  talug the inning drug
Gees ‘When ucing this do not than directed * excitabili In chit

Headache, Fever, Sore Throat, : ea cemperonts in uF i ret ce ol va wore recto ea oo epee ny EO
Minor Aches & Pains —_ Cus] «aot, sedatives, ae tranqufters may increase drowcness
Nighttime Relief ‘Stop usa and ask a doctor tf © you get nervous, dizzy or sleepless

pain, days °

 polyetylene glycol, povidone,

‘water, sorbitol sorbitan solution

FD&C Blua No. 1, gelatin,

1-800-362-1683

ig

Drug Faets (continued)
fnactive ii
glycerin, pharmace

propylene glycol
“May contain this

24hrs

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8 Liguil

Nasal Congestion, Sinus Pressure

ig Facts (continued)

Sneezing, Runny Nose I premont or reas eding aka lh pessoal eo,

Keep out of reach of children, in case of overdose, get Center right away.

Cough 24 LIQUICAPS” (Quick medical attention is etic tor oa ay Sis or SYM. pe

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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 29 of 70 PagelD #: 2470

Vicks DayQuil™ and NyQuil™ VapoCOOL
SEVERE Maximum Strength Cold & Flu

- Caplets

-Procter & Gamble Company
Case: 24-3296, 03/26/2025, DktEntry: 86.1, Page 292 of 298
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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 30 of 70 PagelD #: 2471

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Case 1:23-md-03089-BMC Document 200-1 Filed 05/03/24 Page 31 of 70 PagelD #: 2472

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Daytime V aporice ™ Cotd & Flu

a5 Nigh time Va porice™ Coll & Flu i cts
Active ingreden ts (in each caplef Purpose Adivei Pupoe
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Liver w ating: This prodictcortainsacet aninophan, diverdam age ur if [eB ghemorey
Caney eee hous eee Se ee trata ge v

Drug Facts ¢ ortinued) Drug Facts (continued)

contain g cctarvin phen a acai wile using thisp edict Warnings

Allergy alert A eiake Liver Ta The peduct ents omy Sees Iverdamags

msinreddering M@blistes mrad

faskineacton oan, dop um and seek Sy dates

Sor throat warnirg: If ere throatisseere, pemistsfor more than 2 days, isaccom paried
orbllomed by fever, eadache,reshnausa, orvoritng consult a dodor promptly

Derotuse mwith any aherd (0g cont afing acstarninophen (preecipton or

reuse ta lipo wend are whether ad ng contans acetari noph en ask a dectoror

pte sip oidee tito MAH
ae estou hati, or entotonal conditions or Pai neon’ sdeeaw, or

mayoocurif you tke mi rorethan 40.00 mgof acet aninophen in

24 hours s wth other igs containing acetaminophen ajar nore
yday wtle using th

Allerg ale rt Acetaminophen may causesaver skh reactions,

Synpkmemayinciede: @eknredking @ bites mrah

Ifasknreaction ocae, ebop ine and seekanedical hp ri Ht sway

Sore tho atw ari rgtfeorethnat & evere parse for norethan

2d ays,is accom panied orfol lowed by feer, headache, ssh, nausea,

oF emiting, on alta docs parnply,

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Stop use and ask adebrif @ u gptn evous dizzy orsbep bee @ pain, ast

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befor thing fis podud. mifyouh ae everhad an albr gicreaction to

this prodkct orany of tsingrederts

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toomuch phlegm g gmucus} Bpersiert orchroré cough euch ac
king, adttera, chon brenchiig orem:

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than 3days a ednes orewel!ngis pesent m newey! One ovur Moou cames
back or ocars wh reshorheadache hat iss, Ihee could be sym ot a srouscondten,
W pregnantor b reast-ted my aghahedth p nrkssin albefor: use,

Je ep out ofreac bof chikdren.Oherd In cae of over! ow, get med tal help or
contact aP o&on ControlCentr mrt oo road 122, Quik meltal atten ton
cittcalfo adult aswellas for diidren even ity ou do not notoe any signs orsympoms wy

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Question s?Call 1-088-547-7400

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John Sloughter

-PE Products-
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Vicks DayQuil™ SEVERE Honey Flavored
Maximum Strength Cold & Flu
- liquid

-Procter & Gamble Company
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Cough comes back o occa ih esh headache hates + cleld takes mors than 4 doses (15 mL each} in 24 fs, which is is vi Sets. fo ach Z m) rine
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rugs containing acetaminophen
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mee attention t critical for adults as as for children even
Symptoms may mciude: skin reddening blisters rash
if you do nat notice any signs or symptoms. ra skn eacho acu, slop use and sek medial help igh ay
Directions Sore throat warning: If sore throat is severe. persists for more + sinus: ee & pres
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= only use the on provided rash, nausea, or vorniting, consuit a doctor promptly. ins.
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inor Aches & Pains 0, FDBC alow No.6, favor, = tir does aati
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Chest Congestion, {sodium ciate, sorbitol sucrslose water, xanthan gum me et one rao me rea Gr Spanner es
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| Questions? 1-800-362-1683 or emnphy a
Ask a doctor or pharmacist betore use if you are takin elas
Nasal Congestion, Sinus| Pressure the bioad thining drug warfarin, : a
S ‘When using this product, do not use more than directed.
Stop use and ask a doctor if

+ you get nervous, dizzy or sleepless
4 esi 271:3

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Keith Mortuiccio

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TYLENOL® Cold + Flu Severe

-caplets

-Johnson & Johnson Consumer Inc.
